13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30                    Main Document
                                                 Pg 1 of 161


                            IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re                                                          )     Chapter 11
                                                               )
RDA Holding Co., et al.,1                                      )     Case No. 13-22233 (RDD)
                                                               )
                             Debtors.                          )     Jointly Administered
                                                               )

                SECOND AMENDED JOINT PLAN OF REORGANIZATION OF
            CERTAIN DEBTORS UNDER CHAPTER 11 OF THE BANKRUPTCY CODE



                                                            WEIL, GOTSHAL & MANGES LLP

                                                            Marcia L. Goldstein
                                                            Joseph H. Smolinsky
                                                            767 Fifth Avenue
                                                            New York, New York 10153
                                                            Telephone: (212) 310-8000
                                                            Facsimile: (212) 310-8007

                                                            Attorneys for Debtors and
                                                            Debtors in Possession



Dated: May 7, 2013
       New York, New York




1
  The Debtors in these cases, along with the last four digits of the federal tax identification number for each of the
Debtors, are RDA Holding Co. (7045); The Reader’s Digest Association, Inc. (6769); Ardee Music Publishing, Inc.
(2291); Direct Entertainment Media Group, Inc. (2306); Pegasus Sales, Inc. (3259); Pleasantville Music Publishing,
Inc. (2289); R.D. Manufacturing Corporation (0230); Reiman Manufacturing, LLC (8760); RD Publications, Inc.
(9115); Home Service Publications, Inc. (9525); RD Large Edition, Inc. (1489); RDA Sub Co. (f/k/a Books Are Fun,
Ltd.) (0501); Reader’s Digest Children’s Publishing, Inc. (6326); Reader’s Digest Consumer Services, Inc. (8469);
Reader’s Digest Entertainment, Inc. (4742); Reader’s Digest Financial Services, Inc. (7291); Reader’s Digest
Latinoamerica S.A. (5836); WAPLA, LLC (9272); Reader’s Digest Sales and Services, Inc. (2377); Taste of Home
Media Group, LLC (1190); Reiman Media Group, LLC (1192); Taste of Home Productions, Inc. (1193); World
Wide Country Tours, Inc. (1189); W.A. Publications, LLC (0229); WRC Media Inc. (6536); RDCL, Inc. (f/k/a
CompassLearning, Inc.) (6535); RDA Digital, LLC (5603); RDWR, Inc. (f/k/a Weekly Reader Corporation) (3780);
Haven Home Media, LLC (f/k/a Reader’s Digest Sub Nine, Inc.) (2727); Weekly Reader Custom Publishing, Inc.
(f/k/a Lifetime Learning Systems, Inc.) (3276); and World Almanac Education Group, Inc. (3781).



US_ACTIVE:\44191040\16\69252.0040
13-22233-rdd         Doc 318             Filed 05/07/13 Entered 05/07/13 21:53:30                                              Main Document
                                                      Pg 2 of 161



Table of Contents

Section 1.         DEFINITIONS AND INTERPRETATION. ..................................................................... 1
         A.        Definitions. ........................................................................................................................ 1
                   1.1.        2011 Financing Settlement. ................................................................................. 1
                   1.1.        2011 Secured Administrative Agent. ................................................................... 1
                   1.2.        2011 Secured Lenders. ......................................................................................... 1
                   1.3.        2011 Secured Term Loan..................................................................................... 1
                   1.4.        2011 Secured Term Loan Claim.......................................................................... 2
                   1.5.        2012 Senior Credit Agreement ............................................................................ 2
                   1.6.        2012 Senior Credit Agreement Lenders .............................................................. 2
                   1.7.        Acceptable Business Plan .................................................................................... 2
                   1.8.        Administrative Agent ........................................................................................... 2
                   1.9.        Administrative Expense Claim. ........................................................................... 2
                   1.10.       Allowed. ................................................................................................................ 2
                   1.11.       Amended Organizational Documents ................................................................. 2
                   1.12.       Bankruptcy Code.................................................................................................. 2
                   1.13.       Bankruptcy Court................................................................................................. 3
                   1.14.       Bankruptcy Rules. ................................................................................................ 3
                   1.15.       Benefit Plans ........................................................................................................ 3
                   1.16.       Business Day ........................................................................................................ 3
                   1.17.       Cash. ..................................................................................................................... 3
                   1.18.       Causes of Action. ................................................................................................. 3
                   1.19.       Chapter 11 Cases.................................................................................................. 3
                   1.20.       Claim. ................................................................................................................... 3
                   1.21.       Claims Oversight Committee. .............................................................................. 3
                   1.22.       Claims Oversight Committee Reserve ................................................................. 3
                   1.23.       Class. .................................................................................................................... 4
                   1.24.       Collateral Agent ................................................................................................... 4
                   1.25.       Commencement Date. .......................................................................................... 4
                   1.26.       Confirmation ........................................................................................................ 4
                   1.27.       Confirmation Date. .............................................................................................. 4
                   1.28.       Confirmation Hearing. ........................................................................................ 4
                   1.29.       Confirmation Order. ............................................................................................ 4
                   1.30.       Consenting Lender. .............................................................................................. 4
US_ACTIVE:\44191040\16\69252.0040
                                                                          ii
13-22233-rdd         Doc 318           Filed 05/07/13 Entered 05/07/13 21:53:30                                              Main Document
                                                    Pg 3 of 161


                   1.31.     Consenting Secured Noteholders. ....................................................................... 4
                   1.32.     Consummation. .................................................................................................... 4
                   1.33.     Creditors Committee. ........................................................................................... 4
                   1.34.     Cure. ..................................................................................................................... 4
                   1.35.     Debtor Affiliates. .................................................................................................. 5
                   1.36.     Debtors ................................................................................................................. 5
                   1.37.     Debtors in Possession. ......................................................................................... 5
                   1.38.     Definitive Documents........................................................................................... 5
                   1.39.     DEMG .................................................................................................................. 5
                   1.40.     DEMG Intercompany Claims .............................................................................. 5
                   1.41.     DIP Agent ............................................................................................................. 5
                   1.42.     DIP Claim ............................................................................................................ 5
                   1.43.     DIP Commitment Letter ...................................................................................... 5
                   1.44.     DIP Facility .......................................................................................................... 5
                   1.45.     DIP Lenders ......................................................................................................... 6
                   1.46.     DIP Loan Agreement ........................................................................................... 6
                   1.47.     DIP Order ............................................................................................................. 6
                   1.48.     DIP Term Sheet.................................................................................................... 6
                   1.49.     Disbursing Agent ................................................................................................. 6
                   1.50.     Disclosure Statement ........................................................................................... 6
                   1.51.     Disclosure Statement Order ................................................................................. 6
                   1.52.     Disputed Claim ..................................................................................................... 6
                   1.53.     Distribution Date.................................................................................................. 6
                   1.54.     Distribution Record Date ..................................................................................... 6
                   1.55.     Effective Date ....................................................................................................... 7
                   1.56.     Employee Bonus Pool .......................................................................................... 7
                   1.57.     Estate or Estates. .................................................................................................. 7
                   1.58.     Exculpated Parties ............................................................................................... 7
                   1.59.     Existing RDA Holding Interests .......................................................................... 7
                   1.60.     Exit Financing. .................................................................................................... 7
                   1.61.     Fee Claim ............................................................................................................. 7
                   1.62.     Final Order .......................................................................................................... 7
                   1.63.     First Out Exit Term Loan .................................................................................... 8
                   1.64.     First Out Exit Letter of Credit Facility . ............................................................. 8
                   1.65.     First Out Exit Facilities ....................................................................................... 8
US_ACTIVE:\44191040\16\69252.0040
                                                                       iii
13-22233-rdd         Doc 318            Filed 05/07/13 Entered 05/07/13 21:53:30                                               Main Document
                                                     Pg 4 of 161


                   1.66.      First Out Exit Term Sheet ................................................................................... 8
                   1.67.      FTC....................................................................................................................... 8
                   1.68.      FTC Action. .......................................................................................................... 8
                   1.69.      FTC Claims. ......................................................................................................... 8
                   1.70.      FTC Settlement Order.......................................................................................... 8
                   1.71.      Fully Diluted Basis .............................................................................................. 8
                   1.72.      General Unsecured Claim ................................................................................... 8
                   1.73.      GUC Distribution ................................................................................................. 8
                   1.74.      Impaired. .............................................................................................................. 9
                   1.75.      Indenture. ............................................................................................................. 9
                   1.76.      Indenture Trustee................................................................................................. 9
                   1.77.      Indenture Trustee Charging Lien ....................................................................... 9
                   1.78.      Indenture Trustee Fees ........................................................................................ 9
                   1.79.      Initial Distribution ............................................................................................... 9
                   1.80.      Initial Distribution Date. ..................................................................................... 9
                   1.81.      Intercompany Interest.......................................................................................... 9
                   1.82.      Interests ................................................................................................................ 9
                   1.83.      International Restructuring Transactions .......................................................... 9
                   1.84.      Issuing Lender ..................................................................................................... 9
                   1.85.      Lien ....................................................................................................................... 9
                   1.86.      Management Incentive Program ......................................................................... 9
                   1.87.      New Board .......................................................................................................... 10
                   1.88.      New Common Stock. .......................................................................................... 10
                   1.89.      New Money Loans.............................................................................................. 10
                   1.90.      New Money Lenders . ........................................................................................ 10
                   1.91.      Non-Debtor Intercompany Claim...................................................................... 10
                   1.92.      Non-Dischargeability Deadline. ........................................................................ 10
                   1.93.      Other Priority Claim. ......................................................................................... 10
                   1.94.      Other Secured Claim.......................................................................................... 10
                   1.95.      PBGC .................................................................................................................. 10
                   1.96.      Pension Credit .................................................................................................... 10
                   1.97.      Pension Plan ...................................................................................................... 10
                   1.98.      Person ................................................................................................................. 10
                   1.99.      Plan Debtor Intercompany Claim. .................................................................... 11
                   1.100. Plan Supplement. ............................................................................................... 11
US_ACTIVE:\44191040\16\69252.0040
                                                                         iv
13-22233-rdd         Doc 318            Filed 05/07/13 Entered 05/07/13 21:53:30                                          Main Document
                                                     Pg 5 of 161


                   1.101. Plan Supplement Filing Date. ........................................................................... 11
                   1.102. Plan Term Sheet................................................................................................. 11
                   1.103. Priority Non-Tax Claim. .................................................................................... 11
                   1.104. Priority Tax Claim ............................................................................................. 11
                   1.105. Pro Rata.............................................................................................................. 11
                   1.106. RDA GUC Distribution ...................................................................................... 11
                   1.107. RDA Holding...................................................................................................... 11
                   1.108. Reader’s Digest .................................................................................................. 11
                   1.109. Registration Rights Agreement.......................................................................... 12
                   1.110. Reinstate, Reinstated or Reinstatement. ............................................................ 12
                   1.111. Released Parties. ................................................................................................ 12
                   1.112. Reorganization Plan. ......................................................................................... 12
                   1.113. Reorganization Plan Debtors ............................................................................ 12
                   1.114. Reorganization Plan Debtor Affiliates .............................................................. 12
                   1.115. Reorganization Plan Debtors in Possession. .................................................... 13
                   1.116. Reorganized Debtors. ......................................................................................... 13
                   1.117. Reorganized Debtor Affiliates ........................................................................... 13
                   1.118. Reorganized RDA Holding ................................................................................ 13
                   1.119. Required Consenting Secured Noteholders ...................................................... 13
                   1.120. Required Consenting Secured Parties............................................................... 13
                   1.121. Restructuring ..................................................................................................... 13
                   1.122. Restructuring Expenses ..................................................................................... 13
                   1.123. Restructuring Support Agreement .................................................................... 13
                   1.124. Roll-Up Lender................................................................................................... 13
                   1.125. Roll-Up Loans .................................................................................................... 13
                   1.126. Schedule of Assumed Contracts. ....................................................................... 13
                   1.127. Schedules. ........................................................................................................... 13
                   1.128. Second Out Exit Term Loan .............................................................................. 14
                   1.129. Second Out Exit Term Loan Agreement ........................................................... 14
                   1.130. Second Out Exit Term Sheet. ............................................................................ 14
                   1.131. Security ............................................................................................................... 14
                   1.132. Secured Claim. ................................................................................................... 14
                   1.133. Security Agreement ............................................................................................ 14
                   1.134. Senior Noteholder Deficiency Claim................................................................. 14
                   1.135. Senior Noteholder Secured Claim ..................................................................... 14
US_ACTIVE:\44191040\16\69252.0040
                                                                       v
13-22233-rdd         Doc 318            Filed 05/07/13 Entered 05/07/13 21:53:30                                         Main Document
                                                     Pg 6 of 161


                   1.136. Senior Noteholders............................................................................................. 14
                   1.137. Senior Notes. ...................................................................................................... 14
                   1.138. Stockholders Agreement. ................................................................................... 14
                   1.139. Subordinated Securities Claims ........................................................................ 15
                   1.140. Subsidiary Interests............................................................................................ 15
                   1.141. Tax Code ............................................................................................................ 15
                   1.142. Unimpaired......................................................................................................... 15
                   1.143. Unsecured Administrative Agent. ...................................................................... 15
                   1.144. Unsecured Lenders ............................................................................................ 15
                   1.145. Unsecured Term Loan ....................................................................................... 15
                   1.146. Unsecured Term Loan Claim ............................................................................ 15
                   1.147. Voting Record Date ............................................................................................ 15
         B.        Interpretation; Application of Definitions and Rules of Construction. ............................ 15
         C.        Reference to Monetary Figures........................................................................................ 16
         D.        Controlling Document ..................................................................................................... 16
Section 2.         ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS. ....................................... 16
                   2.1.       Administrative Expense Claims. ........................................................................ 16
                   2.2.       Fee Claims.......................................................................................................... 16
                   2.3.       Priority Tax Claims. ........................................................................................... 17
                   2.4.       DIP Claims. ........................................................................................................ 17
                   2.5.       2012 Senior Credit Agreement Claims. ............................................................. 17
                   2.6.       Roll-Up Loans. ................................................................................................... 18
                   2.7.       Indenture Trustee Fees. ..................................................................................... 18
Section 3.         CLASSIFICATION OF CLAIMS AND INTERESTS. .................................................. 18
                   3.1.       Summary of Classification. ............................................................................... 18
                   3.2.       Special Provision Governing Unimpaired Claims. ........................................... 19
                   3.3.       Elimination of Vacant Classes. ......................................................................... 19
Section 4.         TREATMENT OF CLAIMS AND INTERESTS. .......................................................... 19
                   4.1.       Other Priority Claims (Class 1). ........................................................................ 19
                   4.2.       Other Secured Claims (Class 2). ....................................................................... 20
                   4.3.       Senior Noteholder Secured Claims (Class 3). ................................................... 20
                   4.4.       General Unsecured Claims (Class 4). ............................................................... 20
                   4.5.       Plan Debtor Intercompany Claims (Class 5). ................................................... 22
                   4.6.       Existing RDA Holding Interests (Class 6). ....................................................... 22
                   4.7.       Intercompany Interests (Class 7)....................................................................... 22
US_ACTIVE:\44191040\16\69252.0040
                                                                      vi
13-22233-rdd         Doc 318            Filed 05/07/13 Entered 05/07/13 21:53:30                                             Main Document
                                                     Pg 7 of 161


                   4.8.       Subordinated Securities Claims (Class 8). ........................................................ 23
Section 5.         MEANS FOR IMPLEMENTATION. ............................................................................. 23
                   5.1.       Compromise and Settlement of Claims, Interests, and Controversies. ............ 23
                   5.2.       First Out Exit Facilities and Second Out Exit Term Loan. ............................. 23
                   5.3.       Authorization and Issuance of Plan Securities. ............................................... 24
                   5.4.       Cancellation of Existing Securities and Agreements. ...................................... 24
                   5.5.       Reorganized RDA Holding. ............................................................................... 24
                   5.6.       International Restructuring Transactions. ....................................................... 25
                   5.7.       Other Transactions. ........................................................................................... 25
                   5.8.       Cancellation of Liens. ........................................................................................ 25
                   5.9.       Management Incentive Program. ...................................................................... 25
                   5.10.      Employee Matters............................................................................................... 26
                   5.11.      Withholding and Reporting Requirements. ...................................................... 26
                   5.12.      Exemption From Certain Transfer Taxes......................................................... 26
                   5.13.      Effectuating Documents; Further Transactions. ............................................. 27
                   5.14.      Closing of the Chapter 11 Cases. ...................................................................... 27
Section 6.         DISTRIBUTIONS. .......................................................................................................... 27
                   6.1.       Distribution Record Date. .................................................................................. 27
                   6.2.       Date of Distributions. ......................................................................................... 27
                   6.3.       Disbursing Agent. .............................................................................................. 28
                   6.4.       Powers of Disbursing Agent. ............................................................................. 28
                   6.5.       Cancellation of Senior Notes. ............................................................................ 28
                   6.6.       Delivery of Distributions. ................................................................................... 28
                   6.7.       Manner of Payment Under Plan. ...................................................................... 29
                   6.8.       Fractional Stock. ................................................................................................ 29
                   6.9.       Minimum Cash Distributions. ........................................................................... 29
                   6.10.      Setoffs. ................................................................................................................ 29
                   6.11.      Distributions After Effective Date. .................................................................... 29
                   6.12.      Allocation of Distributions Between Principal and Interest. ........................... 30
Section 7.         PROCEDURES FOR DISPUTED CLAIMS. ................................................................. 30
                   7.1.       Allowance of Claims. ......................................................................................... 30
                   7.2.       Objections to Claims. ......................................................................................... 30
                   7.3.       Estimation of Claims.......................................................................................... 30
                   7.4.       No Distributions Pending Allowance. ............................................................... 31
                   7.5.       Distributions After Allowance. .......................................................................... 31
US_ACTIVE:\44191040\16\69252.0040
                                                                       vii
13-22233-rdd         Doc 318            Filed 05/07/13 Entered 05/07/13 21:53:30                                          Main Document
                                                     Pg 8 of 161


                   7.6.       Resolution of Claims. ......................................................................................... 31
                   7.7.       Disallowed Claims.............................................................................................. 31
                   7.8.       Debtor Affiliate Claims. ..................................................................................... 31
                   7.9.       Claims Oversight Procedures ............................................................................ 31
Section 8.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES. ....................................... 32
                   8.1.       General Treatment. ............................................................................................ 32
                   8.2.       Payments Related to Assumption of Contracts and Leases. ............................. 32
                   8.3.       Rejection Claims. ............................................................................................... 33
                   8.4.       Survival of the Reorganization Plan Debtors’ Indemnification
                              Obligations. ........................................................................................................ 33
                   8.5.       Compensation and Benefit Plans. ..................................................................... 34
                   8.6.       Insurance Policies.............................................................................................. 34
                   8.7.       Intellectual Property Licenses and Agreements. .............................................. 34
                   8.8.       Reservation of Rights. ........................................................................................ 34
Section 9.         CONDITIONS PRECEDENT TO THE EFFECTIVE DATE. ....................................... 35
                   9.1.       Conditions Precedent to Confirmation.............................................................. 35
                   9.2.       Conditions Precedent to the Effective Date. ..................................................... 35
                   9.3.       Waiver of Conditions Precedent. ....................................................................... 37
                   9.4.       Effect of Failure of Conditions to Effective Date. ............................................ 37
Section 10.        EFFECT OF CONFIRMATION. .................................................................................... 37
                   10.1.      Subordinated Claims.......................................................................................... 37
                   10.2.      Vesting of Assets. ............................................................................................... 37
                   10.3.      Discharge of Claims and Termination of Interests. ......................................... 37
                   10.4.      Term of Injunctions or Stays. ............................................................................ 38
                   10.5.      Injunction Against Interference with Plan. ...................................................... 38
                   10.6.      Releases by the Reorganization Plan Debtors. ................................................. 38
                   10.7.      Releases By Holders of Claims and Interests. .................................................. 39
                   10.8.      Exculpation. ....................................................................................................... 39
                   10.9.      Retention of Causes of Action/Reservation of Rights....................................... 40
                   10.10. Solicitation of the Reorganization Plan. ........................................................... 41
                   10.11. Section 1145 Exemption. ................................................................................... 41
                   10.12. Plan Supplement. ............................................................................................... 41
                   10.13. Corporate and Limited Liability Company Action............................................ 41
Section 11.        RETENTION OF JURISDICTION. ................................................................................ 42
Section 12.        MISCELLANEOUS PROVISIONS. ............................................................................... 44
US_ACTIVE:\44191040\16\69252.0040
                                                                      viii
13-22233-rdd         Doc 318            Filed 05/07/13 Entered 05/07/13 21:53:30                                               Main Document
                                                     Pg 9 of 161


                   12.1.      Payment of Statutory Fees. ................................................................................ 44
                   12.2.      Substantial Consummation. .............................................................................. 44
                   12.3.      Dissolution of Creditors Committee. ................................................................. 44
                   12.4.      Request for Expedited Determination of Taxes. ............................................... 44
                   12.5.      Amendments. ...................................................................................................... 44
                   12.6.      Effectuating Documents and Further Transactions. ....................................... 45
                   12.7.      Revocation or Withdrawal of the Reorganization Plan. ................................... 45
                   12.8.      Severability of Plan Provisions upon Confirmation. ........................................ 45
                   12.9.      Governing Law. .................................................................................................. 45
                   12.10. Time.            ............................................................................................................... 45
                   12.11. Immediate Binding Effect.................................................................................. 46
                   12.12. Successor and Assigns. ...................................................................................... 46
                   12.13. Entire Agreement. .............................................................................................. 46
                   12.14. Notices. ............................................................................................................... 46
Exhibit A          Restructuring Support Agreement




US_ACTIVE:\44191040\16\69252.0040
                                                                        ix
13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30          Main Document
                                                 Pg 10 of 161


                  Each of RDA Holding Co., The Reader’s Digest Association, Inc., Ardee Music
Publishing, Inc.; Pegasus Sales, Inc.; Pleasantville Music Publishing, Inc.; R.D. Manufacturing
Corporation; Reiman Manufacturing, LLC; RD Publications, Inc.; Home Service Publications, Inc.; RD
Large Edition, Inc.; RDA Sub Co. (f/k/a Books Are Fun, Ltd.); Reader’s Digest Children’s Publishing,
Inc.; Reader’s Digest Consumer Services, Inc.; Reader’s Digest Entertainment, Inc.; Reader’s Digest
Financial Services, Inc.; Reader’s Digest Latinoamerica, S.A.; WAPLA, LLC; Reader’s Digest Sales and
Services, Inc.; Taste of Home Media Group, LLC; Reiman Media Group, LLC; Taste of Home
Productions, Inc.; World Wide Country Tours, Inc.; W.A. Publications, LLC; WRC Media, Inc.; RDCL,
Inc. (f/k/a CompassLearning, Inc.); RDA Digital, LLC; RDWR, Inc. (f/k/a Weekly Reader Corporation);
Haven Home Media, LLC (f/k/a Reader’s Digest Sub Nine, Inc.); Weekly Reader Custom Publishing,
Inc. (f/k/a Lifetime Learning Systems, Inc.); and World Almanac Education Group, Inc. (collectively, the
“Reorganization Plan Debtors”) propose the following amended joint chapter 11 plan of reorganization
for each of the Reorganization Plan Debtors pursuant to section 1121(a) of the Bankruptcy Code.
Capitalized terms used herein shall have the meanings set forth in Section 1.A.

SECTION 1.         DEFINITIONS AND INTERPRETATION.

         A.        Definitions.

                 1.1.    2011 Financing Settlement means that certain settlement agreement among the
Reorganization Plan Debtors, the Creditors Committee, the Unsecured Administrative Agent, the 2011
Secured Administrative Agent, the Unsecured Lenders and the 2011 Secured Lenders whereby: (i) the
Unsecured Administrative Agent, on its own behalf and on behalf of the Unsecured Lenders, shall receive
the 2011 Unsecured Term Loan Claim in the total aggregate amount of $16,939,830.55 against Reader’s
Digest (which amount represents 1.67 times the amount of the outstanding principal and accrued but
unpaid interest under the Unsecured Term Loan), for distribution purposes only, and shall waive any and
all right to seek any further or additional distributions, on its own behalf or on behalf of the Unsecured
Lenders, pursuant to the Reorganization Plan or otherwise, (ii) the Unsecured Administrative Agent, on
its own behalf and on behalf of the Unsecured Lenders, shall receive the 2011 Unsecured Term Loan
Claim in the total aggregate amount of $1.00 against each of the other Reorganization Plan Debtors for
voting purposes only (and not for distribution purposes), (iii) the Unsecured Administrative Agent, the
Unsecured Lenders, the 2011 Secured Administrative Agent and the 2011 Secured Lenders shall receive
the exculpations contemplated herein and general releases by the Reorganization Plan Debtors, the other
Released Parties and, to the extent authorized by the Bankruptcy Court, the holders of Claims against, and
Interests in, the Reorganization Plan Debtors; and (iv) on the Effective Date or promptly thereafter
(following the approval of the Bankruptcy Court of all other elements of the 2011 Financing Settlement),
the 2011 Secured Administrative Agent shall withdraw the 2011 Secured Term Loan Claim.

                1.1.     2011 Secured Administrative Agent means Luxor Capital Group, LP in its
capacity as administrative agent under the 2011 Secured Loan.

                1.2.    2011 Secured Lenders means Luxor Capital Partners, LP, Point Lobos Master
Fund, L.P., Blackwell Partners LLC and each of the other lenders (including affiliates) from time to time
party to the 2011 Secured Loan as lenders thereunder.

               1.3.     2011 Secured Term Loan means that certain term loan credit and guarantee
agreement, dated as of August 12, 2011, among RDA Holding, Reader’s Digest, the other guarantors
named thereunder, the lenders party thereto, and Luxor Capital Group, LP, as administrative agent.




US_ACTIVE:\44191040\16\69252.0040
13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30          Main Document
                                                 Pg 11 of 161


                 1.4.     2011 Secured Term Loan Claim means any proof of Claim filed by the 2011
Secured Administrative Agent on its own behalf and on behalf of any 2011 Secured Lenders, on account
of Claims, if any, arising under or relating to the 2011 Secured Term Loan.

                1.5.     2012 Senior Credit Agreement means that certain Credit and Guarantee
Agreement, dated as of March 30, 2012, by and among Reader’s Digest, as borrower, RDA Holding and
each of the guarantors named therein, Wells Fargo Principal Lending, LLC, as issuing lender, each of the
other banks and lending institutions as lenders thereunder, and Wells Fargo Bank, National Association,
as administrative agent.

             1.6.     2012 Senior Credit Agreement Lenders means Wells Fargo Principal Lending,
LLC and each of the lenders from time to time party to the 2012 Senior Credit Agreement as lenders
thereunder.

               1.7.    Acceptable Business Plan means that certain revised business plan for the
Reorganization Plan Debtors or Reorganized Debtors, as applicable, acceptable to the Required
Consenting Secured Parties.

                1.8.     Administrative Agent means Wells Fargo Bank, National Association in its
capacity as administrative agent under the 2012 Senior Credit Agreement.

                1.9.    Administrative Expense Claim means any Claim for costs and expenses of
administration during the Chapter 11 Cases pursuant to sections 328, 330, 363, 364(c)(1), 365, 503(b) or
507(a)(2) of the Bankruptcy Code, including, (a) the actual and necessary costs and expenses incurred
after the Commencement Date and through the Effective Date of preserving the Estates and operating the
businesses of the Reorganization Plan Debtors (such as wages, salaries or commissions for services and
payments for good and other services and leased premises); (b) Fee Claims; (c) DIP Claims; (d)
Restructuring Expenses; and (e) all fees and charges assessed against the Estates pursuant to section 1911
through 1930 of chapter 123 of title 28 of the United States Code, 28 U.S.C. §§ 1-1401.

                 1.10. Allowed means, with reference to any Claim or Interest, (a) any Claim or Interest
arising on or before the Effective Date (i) as to which no objection to allowance has been interposed in
accordance with Section 7.2 hereof, or (ii) as to which any objection has been determined by a Final
Order to the extent such objection is determined in favor of the respective holder, (b) any Claim or
Interest as to which the liability of the Reorganization Plan Debtors and the amount thereof are
determined by a Final Order of a court of competent jurisdiction other than the Bankruptcy Court or (c)
any Claim or Interest expressly allowed hereunder; provided, however, that notwithstanding the
foregoing, the Reorganized Debtors shall retain all claims and defenses with respect to Allowed Claims
that are Reinstated or otherwise Unimpaired pursuant to the Reorganization Plan.

                1.11. Amended Organizational Documents means the forms of certification of
incorporation, certificate of formation, limited liability company agreement, or other forms of
organizational documents and bylaws for the Reorganized Debtors reasonably satisfactory to the
Reorganization Plan Debtors and the Required Consenting Secured Parties. To the extent such Amended
Organization Documents reflect material changes to the Reorganizational Plan Debtors’ existing forms of
organization documents and by laws, substantially final forms of such Amended Organization Documents
will be included in the Plan Supplement.

                1.12. Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§ 101, et
seq., as amended from time to time, as applicable to the Chapter 11 Cases.

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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30             Main Document
                                                 Pg 12 of 161


                 1.13. Bankruptcy Court means the United States Bankruptcy Court for the Southern
District of New York having jurisdiction over the Chapter 11 Cases and, to the extent of any reference
made under section 157 of title 28 of the United States Code, the unit of such District Court having
jurisdiction over the Chapter 11 Cases under section 151 of title 28 of the United States Code.

               1.14. Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United States Code,
as amended from time to time, applicable to the Chapter 11 Cases, and any Local Rules of the Bankruptcy
Court.

               1.15. Benefit Plans means all benefit plans, policies, and programs sponsored by the
Reorganization Plan Debtors, including all savings plans and health and welfare plans.

                 1.16. Business Day means any day other than a Saturday, a Sunday or any other day on
which banking institutions in New York, New York are required or authorized to close by law or
executive order.

                   1.17.    Cash means legal tender of the United States of America.

                 1.18. Causes of Action means any action, claim, cause of action, controversy, demand,
right, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense, offset,
power, privilege, license and franchise of any kind or character whatsoever, known, unknown, contingent
or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed
or undisputed, secured or unsecured, assertable directly or derivatively, whether arising before, on, or
after the Commencement Date, in contract or in tort, in law or in equity or pursuant to any other theory of
law. Cause of Action also includes: (a) any right of setoff, counterclaim or recoupment and any claim for
breach of contract or for breach of duties imposed by law or in equity; (b) the right to object to Claims or
Interests; (c) any claim pursuant to sections 362 or chapter 5 of the Bankruptcy Code; (d) any claim or
defense including fraud, mistake, duress and usury and any other defenses set forth in section 558 of the
Bankruptcy Code; and (e) any state law fraudulent transfer claim.

               1.19. Chapter 11 Cases means the jointly administered cases under chapter 11 of the
Bankruptcy Code commenced by the Reorganization Plan Debtors on February 17, 2013, and continuing
immediately thereafter, in the Bankruptcy Court and styled In re RDA Holding Co., et. al., Case No. 13-
22233 (RDD).

                   1.20.    Claim has the meaning set forth in section 101(5) of the Bankruptcy Code.

                  1.21. Claims Oversight Committee means a committee of one or more members
approved by the Creditors Committee to represent the interests of holders of General Unsecured Claims in
connection with the claims oversight procedures set forth in Section 7.9 herein, which committee shall be
entitled to retain, without further order of the Bankruptcy Court, legal counsel or other professionals if
necessary, including professionals retained in the Chapter 11 Cases; provided, however, that any fees,
costs and expenses incurred by the Claims Oversight Committee or their professionals in connection with
the claims oversight procedures set forth in Section 7.9 herein shall be paid solely from, and limited to,
the Claims Oversight Committee Reserve.

               1.22. Claims Oversight Committee Reserve means $300,000, or such other amount as
agreed upon by the Reorganized Debtors, the Claims Oversight Committee and the Consenting Secured
Noteholders prior to the Initial Distribution Date, funded solely from the GUC Distribution and RDA
GUC Distribution, with the GUC Distribution funding 500/4,375th of the amount and the RDA GUC
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30          Main Document
                                                 Pg 13 of 161


Distribution funding 3,875/4,375th of the amount, and allocated to the Claims Oversight Committee in an
amount determined by the Creditors Committee or the Claims Oversight Committee to satisfy the
reasonable costs and expenses of the Claims Oversight Committee and their professionals incurred in
connection with the claims oversight procedures set forth in Section 7.9 herein. Any Cash that is reserved
but not used for the costs and expenses of the Claims Oversight Committee shall be returned to the GUC
Distribution and RDA GUC Distribution in the same ratio as the initial funding and distributed to holders
of Allowed General Unsecured Claims in accordance with Section 4.4 herein.

                1.23. Class means any group of Claims or Interests classified by the Reorganization
Plan pursuant to section 1122(a)(1) of the Bankruptcy Code, which shall include sub-classes for Class 4
General Unsecured Claims against each of the Reorganization Plan Debtors.

               1.24. Collateral Agent means Wilmington Trust, National Association (as successor to
Wilmington Trust FSB ) in its capacity as collateral agent under the Indenture, the 2012 Senior Credit
Agreement and the related Security Agreement.

                  1.25. Commencement Date means the date on which each of the respective Debtors
filed its voluntary petition for reorganization relief under chapter 11 of the Bankruptcy Code.

               1.26.        Confirmation means the entry on the docket of the Chapter 11 Cases of the
Confirmation Order.

                1.27. Confirmation Date means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order.

                1.28. Confirmation Hearing means the hearing to be held by the Bankruptcy Court
regarding confirmation of the Reorganization Plan, as such hearing may be adjourned or continued from
time to time.

                 1.29. Confirmation Order means the order of the Bankruptcy Court confirming the
Reorganization Plan pursuant to section 1129 of the Bankruptcy Code, which shall be in form and
substance reasonably satisfactory to the Reorganization Plan Debtors and the Required Consenting
Secured Parties.

                1.30. Consenting Lender means Wells Fargo Principal Lending, LLC, as issuing
lender and lender under the 2012 Senior Credit Agreement and a secured noteholder under the Indenture.

                 1.31. Consenting Secured Noteholders means those certain holders of Senior Notes
party to the Restructuring Support Agreement.

               1.32.        Consummation means the occurrence of the Effective Date for the
Reorganization Plan.

                1.33. Creditors Committee means the official committee of unsecured creditors
appointed in the Chapter 11 Cases.

                 1.34. Cure means the payment of Cash by the Reorganization Plan Debtors, or the
distribution of other property (as the parties may agree or the Bankruptcy Court may order), as necessary
to (i) cure a monetary default by the Reorganization Plan Debtors in accordance with the terms of an
executory contract or unexpired lease of the Reorganization Plan Debtors and (ii) permit the


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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30           Main Document
                                                 Pg 14 of 161


Reorganization Plan Debtors to assume such executory contract or unexpired lease under section 365(a)
of the Bankruptcy Code.

                   1.35.    Debtor Affiliates means the Debtors, other than RDA Holding.

                1.36. Debtors means RDA Holding, Reader’s Digest, Ardee Music Publishing, Inc.;
Direct Entertainment Media Group, Inc.; Pegasus Sales, Inc.; Pleasantville Music Publishing, Inc.; R.D.
Manufacturing Corporation; Reiman Manufacturing, LLC; RD Publications, Inc.; Home Service
Publications, Inc.; RD Large Edition, Inc.; RDA Sub Co. (f/k/a Books Are Fun, Ltd.); Reader’s Digest
Children’s Publishing, Inc.; Reader’s Digest Consumer Services, Inc.; Reader’s Digest Entertainment,
Inc.; Reader’s Digest Financial Services, Inc.; Reader’s Digest Latinoamerica, S.A.; WAPLA, LLC;
Reader’s Digest Sales and Services, Inc.; Taste of Home Media Group, LLC; Reiman Media Group, LLC;
Taste of Home Productions, Inc.; World Wide Country Tours, Inc.; W.A. Publications, LLC; WRC
Media, Inc.; RDCL, Inc. (f/k/a Compasslearning, Inc.); RDA Digital, LLC; RDWR, Inc. (f/k/a Weekly
Reader Corporation); Haven Home Media, LLC (f/k/a Reader’s Digest Sub Nine, Inc.); Weekly Reader
Custom Publishing, Inc. (f/k/a Lifetime Learning Systems, Inc.); and World Almanac Education Group,
Inc.

                1.37. Debtors in Possession means the Debtors in their capacity as debtors in
possession in the Chapter 11 Cases pursuant to sections 1101, 1107(a) and 1108 of the Bankruptcy Code.

                 1.38. Definitive Documents means the documents (including any related orders,
agreements, instruments, schedules or exhibits) that are contemplated herein and that are otherwise
necessary or desirable to implement, or otherwise relate to the restructuring contemplated in the
Restructuring Support Agreement, the Reorganization Plan (including the Plan Supplement), any motion
seeking the approval thereof, the Confirmation Order, and definitive documentation relating to the DIP
Facility, the use of cash collateral and the Exit Financing, Amended Organizational Documents, advisory
or management services agreements, shareholder and member related agreements or other related
documents, each of which shall contain terms and conditions consistent in all material respects with this
Reorganization Plan and shall otherwise be reasonably satisfactory in all respects to the Reorganization
Plan Debtors and the Required Consenting Secured Parties.

                   1.39.    DEMG means Direct Entertainment Media Group, Inc.

               1.40. DEMG Intercompany Claims means any Claims against a Reorganization Plan
Debtor held by DEMG.

                1.41. DIP Agent means Wilmington Trust, National Association, as administrative
agent for the DIP Lenders under the DIP Loan Agreement, as its permitted successor and assign.

               1.42. DIP Claim means a Claim of the DIP Lenders or DIP Agent arising under the
DIP Financing and the DIP Order.

                 1.43. DIP Commitment Letter means the commitment letter attached to the
Restructuring Support Agreement as Exhibit B (as may be amended, supplemented or modified from
time to time in accordance with the terms thereof).

                 1.44. DIP Facility means that certain consensual, priming, debtor in possession
financing facility in the amount of $104,141,267 consisting of the New Money Loans, the Roll-Up Loans
and the letters of credit outstanding under the 2012 Senior Credit Agreement and deemed issued
thereunder, on the terms and conditions set forth in the DIP Loan Agreement, as approved by the DIP
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30          Main Document
                                                 Pg 15 of 161


Order; it being understood that any and all indemnification obligations under the 2012 Senior Credit
Agreement will survive as obligations under the DIP Facility and DIP Loan Agreement.

                1.45. DIP Lenders means the Issuing Lender, the Roll-Up Lender, and New Money
Lenders party to the DIP Loan Agreement.

                 1.46. DIP Loan Agreement means that certain credit and guarantee agreement, dated
as of February 22, 2013, as amended, supplemented, restated or otherwise modified, by and among,
Reader’s Digest, as borrower, RDA Holding and each of RDA Holding’s direct and indirect domestic
subsidiaries party thereto, as guarantors, the DIP Agent, Issuing Lender, the Roll-Up Lender and the New
Money Lenders.

               1.47. DIP Order means the interim and final order(s) of the Bankruptcy Court
authorizing, among other things, the Debtors to enter into and make borrowings under the DIP Loan
Agreement, and granting certain rights, protections and liens to and for the benefit of the DIP Lenders.

                   1.48.    DIP Term Sheet means the term sheet attached to the DIP Commitment Letter as
Annex 1.

                 1.49. Disbursing Agent means any entity (including any applicable Reorganization
Plan Debtor if it acts in such capacity) in its capacity as a disbursing agent under Section 6.3 hereof.

                1.50. Disclosure Statement means the Disclosure Statement for the Reorganization
Plan, in form and substance satisfactory to the Required Consenting Secured Parties, which is prepared
and distributed in accordance with sections 1125, 1126(b) and/or 1145 of the Bankruptcy Code,
Bankruptcy Rule 3018 and/or other applicable law.

                 1.51. Disclosure Statement Order means an order entered by the Bankruptcy Court
finding that the Disclosure Statement contains adequate information pursuant to section 1125 of the
Bankruptcy Code and otherwise in form and substance satisfactory to the Required Consenting Secured
Parties.

                  1.52. Disputed Claim means with respect to a Claim or Interest, any such Claim or
Interest (a) to the extent neither Allowed nor disallowed under the Reorganization Plan or a Final Order
nor deemed Allowed under section 502, 503 or 1111 of the Bankruptcy Code, or (b) for which a proof of
claim or interest for payment has been made, to the extent the Reorganization Plan Debtors or any party in
interest has interposed a timely objection or request for estimation before the Confirmation Date in
accordance with the Reorganization Plan, which objection or request for estimation has not been
withdrawn or determined by a Final Order.

                1.53. Distribution Date means a date or dates, including the Initial Distribution Date,
as determined by the Disbursing Agent in accordance with the terms of the Reorganization Plan, on which
the Disbursing Agent makes a distribution to holders of Allowed Claims.

                 1.54. Distribution Record Date means (i) for Class 3 Senior Noteholder Secured
Claims and Class 4 Senior Noteholder Deficiency Claims, the date the Confirmation Order is entered by
the Bankruptcy Court or such other date as may be later agreed upon and set forth in the Confirmation
Order, and (ii) for all other Allowed Claims, the Effective Date of the Reorganization Plan.




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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30             Main Document
                                                 Pg 16 of 161


                1.55. Effective Date means the date on which all conditions to the effectiveness of the
Reorganization Plan set forth in Section 9 hereof have been satisfied or waived in accordance with the
terms of the Reorganization Plan.

                1.56. Employee Bonus Pool means the Cash bonus pool to be allocated after the
Effective Date by the Chief Executive Officer with the concurrence of the New Board.

               1.57. Estate or Estates means individually or collectively, the estate or estates of the
Reorganization Plan Debtors created under section 541 of the Bankruptcy Code.

                 1.58. Exculpated Parties means collectively: (a) the Reorganization Plan Debtors; (b)
the Creditors Committee; (c) the Administrative Agent, the Unsecured Administrative Agent, the 2011
Secured Administrative Agent and the Collateral Agent; (d) the 2012 Senior Credit Agreement Lenders;
(e) the other Secured Parties under and as defined in the Security Agreement; (f) the DIP Lenders; (g) the
Consenting Lender; (h) the DIP Agent; (i) the arrangers under each of the DIP Facility and the Exit
Financing; (j) the administrative agents, collateral agents, and lenders under the Exit Financing; (k) the
Consenting Secured Noteholders; (l) the Unsecured Lenders; (m) the 2011 Secured Lenders; and (n) with
respect to each of the foregoing entities in clauses (a) through (m), such entities’ predecessors, successors
and assigns, subsidiaries, affiliates, managed accounts or funds, current and former officers, directors,
principals, shareholders, members, partners, employees, agents, advisory board members, financial
advisors, attorneys, accountants, investment bankers, consultants, representatives, management
companies, fund advisors and other professionals, and such persons’ respective heirs, executors, estates,
servants and nominees, in each case in their capacity as such; provided, however, that any officer,
director, principal, shareholder, member, partner, employee, or agent of the Reorganization Plan Debtors
that is scheduled by the Reorganization Plan Debtors in the Plan Supplement and designated in such
schedule as a non-exculpated party shall not be an Exculpated Party for purposes of the Reorganization
Plan.

              1.59. Existing RDA Holding Interests means all Interests in RDA Holding, including
common stock, preferred stock and any options, warrants or rights to acquire any such Interests.

                   1.60.    Exit Financing means the First Out Exit Facilities and the Second Out Exit
Facility.

                1.61. Fee Claim means a Claim for professional services rendered or costs incurred on
or after the Commencement Date through the Effective Date by professional persons retained by the
Reorganization Plan Debtors or the Creditors Committee pursuant to sections 327, 328, 329, 330, 331,
503(b) or 1103 of the Bankruptcy Code in the Chapter 11 Cases.

                 1.62. Final Order means an order or judgment of a court of competent jurisdiction that
has been entered on the docket maintained by the clerk of such court, which has not been reversed,
vacated or stayed and as to which (a) the time to appeal, petition for certiorari, or move for a new trial,
reargument or rehearing has expired and as to which no appeal, petition for certiorari, or other
proceedings for a new trial, reargument or rehearing shall then be pending, or (b) if an appeal, writ of
certiorari, new trial, reargument or rehearing thereof has been sought, such order or judgment shall have
been affirmed by the highest court to which such order was appealed, or certiorari shall have been denied,
or a new trial, reargument or rehearing shall have been denied or resulted in no modification of such
order, and the time to take any further appeal, petition for certiorari or move for a new trial, reargument
or rehearing shall have expired; provided, however, that no order or judgment shall fail to be a “Final
Order” solely because of the possibility that a motion pursuant to section 502(j) or 1144 of the

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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30          Main Document
                                                 Pg 17 of 161


Bankruptcy Code or under Rule 60 of the Federal Rules of Civil Procedure or Bankruptcy Rule 9024 has
been or may be filed with respect to such order or judgment.

                 1.63. First Out Exit Term Loan means a first out, senior secured exit term loan, in an
amount equal to the aggregate amount of the Roll-Up Loans outstanding under the DIP Facility on the
Effective Date, in accordance with and subject to the terms and conditions contained in the First Out Exit
Term Sheet or otherwise on terms and conditions satisfactory to the Roll-Up Lender; it being understood
that any and all indemnification obligations under the DIP Facility and DIP Loan Agreement will survive
as obligations under the First Out Exit Term Loan.

                1.64. First Out Exit Letter of Credit Facility means the aggregate amount of all letters
of credit undrawn and outstanding under the DIP Loan Agreement as of the Effective Date, in accordance
with and subject to the terms and conditions contained in the First Out Exit Term Sheet or otherwise on
terms and conditions satisfactory to the Consenting Lender.

                1.65. First Out Exit Facilities means the first out, senior secured credit facility
comprising the First Out Exit Term Loan and the First Out Exit Letter of Credit Facility, in accordance
with and subject to the terms and conditions contained in the First Out Exit Term Sheet or otherwise on
terms and conditions satisfactory to the Consenting Lender.

                1.66. First Out Exit Term Sheet means the term sheet for the First Out Exit Term
Loan and First Out Exit Letter of Credit Facility attached to the DIP Commitment Letter as Annex 2.

                   1.67.    FTC means the United States Federal Trade Commission.

                1.68. FTC Action means that certain action styled Federal Trade Commission v.
Fitness Brands, Inc., et al., Case No. 12-23065-CMA (S.D. Fl. 2012).

               1.69. FTC Claims means any claims arising under or relating to the FTC Action and
the FTC Settlement Order or the subject matter therein.

               1.70. FTC Settlement Order means the Stipulated Final Judgment and Order for
Permanent Injunction and Other Equitable Relief Against Defendants Direct Holdings Americas, Inc., and
DEMG, and Relief Defendant Reader’s Digest, dated August 27, 2012, entered in the FTC Action.

                1.71. Fully Diluted Basis means on a fully diluted basis, after taking into account all
New Common Stock issued pursuant to the Restructuring, but excluding any New Common Stock issued
pursuant to the Management Incentive Program.

               1.72. General Unsecured Claim means any unsecured Claim against any
Reorganization Plan Debtor, other than a Plan Debtor Intercompany Claim, that is not entitled to priority
under the Bankruptcy Code or any order of the Bankruptcy Court, including without limitation, any FTC
Claims, the Unsecured Term Loan Claim, any Non-Debtor Intercompany Claims, any DEMG
Intercompany Claim, or any Senior Noteholder Deficiency Claim.

                 1.73. GUC Distribution means, subject to the conditions set forth in Section 4.4,
$500,000 to be funded from either the Reorganization Plan Debtors’ cash on hand or by the Consenting
Secured Noteholders on a Pro Rata basis and held in a segregated non-interest bearing account
maintained by the Reorganized Debtors, subject to reduction for the Claims Oversight Committee, and
distributed Pro Rata to the holders of any sub-class of Allowed Class 4 General Unsecured Claims that
vote to accept the Reorganization Plan.

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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30             Main Document
                                                 Pg 18 of 161


               1.74. Impaired means, with respect to a Claim, Interest or Class of Claims or Interests,
“impaired” within the meaning of section 1123(a)(4) and 1124 of the Bankruptcy Code.

                 1.75. Indenture means that certain Indenture, dated as of February 11, 2010 among RD
Escrow Corporation, Reader’s Digest, RDA Holding, and the subsidiary guarantors thereunder, the
Indenture Trustee, and Wilmington Trust, National Association (as successor to Wilmington Trust FSB),
as collateral agent.

                 1.76. Indenture Trustee means Wilmington Trust, National Association (as successor
by appointment to Wells Fargo Bank, National Association) in its capacity as the indenture trustee under
the Indenture, and its permitted successors and assigns.

                1.77. Indenture Trustee Charging Lien means any Lien or other priority in payment
to which the Indenture Trustees is entitled, pursuant to the Indentures, against distributions to be made to
Senior Noteholders for payment of any fees or expenses due to the Indenture Trustee under the Indenture.

               1.78. Indenture Trustee Fees means the reasonable compensation, fees, expenses,
disbursements and indemnity claims arising under the Indenture, including attorneys’ and agents’ fees,
expenses, and disbursements, incurred under the Indenture by the Indenture Trustee, whether prior to or
after the Commencement Date and whether prior to or after the Consummation of the Reorganization
Plan.

                 1.79. Initial Distribution means the first distribution that the Disbursing Agent makes
to holders of Allowed Claims.

                 1.80. Initial Distribution Date means the date occurring on or as soon as reasonably
practicable after the Effective Date, but in no event more than sixty (60) days after the Effective Date, on
which the Disbursing Agent makes the Initial Distribution to holders of Allowed Claims.

             1.81. Intercompany Interest means an Interest in a Reorganization Plan Debtor, other
than RDA Holding, held by another Reorganization Plan Debtor or an affiliate of a Reorganization Plan
Debtor.

                1.82. Interests means any equity security in a Reorganization Plan Debtor as defined in
section 101(16) of the Bankruptcy Code, including all common stock, preferred stock or other instruments
evidencing an ownership interest in any of the Reorganization Plan Debtors, whether or not transferable,
and any option, warrant or right, contractual or otherwise, to acquire any such interests in a
Reorganization Plan Debtor that existed immediately before the Effective Date.

                1.83. International Restructuring Transactions means those certain transactions with
respect to the Reorganization Plan Debtors’ direct and indirect foreign subsidiaries and affiliates to be
implemented on or after the Effective Date substantially as set forth in the Acceptable Business Plan.

               1.84. Issuing Lender means Wells Fargo Principal Lending, LLC, as issuing lender,
under the DIP Loan Agreement.

                   1.85.    Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

                1.86. Management Incentive Program means a post-emergence management
incentive program to be approved and implemented by the New Board upon consultation with the Chief
Executive Officer, on or after the Effective Date, under which [10%] of the New Common Stock on a

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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30            Main Document
                                                 Pg 19 of 161


Fully Diluted Basis and after giving effect to the Management Incentive Program shall be reserved for
issuance by the New Board to continuing employees of the Reorganization Plan Debtors and members of
the New Board, consistent with market terms.

                   1.87.    New Board means the board of directors and/or managers of Reorganized RDA
Holding.

              1.88. New Common Stock means the shares of common stock, par value $.001 per
share, of Reorganized RDA Holding authorized pursuant to the Certificate of Incorporation of
Reorganized RDA Holding as set forth in the Plan Supplement.

               1.89. New Money Loans means the new money loans in the principal amount of
$45,000,000 provided by the New Money Lenders under the DIP Loan Agreement.

               1.90. New Money Lenders means the lenders specified on Schedule 2.01 of the DIP
Loan Agreement and each other lender that shall become a party thereto from time to time, as NM Lender
under the DIP Loan Agreement.

               1.91. Non-Debtor Intercompany Claim means any prepetition Claim against a
Reorganization Plan Debtor held by one of the Debtors’ direct or indirect non-debtor affiliates or
subsidiaries.

                1.92. Non-Dischargeability Deadline means May 28, 2013 at 5:00 p.m. (Eastern
Time) as set pursuant to the Order Pursuant to 11 U.S.C. §§ 502(b)(9) and 105, Fed. R. Bankr. P. 2002,
3003(c)(3) and 4007(c), and Local Rule 3003-1 (i) Establishing Deadline for Filing Proofs of Claim, (ii)
Establishing Deadline for Filing Complaints to Determine Dischargeability of Debts and Procedures
Relating Thereto, and (iii) Approving Form and Manner of Notice Thereof dated March 25, 2013 (ECF
No. 165), by which date complaints to object to the discharge of any Claims against any of the
Reorganization Plan Debtors must be filed by all parties in interest, including without limitation,
governmental entities, and failure to file such complaints prior to the expiration of the Non-
Dischargeability Deadline will result in such Claims being forever discharged against the Reorganization
Plan Debtors.

               1.93. Other Priority Claim means any Claim against any of the Reorganization Plan
Debtors other than an Administrative Expense Claim or a Priority Tax Claim, entitled to priority in
payment as specified in section 507(a)(3), (4), (5), (6), (7) or (9) of the Bankruptcy Code.

               1.94. Other Secured Claim means a Secured Claim, other than an Administrative
Expense Claim, a Priority Tax Claim, a 2012 Senior Credit Agreement Claim, or a Senior Noteholder
Secured Claim.

                   1.95.    PBGC means the Pension Benefit Guaranty Corporation.

                1.96. Pension Credit means the pension credit to be adopted by Reader’s Digest after
the Effective Date with the concurrence of the New Board.

                   1.97.    Pension Plan means The Reader’s Digest Association, Inc. Retirement Plan.

                1.98. Person means an individual, corporation, partnership, joint venture, association,
joint stock company, limited liability company, limited liability partnership, trust, estate, unincorporated
organization, governmental unit (as defined in section 101(27) of the Bankruptcy Code) or other entity.

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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30            Main Document
                                                 Pg 20 of 161


                1.99. Plan Debtor Intercompany Claim means any Claim against a Reorganization
Plan Debtor held by another Reorganization Plan Debtor.

                 1.100. Plan Supplement means a supplemental appendix to the Reorganization Plan, in
form and substance satisfactory to the Required Consenting Secured Parties, containing, among other
things, substantially final forms of the Amended Organizational Documents (to the extent such Amended
Organizational Documents reflect material changes from the Reorganization Plan Debtors’ existing
organizational documents and by laws), the Schedule of Assumed Contracts, the First Out Exit Facilities,
the Second Out Exit Term Loan Agreement, the Registration Rights Agreement, the Stockholders
Agreement, and to the extent known, with respect to the members of the New Board, information required
to be disclosed in accordance with section 1129(a)(5) of the Bankruptcy Code; provided, that, through the
Effective Date, the Reorganization Plan Debtors shall have the right to amend the First Out Exit Facilities,
the Second Out Exit Term Loan Agreement, the Amended Organizational Documents, the Registration
Rights Agreement, the Stockholders Agreement, and any schedules, exhibits or amendments thereto, and
the other documents contained in, and exhibits to, the Plan Supplement with the consent of the Required
Consenting Secured Parties. The Plan Supplement shall be filed with the Bankruptcy Court no later than
the Plan Supplement Filing Date.

                   1.101. Plan Supplement Filing Date means June 11, 2013 at 5:00 p.m. (Eastern Time).

               1.102. Plan Term Sheet means the term sheet attached to the Restructuring Support
Agreement as Exhibit A including any schedules and exhibits attached thereto and as may be modified in
accordance with Section 9.15 of the Restructuring Support Agreement.

                1.103. Priority Non-Tax Claim means any Claim other than an Administrative Expense
Claim or a Priority Tax Claim that is entitled to priority in payment as specified in section 507(a) of the
Bankruptcy Code.

               1.104. Priority Tax Claim means any secured or unsecured Claim of a governmental
unit of the kind entitled to priority in payment as specified in sections 502(i) and 507(a)(8) of the
Bankruptcy Code.

                1.105. Pro Rata means the proportion that an Allowed Claim in a particular Class bears
to the aggregate amount of Allowed Claims in that Class, or the proportion that Allowed Claims in a
particular Class bear to the aggregate amount of Allowed Claims and Disputed Claims in a particular
Class and other Classes entitled to share in the same recovery as such Allowed Class under the
Reorganization Plan.

                1.106. RDA GUC Distribution means, subject to the conditions set forth in Sections 4.4,
$3,875,000 to be funded from either the Reorganization Plan Debtors’ cash on hand or by the Consenting
Secured Noteholders and held in a segregated non-interest bearing account maintained by the
Reorganized Debtors, subject to reduction for the Claims Oversight Reserve, to be distributed Pro Rata to
the holders of Allowed Class 4 General Unsecured Claims of Reader’s Digest; provided, however, that in
the event the holders of General Unsecured Claims against Reader’s Digest vote to reject the
Reorganization Plan as a sub-class, there will be no RDA GUC Distribution.

                   1.107. RDA Holding means RDA Holding Co.

                   1.108. Reader’s Digest means The Reader’s Digest Association, Inc.



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                                                    11
13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30             Main Document
                                                 Pg 21 of 161


               1.109. Registration Rights Agreement means that certain Registration Rights
Agreement to be included in draft form in the Plan Supplement, which shall be consistent with the
requirements contained in the Reorganization Plan, the Restructuring Support Agreement and the Plan
Term Sheet and which shall otherwise be in a form and substance reasonably acceptable to the Required
Consenting Secured Noteholders; provided, however, that the Registration Rights Agreement will not
adversely impact the First Out Exit Term Loan and the Consenting Lender’s rights thereunder in any
manner.

                 1.110. Reinstate, Reinstated or Reinstatement means (i) leaving unaltered the legal,
equitable and contractual rights to which a Claim entitles the holder of such Claim so as to leave such
Claim Unimpaired or (ii) notwithstanding any contractual provision or applicable law that entitles the
holder of such Claim to demand or receive accelerated payment of such Claim after the occurrence of a
default, (a) curing any such default that occurred before or after the Commencement Date, other than a
default of the kind specified in section 365(b)(2) of the Bankruptcy Code; (b) reinstating the maturity of
such Claim as such maturity existed before such default; (c) compensating the holder of such Claim for
any damages incurred as a result of any reasonable reliance by such holder on such contractual provision
or such applicable law; and (d) not otherwise altering the legal, equitable or contractual right that does not
pertain to the payment when due of principal and interest on the obligation on which such Claim is based,
including, but not limited to, financial covenant ratios, negative pledge covenants, covenants or
restrictions on merger or consolidation and affirmative covenants regarding corporate existence,
prohibiting certain transactions or actions contemplated by the Reorganization Plan or conditioning such
transactions or actions on certain factors, shall not be required to be reinstated in order to accomplish
Reinstatement and shall be deemed cured on the Effective Date.

                 1.111. Released Parties means collectively and in each case in their capacity as such:
(a) the Reorganization Plan Debtors; (b) the Creditors Committee, (c) the Administrative Agent, the
Unsecured Administrative Agent, the 2011 Secured Administrative Agent and the Collateral Agent; (d)
the 2012 Senior Credit Agreement Lenders; (e) the other Secured Parties under and as defined in the
Security Agreement; (f) the DIP Lenders; (g) the Consenting Lender; (h) the DIP Agent; (i) the arrangers
under each of the DIP Facility and the Exit Financing; (j) the administrative agents, collateral agents, and
lenders under the Exit Financing; (k) the Consenting Secured Noteholders; (l) the Unsecured Lenders;
(m) the 2011 Secured Lenders; and (n) with respect to each of the foregoing entities in clauses (a) through
(m), such entities’ predecessors, successors and assigns, subsidiaries, affiliates, managed accounts or
funds, current and former officers, directors, principals, shareholders, members, partners, employees,
agents, advisory board members, financial advisors, attorneys, accountants, investment bankers,
consultants, representatives, management companies, fund advisors and other professionals, and such
persons’ respective heirs, executors, estates, servants and nominees; provided, however, that any officer,
director, principal, shareholder, member, partner, employee, or agent of the Reorganization Plan Debtors
that is scheduled by the Reorganization Plan Debtors in the Plan Supplement and designated in such
schedule as a non-released party shall not be a Released Party for purposes of the Reorganization Plan.

                 1.112. Reorganization Plan means this second amended joint chapter 11 plan of
reorganization, including the exhibits hereto, as the same may be amended or modified from time to time
in accordance with Section 12.4 herein.

               1.113. Reorganization Plan Debtors has the meaning set forth in the preamble to the
Reorganization Plan.

               1.114. Reorganization Plan Debtor Affiliates means the Reorganization Plan Debtors,
other than RDA Holding.

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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30        Main Document
                                                 Pg 22 of 161


              1.115. Reorganization Plan Debtors in Possession means the Debtors in Possession
other than DEMG.

                1.116. Reorganized Debtors means the Reorganization Plan Debtors, as reorganized on
the Effective Date in accordance with the Reorganization Plan.

                1.117. Reorganized Debtor Affiliates means the Reorganization Plan Debtor Affiliates,
as reorganized on the Effective Date in accordance with the Reorganization Plan.

              1.118. Reorganized RDA Holding means RDA Holding, after giving effect to the
consummation of the restructuring transactions under the Reorganization Plan.

                1.119. Required Consenting Secured Noteholders means the Consenting Secured
Noteholders holding at such time at least 51% of the Senior Notes that are subject to the terms of the
Restructuring Support Agreement.

              1.120. Required Consenting Secured Parties means the Consenting Lender and the
Required Consenting Secured Noteholders.

                 1.121. Restructuring means the proposed financial restructuring the principal terms of
which are set forth in the Plan Term Sheet.

                1.122. Restructuring Expenses means the reasonable and documented fees and
expenses incurred by each of the Administrative Agent, the Collateral Agent, the 2012 Senior Credit
Agreement Lenders, the Consenting Lender, the Consenting Secured Noteholders, the DIP Agent, and the
DIP Lenders in connection with the Restructuring, including the fees and expenses of their respective
legal and financial advisors (limited to one primary counsel for the Consenting Lender, and one primary
counsel for the DIP Agent and the Consenting Secured Noteholders, as well as any conflicts counsel,
special counsel and local counsel for each of the Consenting Lender, the DIP Agent, and the Consenting
Secured Noteholders, and one financial advisor for the Consenting Secured Noteholders) without the
requirement for the filing of retention applications, fee applications or any other applications in the
Chapter 11 Cases, which, in each case, shall be Allowed in full and shall not be subject to any offset,
defense, counterclaim, reduction or credit of any kind whatsoever.

                1.123. Restructuring Support Agreement means that certain Restructuring Support
Agreement, dated February 17, 2013, by and among the Reorganization Plan Debtors, DEMG, the
Consenting Lender, and the Consenting Secured Noteholders (as may be amended, supplemented or
modified from time to time in accordance with the terms thereof) annexed hereto as Exhibit A.

               1.124. Roll-Up Lender means Wells Fargo Principal Lending, LLC, as roll-up lender
under the DIP Loan Agreement.

               1.125. Roll-Up Loans means the roll-up term loans deemed made by the Roll-Up
Lender under the DIP Loan Agreement.

                1.126. Schedule of Assumed Contracts means the schedule of contracts and leases to be
assumed by the Reorganized Debtors, with the reasonable consent of the Required Consenting Secured
Noteholders, to be filed with the Plan Supplement.

                 1.127. Schedules means the schedules of assets and liabilities and the statement of
financial affairs filed by the Reorganization Plan Debtors under section 521 of the Bankruptcy Code,

US_ACTIVE:\44191040\16\69252.0040
                                                   13
13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30           Main Document
                                                 Pg 23 of 161


Bankruptcy Rule 1007, and the Official Bankruptcy Forms of the Bankruptcy Rules as such schedules and
statements have been or may be supplemented or amended from time to time.

                 1.128. Second Out Exit Term Loan means a second out, senior secured exit term loan
in the an amount equal to the aggregate amount of the New Money Loans outstanding under the DIP
Facility on the Effective Date, in accordance with and subject to the terms and conditions contained in the
Second Out Exit Term Sheet and otherwise on terms and conditions satisfactory to the New Money
Lenders.

                 1.129. Second Out Exit Term Loan Agreement means the definitive loan agreement
evidencing the second out, senior secured exit term loan, consistent with the Second Out Exit Term
Sheet, including all documents, agreements or instruments executed in connection therewith or related
thereto, in each case on terms and conditions satisfactory to the New Money Lenders.

                1.130. Second Out Exit Term Sheet means the term sheet for the Second Out Exit Term
Loan attached to the DIP Commitment Letter as Annex 3.

              1.131. Security means any Security, as such term is defined in section 101(49) of the
Bankruptcy Code.

                1.132. Secured Claim means a Claim to the extent (i) secured by property of the estate,
the amount of which is equal to or less than the value of such property (A) as set forth in the
Reorganization Plan, (B) as agreed to by the holder of such Claim and the Reorganization Plan Debtors or
(C) as determined by a Final Order in accordance with section 506(a) of the Bankruptcy Code, or (ii)
secured by the amount of any rights of setoff of the holder thereof under section 553 of the Bankruptcy
Code.

                 1.133. Security Agreement means that certain Security Agreement, dated as of February
19, 2010, from RDA Holding, Reader’s Digest, and the subsidiary guarantors thereunder, to JP Morgan
Chase Bank, N.A., as original administrative agent under the “First Priority Agreement” (together with
any successor administrative agent), Wells Fargo Bank, National Association (together with any
successor trustee), as trustee under the Indenture, and Wilmington Trust FSB (together with any successor
collateral agent), as collateral agent for the secured parties thereunder.

                 1.134. Senior Noteholder Deficiency Claim means the General Unsecured Claims to be
Allowed as Class 4 General Unsecured Claims, derived from, based upon, relating to or arising from the
Indenture, in the total aggregate amount of $244,923,799.20 against each Reorganization Plan Debtor.

               1.135. Senior Noteholder Secured Claim means a Secured Claim, derived from, based
upon, relating to or arising from the Indenture, to be Allowed in the total aggregate amount of
$231,000,000 against each Reorganization Plan Debtor.

                   1.136. Senior Noteholders means the respective beneficial holders of the Senior Notes.

               1.137. Senior Notes means the Series A and Series B Floating Rate Senior Secured
Notes due 2017 issued under the Indenture.

                1.138. Stockholders Agreement means that certain Stockholders Agreement to be
included in draft form in the Plan Supplement, which shall be consistent with the requirements contained
in the Reorganization Plan, the Restructuring Support Agreement, and the Plan Term Sheet, and which
shall otherwise be in a form and substance reasonably acceptable to the required Consenting Secured

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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30          Main Document
                                                 Pg 24 of 161


Noteholders; provided, however, that the Stockholders Agreement will not adversely impact the First Out
Exit Term Loan and the Consenting Lender’s rights thereunder in any manner.

                1.139. Subordinated Securities Claims means a Claim subject to subordination under
section 510(b) of the Bankruptcy Code, and any Claim for or that arises from the rescission of a purchase,
sale, issuance or offer of a Security of any of the Debtors, or for damages arising from the purchase of
sale of such a Security, or for reimbursement, indemnification, or contribution allowed under section 502
of the Bankruptcy Code on account of such Claim.

               1.140. Subsidiary Interests means the Interests in the Reorganization Plan Debtors
(other than RDA Holding).

                   1.141. Tax Code means the Internal Revenue Code of 1986, as amended from time to
time.

                  1.142. Unimpaired means, with respect to a Claim, Interest or Class of Claims or
Interests, not “impaired” within the meaning of section 1123(a)(4) and 1124 of the Bankruptcy Code.

                1.143. Unsecured Administrative Agent means Luxor Capital Group, LP in its capacity
as administrative agent under the Unsecured Term Loan.

                1.144. Unsecured Lenders means Luxor Capital Partners, LP, Point Lobos Master
Fund, L.P., Blackwell Partners LLC and each of the other lenders (including affiliates) from time to time
party to the Unsecured Term Loan as lenders thereunder.

               1.145. Unsecured Term Loan means that certain unsecured term loan credit and
guarantee agreement, dated as of August 12, 2011, among RDA Holding, Reader’s Digest, the other
guarantors named thereunder, the lenders party thereto, and Luxor Capital Group, LP, as administrative
agent.

                  1.146. Unsecured Term Loan Claim means, pursuant to the 2011 Financing Settlement,
the General Unsecured Claims to be Allowed as Class 4 General Unsecured Claims, derived from, based
upon, relating to or arising from the Unsecured Term Loan, (i) in the total aggregate amount of
$16,939,830.55 against Reader’s Digest for distribution purposes only and (ii) in the total aggregate
amount of $1.00 against each of the other Reorganization Plan Debtors for voting purposes only (and not
for distribution purposes).

                   1.147. Voting Record Date means 5:00 p.m. Eastern Time on May 6, 2013.

         B.        Interpretation; Application of Definitions and Rules of Construction.

                 Unless otherwise specified, all section or exhibit references in the Reorganization Plan
are to the respective section in, or exhibit to, the Reorganization Plan, as the same may be amended,
waived or modified from time to time. The words “herein,” “hereof,” “hereto,” “hereunder” and other
words of similar import refer to the Reorganization Plan as a whole and not to any particular section,
subsection or clause contained therein. The headings in the Reorganization Plan are for convenience of
reference only and shall not limit or otherwise affect the provisions hereof. For purposes herein: (1) in
the appropriate context, each term, whether stated in the singular or the plural, shall include both the
singular and the plural, and pronouns stated in the masculine, feminine or neuter gender shall include the
masculine, feminine and the neuter gender; (2) any reference herein to a contract, lease, instrument,
release, indenture or other agreement or document being in a particular form or on particular terms and

US_ACTIVE:\44191040\16\69252.0040
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30             Main Document
                                                 Pg 25 of 161


conditions means that the referenced document shall be substantially in that form or substantially on those
terms and conditions; (3) unless otherwise specified, all references herein to “Sections” are references to
Sections hereof or hereto; (4) the rules of construction set forth in section 102 of the Bankruptcy Code
shall apply; and (5) any term used in capitalized form herein that is not otherwise defined but that is used
in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the
Bankruptcy Code or the Bankruptcy Rules, as the case may be.

         C.        Reference to Monetary Figures

                All references in the Reorganization Plan to monetary figures shall refer to the legal
tender of the United States of America, unless otherwise expressly provided.

         D.        Controlling Document

                 In the event of an inconsistency between the Reorganization Plan and the Plan
Supplement, the terms of the relevant document in the Plan Supplement shall control (unless stated
otherwise in such Plan Supplement document). The provisions of the Reorganization Plan and of the
Confirmation Order shall be construed in a manner consistent with each other so as to effect the purposes
of each; provided, that if there is determined to be any inconsistency between any Reorganization Plan
provision and any provision of the Confirmation Order that cannot be so reconciled, then, solely to the
extent of such inconsistency, the provisions of the Confirmation Order shall govern and any such
provision of the Confirmation Order shall be deemed a modification of the Reorganization Plan and shall
control and take precedence.

SECTION 2.         ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS.

                   2.1.     Administrative Expense Claims.

                   Except to the extent that a holder of an Allowed Administrative Expense Claim and the
Reorganization Plan Debtors or the Reorganized Debtors agrees to different treatment, the Reorganization
Plan Debtors (or the Reorganized Debtors, as the case may be) shall pay to each holder of an Allowed
Administrative Expense Claim Cash in an amount equal to such Claim on, or as soon thereafter as is
reasonably practicable, the later of (a) the Effective Date and (b) the first Business Day after the date that
is thirty (30) calendar days after the date such Administrative Expense Claim becomes an Allowed
Administrative Expense Claim; provided, that, all DIP Claims shall constitute Allowed Administrative
Expense Claims; provided, further, that Allowed Administrative Expense Claims representing liabilities
incurred in the ordinary course of business by the Reorganization Plan Debtors, as debtors in possession,
or liabilities arising under loans or advances to or other obligations incurred by the Reorganization Plan
Debtors, as debtors in possession, whether or not incurred in the ordinary course of business, shall be paid
by the Reorganization Plan Debtors in the ordinary course of business, consistent with past practice and in
accordance with the terms and subject to the conditions of any agreements governing, instruments
evidencing or other documents relating to such transactions.

                   2.2.     Fee Claims.

                 All entities seeking an award by the Bankruptcy Court of Fee Claims (a) shall file their
respective final applications for allowance of compensation for services rendered and reimbursement of
expenses incurred by the date that is forty-five (45) days after the Effective Date, (b) shall be paid in full
from the Reorganization Plan Debtors’ or Reorganized Debtors’ Cash on hand in such amounts as are
Allowed by the Bankruptcy Court (i) upon the later of (A) the Effective Date and (B) the date upon which
the order relating to any such Allowed Fee Claim is entered or (ii) upon such other terms as may be
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30              Main Document
                                                 Pg 26 of 161


mutually agreed upon between the holder of such an Allowed Fee Claim and the Reorganization Plan
Debtors or, on and after the Effective Date, the Reorganized Debtors. The Reorganized Debtors are
authorized to pay compensation for services rendered or reimbursement of expenses incurred after the
Effective Date in the ordinary course and without the need for Bankruptcy Court approval, including
those of the Creditors Committee for which the Creditors Committee remains in existence after the
Effective Date as set forth in Section 12.3 herein.

                   2.3.     Priority Tax Claims.

                 Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a different
treatment, each holder of an Allowed Priority Tax Claim shall receive, at the sole option of the
Reorganization Plan Debtors or the Reorganized Debtors, (a) Cash in an amount equal to such Allowed
Priority Tax Claim on, or as soon thereafter as is reasonably practicable, the later of the Effective Date,
the first Business Day after the date that is thirty (30) calendar days after the date such Priority Tax Claim
becomes an Allowed Priority Tax Claim, and the date such Allowed Priority Tax Claim is due and
payable in the ordinary course, or (b) equal annual Cash payments in an aggregate amount equal to such
Allowed Priority Tax Claim, together with interest at the applicable rate under section 511 of the
Bankruptcy Code, over a period not exceeding five (5) years after the Commencement Date; provided,
that the Reorganization Plan Debtors reserve the right to prepay all or a portion of any such amounts at
any time under this option.

                   2.4.     DIP Claims.

                 On the Effective Date, the DIP Facility shall convert to (i) the First Out Exit Facilities in
accordance with the terms and conditions set forth in the First Out Exit Term Sheet and (ii) the Second
Out Exit Term Loan Agreement in accordance with the terms and conditions in the Second Out Exit Term
Sheet (and otherwise on terms and conditions satisfactory to the New Money Lenders), as applicable, or
in each case, paid in full in Cash if the terms and conditions required for conversion under the applicable
term sheet are not satisfied; provided, however, that the obligations under the First Out Exit Facilities will
always be paid in full in Cash by the Reorganization Plan Debtors. All accrued and unpaid interest, fees
(including, without limitation, all fees, charges and disbursements of counsels to the Consenting Lender,
the DIP Agent and the New Money Lenders), letter of credit fees and commissions, premiums, expenses
and indemnification amounts under the DIP Facility as of the Effective Date shall be paid in full in cash
on the Effective Date. Upon compliance with the preceding sentence, all liens and security interests
granted to secure the DIP Facility shall be deemed cancelled and shall be of no further force and effect
and each Allowed DIP Claim shall be deemed to be fully satisfied, settled, released, and compromised.

                   2.5.     2012 Senior Credit Agreement Claims.

                  All obligations and claims in respect of the 2012 Senior Credit Agreement shall be treated
as follows: (i) all amounts owing under the 2012 Senior Credit Agreement on the Commencement Date
plus the aggregate amount of any outstanding and unpaid “Reimbursement Obligations” incurred under
(and as defined in) the 2012 Senior Credit Agreement shall have become Roll-Up Loans pursuant to the
DIP Order and the DIP Loan Agreement; (ii) all outstanding letters of credit under 2012 Senior Credit
Agreement shall have become letters of credit deemed issued under the DIP Loan Agreement; and (iii) all
accrued and unpaid interest, fees, letter of credit standby fees and commissions, premium, expenses,
indemnification amounts and all other obligations arising under or relating to the 2012 Senior Credit
Agreement shall have been paid in full in cash on or prior to the Second Effective Date (as defined in the
DIP Loan Agreement).


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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30            Main Document
                                                 Pg 27 of 161


                   2.6.     Roll-Up Loans.

                  On the Effective Date, all Roll-Up Loans, outstanding letters of credit and any related
obligations shall be converted into the First Out Exit Facilities in accordance with the First Out Exit Term
Sheet so long as (and only so long as) the terms and conditions required for such conversion are satisfied
in accordance with the provisions of the First Out Exit Term Sheet and otherwise such obligations shall
be paid in full in Cash on the Effective Date; provided, however, that the Reorganization Plan Debtors
may always elect to repay such obligations in full in Cash at any time prior to or after the Effective Date.

                 Notwithstanding that the scheduled final maturity of the Roll-Up Loans under the DIP
Facility extends beyond the date that is 180 days after the Commencement Date, the commitment of the
Consenting Lender under the Restructuring Support Agreement and the First Out Exit Term Sheet to
provide the First Out Exit Term Loan shall terminate on the date that is 180 days after the
Commencement Date.

                   2.7.     Indenture Trustee Fees.

                  On the Effective Date, the Reorganized Debtors shall pay in Cash the unpaid and
outstanding Indenture Trustee Fees, without the need for the Indenture Trustee to file fee applications
with the Bankruptcy Court; provided, however, that the Indenture Trustee shall provide the
Reorganization Plan Debtors and the Creditors Committee with the invoices for which it seeks payment at
least 10 days prior to the Effective Date. Notwithstanding anything in the Reorganization Plan to the
contrary, each Indenture Trustee Charging Lien shall be released and discharged upon (a) payment in full
of any fees and expenses due to any Indenture Trustee under an applicable Indenture and (b) the
satisfaction of the Indenture Trustee’s duties pursuant to the Plan (including with respect to Plan
distributions).

SECTION 3.         CLASSIFICATION OF CLAIMS AND INTERESTS.

                   3.1.     Summary of Classification.

                 The following table designates the Classes of Claims against and Interests in each of the
Reorganization Plan Debtors and specifies which of those Classes are (a) Impaired or Unimpaired by the
Reorganization Plan, (b) entitled to vote to accept or reject the Reorganization Plan in accordance with
section 1126 of the Bankruptcy Code and (c) deemed to reject the Reorganization Plan. In accordance
with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims
have not been classified and, thus, are excluded from the Classes of Claims and Interests set forth in this
Section 3. The classification of Claims and Interests set forth herein shall apply separately to each of the
Reorganization Plan Debtors. All of the potential Classes for the Reorganization Plan Debtors are set
forth herein. Certain of the Reorganization Plan Debtors may not have holders of Claims or Interests in a
particular Class or Classes, and such Classes shall be treated as set forth in Section 3.3.




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                                                      18
13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30                  Main Document
                                                 Pg 28 of 161


    Class                   Designation                          Treatment                Entitled to Vote
      1      Other Priority Claims                               Unimpaired                      No
                                                                                        (presumed to accept)
     2       Other Secured Claims                                 Impaired                      Yes2
     3       Senior Noteholder Secured Claims                     Impaired                      Yes
     4       General Unsecured Claims                             Impaired                      Yes
     5       Plan Debtor Intercompany Claims                      Impaired                      Yes
     6       Existing RDA Holding Interests                       Impaired                       No
                                                                                         (deemed to reject)
     7       Intercompany Interests                              Unimpaired                      No
                                                                                         (deemed to accept)
     8       Subordinated Securities Claims                       Impaired                       No
                                                                                         (deemed to reject)

                   3.2.     Special Provision Governing Unimpaired Claims.

                Except as otherwise provided in the Reorganization Plan, nothing under the
Reorganization Plan shall affect the rights of the Reorganization Plan Debtors or the Reorganized
Debtors, as applicable, in respect of any Unimpaired Claims, including all rights in respect of legal and
equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.

                   3.3.     Elimination of Vacant Classes.

                 Any Class of Claims or Interests that, as of the commencement of the Confirmation
Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount greater than
zero for voting purposes shall be considered vacant, deemed eliminated from the Reorganization Plan for
purposes of voting to accept or reject the Reorganization Plan, and disregarded for purposes of
determining whether the Reorganization Plan satisfies section 1129(a)(8) of the Bankruptcy Code with
respect to that Class.

SECTION 4.         TREATMENT OF CLAIMS AND INTERESTS.

                   4.1.     Other Priority Claims (Class 1).

                       (a)           Classification: Class 1 consists of Other Priority Claims against the
Reorganization Plan Debtors.

                        (b)     Treatment: Except to the extent that a holder of an Allowed Other
Priority Claim against any of the Reorganization Plan Debtors has agreed to less favorable treatment of
such Claim, each such holder shall receive, in full and final satisfaction of such Claim, Cash in an amount
equal to such Claim, payable on the later of the Effective Date and the date on which such Other Priority
Claim becomes an Allowed Other Priority Claim, in each case, or as soon as reasonably practical
thereafter.

                        (c)   Voting: Class 1 is Unimpaired, and the holders of Other Priority Claims
are conclusively presumed to have accepted the Reorganization Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Other Priority Claims are not entitled to vote to accept or reject
the Reorganization Plan.

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 The Reorganization Plan Debtors reserve the right to argue at the Confirmation Hearing that Class 2 (Other
Secured Claims) is Unimpaired.
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30         Main Document
                                                 Pg 29 of 161


                   4.2.     Other Secured Claims (Class 2).

                         (a)      Classification: Class 2 consists of the Other Secured Claims. To the
extent that Other Secured Claims are secured by different collateral or different interests in the same
collateral, such Claims shall be treated as separate subclasses of Class 2.

                          (b)     Treatment: Except to the extent that a holder of an Allowed Other
Secured Claim against any of the Reorganization Plan Debtors has agreed to less favorable treatment of
such Claim, each holder of an Allowed Other Secured Claim shall receive, at the option of the
Reorganization Plan Debtors or the Reorganized Debtors, (i) payment in full in Cash in full and final
satisfaction of such claim, payable on the later of the Effective Date and the date on which such Other
Secured Claim becomes an Allowed Other Secured Claim, or, in each case, as soon as reasonably
practical thereafter, (ii) delivery of the collateral securing such Allowed Other Secured Claim and
payment of any interest required under Section 506(b) of the Bankruptcy Code, or (iii) such other
recovery necessary to satisfy section 1129 of the Bankruptcy Code.

                        (c)    Voting: Class 2 is Impaired, and holders of Other Secured Claims in
Class 2 are entitled to vote to accept or reject the Reorganization Plan; provided, however, that the
Reorganization Plan Debtors reserve the right to argue at the Confirmation Hearing that Class 2 (Other
Secured Claims) is Unimpaired.

                   4.3.     Senior Noteholder Secured Claims (Class 3).

                        (a)     Classification: Class 3 consists of Senior Noteholder Secured Claims
against the Reorganization Plan Debtors.

                      (b)     Allowance: The Senior Noteholder Secured Claims are Allowed in the
amount of $231,000,000 pursuant to section 506(a) of the Bankruptcy Code.

                         (c)     Treatment: On the Effective Date, each holder of an Allowed Class 3
Senior Noteholder Secured Claim shall be entitled to receive, in full and final satisfaction of such
Allowed Senior Noteholder Secured Claim, its Pro Rata share of 100% of the New Common Stock on a
Fully Diluted Basis; provided, however, that no holder of an Allowed Senior Noteholder Secured Claim
shall receive distributions that aggregate to more than the amount of such holder’s Allowed Senior
Noteholder Secured Claim; provided, further, that no dividends, recoveries, securities, distributions, or
other form of payments shall be made on account of or in connection with the New Common Stock
distributed to the holders of Allowed Senior Noteholder Secured Claims until all amounts owing in
connection with the First Out Exit Term Loan have been paid in full in Cash and all commitments
thereunder have been terminated.

                        (d)       Voting: Class 3 is Impaired, and holders of Senior Noteholder Secured
Claims in Class 3 are entitled to vote to accept or reject the Reorganization Plan.

                   4.4.     General Unsecured Claims (Class 4).

                         (a)  Classification: Class 4 consists of General Unsecured Claims against the
Reorganization Plan Debtors. For purposes of voting and distributions under the Reorganization Plan,
Class 4 General Unsecured Claims against each of the Reorganization Plan Debtors shall be deemed to be
in separate sub-classes.



US_ACTIVE:\44191040\16\69252.0040
                                                     20
13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30               Main Document
                                                 Pg 30 of 161


                         (b)    Treatment: On the Effective Date, or as soon thereafter as is reasonably
practicable, except to the extent that a holder of an Allowed General Unsecured Claim agrees to less
favorable treatment of such Allowed General Unsecured Claim or has been paid before the Effective
Date, each holder of an Allowed General Unsecured Claim, including any holder of FTC Claims, the
Unsecured Term Loan Claim, any Non-Debtor Intercompany Claims, any DEMG Intercompany Claims
or any Senior Noteholder Deficiency Claims, shall receive the following treatment:

                             (i)      for any sub-class of General Unsecured Claims that votes to accept the
                             Reorganization Plan of any individual Reorganization Plan Debtor, each holder
                             of an Allowed General Unsecured Claim in such accepting sub-class shall
                             receive its Pro Rata share of the GUC Distribution and any Senior Noteholder
                             Deficiency Claims in such accepting sub-class shall be deemed waived for the
                             purposes of entitling holders of such Senior Noteholder Deficiency Claims to
                             share in any recovery from the GUC Distribution;

                             (ii)    in addition to any Pro Rata share of the GUC Distribution, provided the
                             sub-class of General Unsecured Claims of Reader’s Digest votes to accept the
                             Reorganization Plan, each holder of an Allowed General Unsecured Claim of
                             Reader’s Digest shall receive its Pro Rata share of the RDA GUC Distribution
                             and any Senior Noteholder Deficiency Claims in such accepting sub-class shall
                             be deemed waived for the purposes of entitling holders of such Senior
                             Noteholder Deficiency Claims to share in any recovery from the RDA GUC
                             Distribution; and

                             (iii)    in the event any sub-class of General Unsecured Claims votes to reject
                             the Reorganization Plan with respect to any individual Reorganization Plan
                             Debtor, the holders of Allowed General Unsecured Claims in such a rejecting
                             sub-class shall not receive or retain any property under the Reorganization Plan
                             on account of such Claims, including, for the avoidance of doubt, any Pro Rata
                             share of the GUC Distribution or the RDA GUC Distribution. For the further
                             avoidance of doubt, to the extent any sub-class of General Unsecured Claims
                             votes to reject the Reorganization Plan and, therefore, is not entitled to receive
                             any portion of the GUC Distribution, such Pro Rata portion attributable to the
                             rejecting sub-class shall be reallocated to the holders of General Unsecured
                             Claims in other sub-classes that have voted to accept the Reorganization Plan.

                         Notwithstanding anything to the contrary herein, each Allowed Non-Debtor
Intercompany Claim shall be Reinstated or alternatively, at the Reorganization Plan Debtors’ reasonable
discretion, on or prior to the Effective Date, and in consultation with the Creditors Committee or the
Claims Oversight Committee as set forth in Section 7.9 herein, as applicable, each holder of an Allowed
Non-Debtor Intercompany Claim shall receive either its Pro Rata share of the GUC Distribution and the
RDA GUC Distribution, if any, or such other treatment as determined by the Reorganization Plan
Debtors, which other treatment shall not include a distribution from the GUC Distribution or RDA GUC
Distribution. For the avoidance of doubt, in the event the Reorganization Plan Debtors Reinstate any
Allowed Non-Debtor Intercompany Claims, such Allowed Non-Debtor Intercompany Claims will not
receive any Cash distribution under the Reorganization Plan, including with respect to any Pro Rata
shares of the GUC Distribution and RDA GUC Distribution, if applicable. No holder of an Allowed
General Unsecured Claim shall receive distributions that aggregate to more than the amount of such
holder’s Allowed General Unsecured Claim. Nothing herein shall prejudice the ability of any party in
interest to argue, for purposes of confirming the Reorganization Plan under section 1129 of the
Bankruptcy Code, that General Unsecured Claims are not entitled to any value being provided in the
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30              Main Document
                                                 Pg 31 of 161


Reorganization Plan prior to Confirmation, including the GUC Distribution or the RDA GUC
Distribution.

                         (c)     Voting: Class 4 is Impaired, and holders of General Unsecured Claims in
Class 4 are entitled to vote to accept or reject the Reorganization Plan. For the avoidance of doubt, the
holders of Senior Noteholder Deficiency Claims are entitled to vote to accept or reject the Reorganization
Plan as holders of General Unsecured Claims in Class 4.

                   4.5.     Plan Debtor Intercompany Claims (Class 5).

                        (a)     Classification: Class 5 consists of Plan Debtor Intercompany Claims
against the Reorganization Plan Debtors.

                       (b)     Treatment: On the Effective Date, RDA Holding shall, at its discretion,
Reinstate or compromise, as the case may be, all Plan Debtor Intercompany Claims between and among
RDA Holding and its Reorganization Plan Debtors Affiliates consistent with the Acceptable Business
Plan and the International Restructuring Transactions (as such term is used in the Plan Term Sheet)
contemplated thereby.

                        (c)       Voting: Class 5 is Impaired, and holders of Plan Debtor Intercompany
Claims in Class 5 are entitled to vote to accept or reject the Reorganization Plan.

                   4.6.     Existing RDA Holding Interests (Class 6).

                             (a)     Classification: Class 6 consists of Existing RDA Holding Interests.

                        (b)    Treatment: On the Effective Date, all Existing RDA Holding Interests
shall be deemed canceled, and the holders of Existing RDA Holding Interests shall not receive or retain
any property under the Reorganization Plan on account of such Interests.

                      (c)      Voting: Class 6 is Impaired by the Reorganization Plan, and the holders
of the Allowed Existing RDA Holding Interests are conclusively deemed to have rejected the
Reorganization Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, the holders of
Existing RDA Holding Interests are not entitled to vote to accept or reject the Reorganization Plan.

                   4.7.     Intercompany Interests (Class 7).

                      (a)      Classification: Class 7 consists of Intercompany Interests except for
Existing RDA Holding Interests.

                             (b)     Treatment: The Intercompany Interests will be Unimpaired under the
Reorganization Plan.

                        (c)   Voting: Class 7 is Unimpaired, and the holders of Intercompany Interests
are conclusively presumed to have accepted the Reorganization Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Intercompany Interests are not entitled to vote to accept or reject
the Reorganization Plan.




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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30               Main Document
                                                 Pg 32 of 161


                   4.8.     Subordinated Securities Claims (Class 8).

                             (a)     Classification: Class 8 consists of Subordinated Securities Claims.

                         (b)     Treatment: The holders of Subordinated Securities Claims shall not
receive or retain any property under the Reorganization Plan on account of such Claims.

                         (c)      Voting: Class 8 is Impaired by the Reorganization Plan, and the holders
of the Subordinated Securities Claims are conclusively deemed to have rejected the Reorganization Plan
pursuant to section 1126(g) of the Bankruptcy Code. Therefore, the holders of Subordinated Securities
Claims are not entitled to vote to accept or reject the Reorganization Plan.

SECTION 5.         MEANS FOR IMPLEMENTATION.

                   5.1.     Compromise and Settlement of Claims, Interests, and Controversies.

                 Pursuant to sections 363 and 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule
9019 and in consideration for the distributions and other benefits provided pursuant to the Reorganization
Plan, the provisions of the Reorganization Plan shall constitute a good faith compromise of all Claims,
Interests, and controversies relating to the contractual, legal, and subordination rights that a holder of a
Claim may have with respect to any Allowed Claim or any distribution to be made on account of such
Allowed Claim. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of
the compromise or settlement of all such Claims, Interests, and controversies, including without
limitation, approval of the Restructuring Support Agreement and the 2011 Financing Settlement, as well
as a finding by the Bankruptcy Court that such compromise or settlement is in the best interests of the
Reorganization Plan Debtors, their Estates, and holders of Claims and Interests and is fair, equitable, and
reasonable. In accordance with the provisions of the Reorganization Plan, pursuant to sections 363 and
1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019(a), without any further notice to or action,
order, or approval of the Bankruptcy Court, prior to the Effective Date, the Reorganization Plan Debtors
and after the Effective Date, the Reorganized Debtors, may compromise and settle Claims against the
Reorganization Plan Debtors or the Reorganized Debtors, as applicable, and Causes of Action against
other Entities.

                   5.2.     First Out Exit Facilities and Second Out Exit Term Loan.

                 On the Effective Date, subject to Section 2.4 of the Reorganization Plan and the terms
and conditions of the First Out Exit Term Sheet and the Second Out Exit Term Sheet, the Reorganization
Plan Debtors will enter into (i) the First Out Exit Facilities to refinance the Roll-Up Loans and replace
any letters of credit under the DIP Facility and (ii) the Second Out Exit Term Loan to refinance the New
Money Loans outstanding under the DIP Facility; provided, however, that Reorganized RDA Holding
shall have not more than $106,000,000 in funded debt under its secured credit facilities immediately
following the Effective Date.

                  On the Effective Date, documentation evidencing the First Out Exit Facilities and the
Second Out Exit Term Loan shall be executed and delivered, and the Reorganized Debtors shall be
authorized to execute, deliver, and enter into and perform under the First Out Exit Facilities and the
Second Out Exit Term Loan Agreement without the need for any further corporate action and without
further action by the holders of Claims or Interests. The definitive documentation relating to the First Out
Exit Facilities and Second Out Exit Term Loan will be filed as part of the Plan Supplement.



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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30          Main Document
                                                 Pg 33 of 161


                All Liens and security interests granted pursuant to the First Out Exit Facilities or the
Second Out Exit Term Loan Agreement, as applicable to (A) in the case of the First Out Exit Facilities,
the Consenting Lender, the Roll-Up Lender and the Issuing Lender, and (B) in the case of the Second Out
Exit Term Loan Agreement, the New Money Lenders, are intended to be, and shall be (i) valid, binding,
perfected, enforceable, Liens, and security interests in the personal and real property described in and
subject to such documents, with the priorities established in respect thereof under applicable non-
bankruptcy law and (ii) not subject to avoidance, recharacterization, or subordination under any
applicable law.

                   5.3.     Authorization and Issuance of Plan Securities.

                        (a)    The Reorganization Plan Debtors or Reorganized RDA Holding and the
other Reorganized Debtors, as applicable, are authorized to issue all plan-related securities and
documents, including, without limitation, the New Common Stock and any options or entitlements to
purchase such plan-related securities, without the need for any further corporate, partnership, or limited
liability company action.

                        (b)     On or prior to the Effective Date, Reorganized RDA Holding shall
contribute the New Common Stock as a capital contribution to Reader’s Digest in an amount equal to the
shares of New Common Stock to be distributed in respect of Allowed Senior Noteholder Secured Claims
pursuant to Section 4.3 herein, which shares shall then be distributed pursuant to such section and the
provisions herein.

                   5.4.     Cancellation of Existing Securities and Agreements.

                  Except as expressly provided herein and in connection with the First Out Exit Facilities
and the Second Out Exit Term Loan, on the Effective Date, all notes, instruments, certificates evidencing
debt to or interests in, the Reorganization Plan Debtors, including, without limitation, the DIP Loan
Agreement (only upon and following the effectiveness of the First Out Exit Facilities and the Second Out
Exit Loan Agreement or payment in full in cash), the 2012 Senior Credit Agreement, the Security
Agreement, the Indenture, and the Unsecured Term Loan shall be cancelled and obligations of the
Reorganization Plan Debtors thereunder shall be discharged; provided, however, that any and all
indemnification obligations under the 2012 Senior Credit Agreement (including the indemnities provided
in section 4.05 thereunder) shall survive as obligations under the DIP Loan Agreement; provided, further,
that any and all indemnification obligations (and any other obligations surviving per their express terms)
under the DIP Facility shall survive as obligations under the First Out Exit Term Loan or Second Out Exit
Term Loan, as applicable, notwithstanding in each case the cancellation of the predecessor credit
agreement(s); provided, further, that nothing herein shall be deemed to constitute a cancellation of any
rights arising from or in connection with section 5.5 of the Security Agreement.

                 Notwithstanding Confirmation or the occurrence of the Effective Date, the Indenture
shall continue in effect solely for purposes of: (a) enabling holders of Allowed Senior Noteholder
Secured Claims to receive distributions under the Reorganization Plan; and (b) allowing the Indenture
Trustee to make distributions under the Reorganization Plan; provided further, however, that nothing in
this section shall affect the discharge of Claims pursuant to the Bankruptcy Code, the Confirmation Order
or the Reorganization Plan or result in any liability or expense to the Reorganized Debtors.

                   5.5.      Reorganized RDA Holding.

              (a)    Board of Directors. Upon and following the Effective Date, the New Board
shall be a 7-member board comprised of the Chief Executive Officer and 6 directors designated
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30          Main Document
                                                 Pg 34 of 161


by the Required Consenting Secured Noteholders in consultation with the Chief Executive
Officer. The members of the New Board will be identified no later than the Confirmation Hearing or
otherwise in accordance with section 1129(a)(5) of the Bankruptcy Code. On the Effective Date, the
terms of the current members of the boards of directors and the boards of managers of the Reorganization
Plan Debtors shall expire.

                 (b)     Directors and Officers of the Reorganized Debtor Affiliates. Except as otherwise
provided in the Plan Supplement, the officers of the respective Reorganized Debtors immediately before
the Effective Date shall serve as the initial officers of each of the respective Reorganized Debtors on or
after the Effective Date and in accordance with any employment agreement with the Reorganized Debtors
and applicable non-bankruptcy law. After the Effective Date, the selection of officers of the Reorganized
Debtors shall be as provided by their respective organizational documents. The members of the board of
directors and the board of managing members for each of the Reorganized Plan Debtor Affiliates shall be
determined as set forth in the Amended Organizational Documents.

                   5.6.      International Restructuring Transactions.

                 On or after the Effective Date, the Reorganized Debtors with the concurrence of the New
Board shall implement the International Restructuring Transactions and the Reorganized Debtors are
authorized to take all actions as may be necessary or appropriate in connection therewith.

                   5.7.      Other Transactions.

                 On or after the Effective Date, the Reorganization Plan Debtors may (a) cause any or all
of the Debtor Affiliates to be liquidated or merged into one or more of the other Debtor Affiliates or any
other subsidiaries of the Reorganization Plan Debtors or dissolved all as more specifically described in
the Plan Supplement, (b) cause the transfer of assets between or among the Debtor Affiliates, (c) cause
any or all of the Amended Organizational Documents of any Reorganized Debtor Affiliates to be
implemented, effected, or executed, (d) use the proceeds of the First Out Exit Term Loan and Second Out
Exit Term Loan, plus Cash on hand, to pay all Restructuring Expenses, (e) change the name of one or
more of the Reorganized Debtors to such name that may be determined in accordance with applicable
law, and (f) engage in any other transaction in furtherance of the Reorganization Plan. Subject to the
prior written consent of the Required Consenting Secured Parties, any such transactions may be effective
as of the Effective Date pursuant to the Confirmation Order without any further action by the
stockholders, members, general or limited partners, or directors of any of the Reorganization Plan Debtors
or the Reorganization Plan Debtors in Possession.

                   5.8.     Cancellation of Liens.

                Except as otherwise specifically provided herein with respect to Class 2, upon the
occurrence of the Effective Date, any Lien securing any Secured Claim shall be deemed released, and the
holder of such Secured Claim shall be authorized and directed to release any collateral or other property
of the Reorganization Plan Debtors (including any Cash collateral) held by such holder and to take such
actions as may be requested by the Reorganized Debtors, to evidence the release of such Lien, including
the execution, delivery and filing or recording of such releases as may be requested by the Reorganized
Debtors.

                   5.9.     Management Incentive Program.

              The Management Incentive Program shall be implemented by the New Board and
communicated to the participants thereunder promptly following the Effective Date.
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30            Main Document
                                                 Pg 35 of 161


                   5.10.    Employee Matters.

               On or after the Effective Date, the Reorganized Debtors shall implement the following
employee incentive programs with the concurrence of the New Board: (i) the Pension Credit and (ii) the
Employee Bonus Pool.

                   5.11.    Withholding and Reporting Requirements.

                 (a)      Withholding Rights. In connection with the Reorganization Plan, any party
issuing any instrument or making any distribution described in the Reorganization Plan shall comply with
all applicable withholding and reporting requirements imposed by any federal, state, or local taxing
authority, and all distributions pursuant to the Reorganization Plan and all related agreements shall be
subject to any such withholding or reporting requirements. In the case that a distribution of New
Common Stock is subject to withholding, the distributing party may withhold an appropriate portion of
such distributed property and sell such withheld property to generate Cash necessary to pay over the
withholding tax. Any amounts withheld pursuant to the preceding sentence shall be deemed to have been
distributed to and received by the applicable recipient for all purposes of the Reorganization Plan.
Notwithstanding the foregoing, each holder of an Allowed Claim or any other Person that receives a
distribution pursuant to the Reorganization Plan shall have responsibility for any taxes imposed by any
governmental unit, including, without limitation, income, withholding, and other taxes, on account of
such distribution. Any party issuing any instrument or making any distribution pursuant to the
Reorganization Plan has the right, but not the obligation, to not make a distribution until such holder has
made arrangements satisfactory to such issuing or disbursing party for payment of any such tax
obligations.

                 (b)    Forms. Any party entitled to receive any property as an issuance or distribution
under the Reorganization Plan shall, upon request, deliver to the Disbursing Agent or such other Person
designated by the Reorganized Debtors (which entity shall subsequently deliver to the Disbursing Agent
any applicable IRS Form W-8 or Form W-9 received) an appropriate Form W-9 or (if the payee is a
foreign Person) Form W-8, unless such Person is exempt under the tax Code and so notifies the
Disbursing Agent. If such request is made by the Reorganized Debtors, the Disbursing Agent, or such
other Person designated by the Reorganized Debtors and the holder fails to comply before the date that is
180 days after the request is made, the amount of such distribution shall irrevocably revert to the
applicable Reorganized Debtor and any Claim in respect of such distribution shall be discharged and
forever barred from assertion against such Reorganized Debtor or its respective property.

                   5.12.    Exemption From Certain Transfer Taxes.

                 Pursuant to section 1146 of the Bankruptcy Code, (a) the issuance, transfer or exchange
of any securities, instruments or documents, (b) the creation of any Lien, mortgage, deed of trust or other
security interest, (c) the making or assignment of any lease or sublease or the making or delivery of any
deed or other instrument of transfer under, pursuant to, in furtherance of, or in connection with this
Reorganization Plan, including, without limitation, any deeds, bills of sale or assignments executed in
connection with any of the transactions contemplated under this Reorganization Plan or the reinvesting,
transfer or sale of any real or personal property of the Reorganization Plan Debtors pursuant to, in
implementation of or as contemplated in this Reorganization Plan (whether to one or more of the
Reorganized Debtors or otherwise), (d) the grant of collateral under the First Out Exit Term Loan
Agreement or the Second Out Exit Term Loan Agreement and (e) the issuance, renewal, modification or
securing of indebtedness by such means, and the making, delivery or recording of any deed or other
instrument of transfer under, in furtherance of, or in connection with, this Reorganization Plan, including,
without limitation, the Confirmation Order, shall not be subject to any document recording tax, stamp tax,
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30           Main Document
                                                 Pg 36 of 161


conveyance fee or other similar tax, mortgage tax, real estate transfer tax, mortgage recording tax,
Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, sales tax, use tax or
other similar tax or governmental assessment. Consistent with the foregoing, each recorder of deeds or
similar official for any county, city or governmental unit in which any instrument hereunder is to be
recorded shall, pursuant to the Confirmation Order, be ordered and directed to accept such instrument
without requiring the payment of any filing fees, documentary stamp tax, deed stamps, stamp tax, transfer
tax, intangible tax or similar tax.

                   5.13.    Effectuating Documents; Further Transactions.

                On and after the Effective Date, the Reorganized Debtors and the managers, officers and
members of the boards of directors thereof, are authorized to and may issue, execute, deliver, file or
record such contracts, securities, instruments, releases and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement and further evidence the terms and
conditions of the Reorganization Plan and the securities issued pursuant to the Reorganization Plan in the
name of and on behalf of the Reorganized Debtors, without the need for any approvals, authorization, or
consents except for those expressly required pursuant to the Reorganization Plan.

                   5.14.    Closing of the Chapter 11 Cases.

                After an Estate has been fully administered, the Reorganized Debtors shall promptly seek
authority from the Bankruptcy Court to close each applicable Chapter 11 Case in accordance with the
Bankruptcy Code and Bankruptcy Rules.

SECTION 6.         DISTRIBUTIONS.

                   6.1.     Distribution Record Date.

                As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims or Interests as maintained by the Reorganization Plan Debtors or their
respective agents, shall be deemed closed, and there shall be no further changes in the record holders of
any of the Claims or Interests. The Reorganization Plan Debtors or the Reorganized Debtors shall have
no obligation to recognize any transfer of the Claims or Interests occurring on or after the Distribution
Record Date.

                   6.2.     Date of Distributions.

                  Except as otherwise provided herein, the Disbursing Agent shall make the Initial
Distribution to holders of Allowed Claims no later than the Initial Distribution Date and thereafter, the
Disbursing Agent shall from time to time determine, in consultation with the Claims Oversight
Committee, the subsequent Distribution Dates, which shall occur no less frequently than semi-annually.
In the event that any payment or act under the Reorganization Plan is required to be made or performed
on a date that is not a Business Day, then the making of such payment or the performance of such act may
be completed on or as soon as reasonably practicable after the next succeeding Business Day, but shall be
deemed to have been completed as of the required date.

               The Disbursing Agent shall maintain, in consultation with the Claims Oversight
Committee, a reserve of Cash from the GUC Distribution and the RDA GUC Distribution (less the
Claims Oversight Committee Reserve) sufficient to pay holders of Disputed General Unsecured Claims
the amount such holders would be entitled to receive under the Reorganization Plan if such Claims were
to become Allowed General Unsecured Claims. In the event the holders of Allowed General Unsecured
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30           Main Document
                                                 Pg 37 of 161


Claims have not received payment in full on account of their Claims after the resolution of all Disputed
Claims, then the Reorganized Debtors shall make a final distribution of all remaining Cash out of the
GUC Distribution and the RDA GUC Distribution in accordance with Section 4.4 of this Reorganization
Plan to all holders of Allowed General Unsecured Claims.

                   6.3.     Disbursing Agent.

                 All distributions hereunder shall be made by Reorganized RDA Holding (or such other
entity designated by Reorganized RDA Holding), as Disbursing Agent, on or after the Effective Date or
as otherwise provided herein; provided, however, that the Senior Notes Indenture Trustee shall be the
Disbursing Agent for the Senior Noteholder Secured Claims on behalf of Reader’s Digest and the
Administrative Agent shall be the Disbursing Agent for the 2012 Senior Credit Agreement Claims. A
Disbursing Agent shall not be required to give any bond or surety or other security for the performance of
its duties, and all reasonable fees and expenses incurred by such Disbursing Agents shall be reimbursed
by the Reorganized Debtors.

              Except as otherwise herein provided, Reorganized RDA Holding shall serve as
Disbursing Agent and authorized representative for, and with respect to, each of the Reorganization Plan
Debtors.

                   6.4.     Powers of Disbursing Agent.

                 A Disbursing Agent shall be empowered to (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties hereunder, (b) make all
distributions contemplated hereby and (c) exercise such other powers as may be vested in the Disbursing
Agent by order of the Bankruptcy Court, pursuant to the Reorganization Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions hereof.

                   6.5.     Cancellation of Senior Notes.

                  Each record Holder of a Senior Note Claim shall be deemed to have surrendered the
certificates or other documentation underlying each such Claim, and all such surrendered certificates and
other documentations shall be deemed to be canceled except to the extent otherwise provided herein. The
Indenture Trustee may (but shall not be required to) request that registered Holders of the Senior Notes
surrender their notes for cancellation. Such surrendered Senior Note shall be cancelled solely with
respect to the Debtors, and such cancellation shall not alter the obligations or rights of any non-
Reorganization Plan Debtor third parties vis-à-vis one another with respect to such Senior Note

                   6.6.     Delivery of Distributions.

                 Subject to Bankruptcy Rule 9010, all distributions to any holder of an Allowed Claim
shall be made to a Disbursing Agent, who shall transmit such distribution to the applicable holders of
Allowed Claims. In the event that any distribution to any holder is returned as undeliverable, no further
distributions shall be made to such holder unless and until such Disbursing Agent is notified in writing of
such holder’s then-current address, at which time all currently-due, missed distributions shall be made to
such holder as soon as reasonably practicable thereafter. Undeliverable distributions or unclaimed
distributions shall remain in the possession of the Reorganization Plan Debtors until such time as a
distribution becomes deliverable or holder accepts distribution, or such distribution reverts back to the
Reorganization Plan Debtors or Reorganized Debtors, as applicable, and shall not be supplemented with
any interest, dividends or other accruals of any kind. Such distributions shall be deemed unclaimed
property under section 347(b) of the Bankruptcy Code at the expiration of 180 days from the date of
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30             Main Document
                                                 Pg 38 of 161


distribution. After such date, all unclaimed property or interest in property shall revert to the Reorganized
Debtors, and the Claim of any other holder to such property or interest in property shall be discharged and
forever barred. Distributions of holders of General Unsecured Claims that are deemed unclaimed
property pursuant to the preceding sentence shall be redistributed to holders of Allowed General
Unsecured Claims in accordance with Section 4.4 herein.

                   6.7.     Manner of Payment Under Plan.

              At the option of the Reorganization Plan Debtors, any Cash payment to be made
hereunder may be made by a check or wire transfer or as otherwise required or provided in applicable
agreements.

                   6.8.     Fractional Stock.

                  If any distributions of New Common Stock pursuant to the Reorganization Plan would
result in the issuance of a fractional share of New Common Stock, then the number of shares of New
Common Stock to be issued in respect of such distribution will be calculated to one decimal place and
rounded up or down to the closest whole share (with a half share rounded up). The total number of shares
of New Common Stock to be distributed in connection with the Reorganization Plan shall be adjusted as
necessary to account for the rounding provided for in this paragraph.

                   6.9.     Minimum Cash Distributions.

                  The Disbursing Agent shall not be required to make any Initial Distribution or semi-
annual distribution of Cash less than $50 to any holder of an Allowed General Unsecured Claim;
provided, however, that if any distribution is not made pursuant to this Section 6.9, such distribution shall
be added to any subsequent distribution to be made on behalf of the holder’s Allowed Claim. The
Disbursing Agent shall not be required to make any final distributions of Cash less than $25 to any holder
of an Allowed Claim. If either (a) all Allowed General Unsecured Claims (other than those whose
distributions are deemed undeliverable hereunder) have been paid in full or (b) the amount of any final
distributions to holders of Allowed General Unsecured Claims would be $25 or less and the aggregate
amount of cash available for distributions to holders of Allowed General Unsecured Claims is less than
$25,000, then no further distribution shall be made by the Disbursing Agent and any surplus Cash shall be
donated and distributed to an I.R.C. § 501(c)(3) tax-exempt organization selected by the Disbursing
Agent.

                   6.10.    Setoffs.

                 The Reorganization Plan Debtors and the Reorganized Debtors may, but shall not be
required to, set off against any Claim, any claims of any nature whatsoever that the Reorganization Plan
Debtors or the Reorganized Debtors may have against the holder of such Claim; provided, that neither the
failure to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by the
Reorganization Plan Debtors or the Reorganized Debtors of any such claim the Reorganization Plan
Debtors or the Reorganized Debtors may have against the holder of such Claim.

                   6.11.    Distributions After Effective Date.

               Distributions made after the Effective Date to holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be deemed to have
been made on the Effective Date.

US_ACTIVE:\44191040\16\69252.0040
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30              Main Document
                                                 Pg 39 of 161


                   6.12.    Allocation of Distributions Between Principal and Interest.

                 Except as otherwise provided in this Reorganization Plan, to the extent that any Allowed
Claim entitled to a distribution under the Reorganization Plan is comprised of indebtedness and accrued
but unpaid interest thereon, such distribution shall be allocated to the principal amount (as determined for
U.S. federal income tax purposes) of the Claim first, and then to accrued but unpaid interest.

SECTION 7.         PROCEDURES FOR DISPUTED CLAIMS.

                   7.1.     Allowance of Claims.

                After the Effective Date, the Reorganized Debtors shall have and shall retain any and all
rights and defenses that the Reorganization Plan Debtor had with respect to any Claim, except with
respect to any Claim deemed Allowed under this Reorganization Plan. Except as expressly provided in
this Reorganization Plan or in any order entered in the Chapter 11 Cases prior to the Effective Date
(including, without limitation, the Confirmation Order), no Claim shall become an Allowed Claim unless
and until such Claim is deemed Allowed under this Reorganization Plan or the Bankruptcy Code or the
Bankruptcy Court has entered a Final Order, including, without limitation, the Confirmation Order, in the
Chapter 11 Cases allowing such Claim.

                   7.2.     Objections to Claims.

                   As of the Effective Date, objections to, and requests for estimation of, Claims against the
Reorganization Plan Debtors may be interposed and prosecuted only by the Reorganized Debtors subject
to the conditions and rights of the Claims Oversight Committee set forth in Section 7.9 herein. Such
objections and requests for estimation shall be served and filed (a) on or before the 180th day following
the later of (i) the Effective Date and (ii) the date that a proof of Claim is filed or amended or a Claim is
otherwise asserted or amended in writing by or on behalf of a holder of such Claim, or (b) such later date
as ordered by the Bankruptcy Court upon motion filed by the Reorganized Debtors.

                   7.3.     Estimation of Claims.

                 The Reorganization Plan Debtors or Reorganized Debtors, as applicable, may at any time
request that the Bankruptcy Court estimate any contingent, unliquidated, or Disputed Claim pursuant to
section 502(c) of the Bankruptcy Code regardless of whether the Reorganization Plan Debtors or
Reorganized Debtors, as applicable, previously objected to such Claim or whether the Bankruptcy Court
has ruled on any such objection, and the Bankruptcy Court will retain jurisdiction to estimate any Claim
at any time during litigation concerning any objection to any Claim, including, without limitation, during
the pendency of any appeal relating to any such objection. In the event that the Bankruptcy Court
estimates any contingent, unliquidated or Disputed Claim, the amount so estimated shall constitute either
the Allowed amount of such Claim or a maximum limitation on such Claim, as determined by the
Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the amount of such
Claim, the Reorganization Plan Debtors or Reorganized Debtors, as applicable, may pursue
supplementary proceedings to object to the allowance of such Claim. All of the aforementioned
objection, estimation and resolution procedures are intended to be cumulative and not exclusive of one
another. Claims may be estimated and subsequently compromised, settled, withdrawn, or resolved by any
mechanism approved by the Bankruptcy Court.




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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30             Main Document
                                                 Pg 40 of 161


                   7.4.     No Distributions Pending Allowance.

               If an objection to a Claim is filed as set forth in Section 7.2, no payment or distribution
provided under the Reorganization Plan shall be made on account of such Claim unless and until such
Disputed Claim becomes an Allowed Claim.

                   7.5.     Distributions After Allowance.

                 To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions
(if any) shall be made to the holder of such Allowed Claim in accordance with the provisions of the
Reorganization Plan. On the next Distribution Date after the date that any Disputed Claim becomes an
Allowed Claim (whether by Final Order of the Bankruptcy Court or otherwise), the Disbursing Agent
shall provide to the holder of such Claim the distribution (if any) to which such holder is entitled under
the Reorganization Plan as of the Effective Date, without any interest to be paid on account of such Claim
unless required under applicable bankruptcy law.

                   7.6.     Resolution of Claims.

                 Subject to the conditions and rights of the Claims Oversight Committee set forth in
Section 7.9 of the Reorganization Plan, on and after the Effective Date, the Reorganized Debtors shall
have the authority to compromise, settle, otherwise resolve or withdraw any objections to Claims, and to
compromise, settle or otherwise resolve any Disputed Claims without approval of the Bankruptcy Court.

                   7.7.     Disallowed Claims.

                  All claims held by persons or entities against whom or which any of the Reorganization
Plan Debtors or Reorganized Debtors has commenced a proceeding asserting a Cause of Action under
sections 542, 543, 544, 545, 547, 548, 549 and/or 550 of the Bankruptcy Code shall be deemed
“disallowed” claims pursuant to section 502(d) of the Bankruptcy Code and holders of such claims shall
not be entitled to vote to accept or reject the Reorganization Plan. Claims that are deemed disallowed
pursuant to this section shall continue to be disallowed for all purposes until the avoidance action against
such party has been settled or resolved by Final Order and any sums due to the Reorganization Plan
Debtors or the Reorganized Debtors from such party have been paid.


                   7.8.     Debtor Affiliate Claims.

                 Notwithstanding anything to the contrary herein, all Debtor Affiliates shall file proofs of
claim in connection with the Chapter 11 Cases in accordance with the Reorganization Plan and any order
of the Court establishing a deadline for, or other procedure regarding, the filing of claims in the Chapter
11 Cases.

                   7.9.     Claims Oversight Procedures

                 Notwithstanding anything herein to the contrary, the Reorganized Debtors shall consult in
good faith with the Claims Oversight Committee prior to settling, compromising or allowing (a) any
Claim against any of the Reorganization Plan Debtors in a liquidated amount in excess of $500,000
(including any Claim originally scheduled or filed in an unliquidated amount), (b) any Claim filed in the
Chapter 11 Cases against any of the Reorganization Plan Debtors that has a positive variance, if
scheduled, of more than $50,000 to the corresponding Claim as identified on the Reorganization Plan
Debtors’ Schedules, or (c) any Non-Debtor Intercompany Claims to the extent such Non-Debtor

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                                                       31
13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30            Main Document
                                                 Pg 41 of 161


Intercompany Claims are to be treated as Class 4 General Unsecured Claims for distribution purposes
(collectively, “Oversight Claims”).

                 The Reorganized Debtors shall notify the Claims Oversight Committee prior to entering
into any settlement or compromise of any Oversight Claims. The Claims Oversight Committee shall have
a period of three (3) Business Days after receipt of such notice to review the proposed settlement or
compromise and notify the Reorganized Debtors of objections, if any, to the proposed settlement or
compromise of such Oversight Claims. Thereafter, the Claims Oversight Committee shall have ten (10)
Business Days after providing notice to the Reorganized Debtors of any objections to file a motion with
the Bankruptcy Court objecting to the proposed settlement or compromise of the Oversight Claims. In
the event the Claims Oversight Committee fails to timely file an objection with the Bankruptcy Court
within the proscribed ten (10) Business Day period, the Reorganized Debtors shall be authorized to enter
into the settlement or compromise without further order of the Bankruptcy Court.

SECTION 8.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

                   8.1.     General Treatment.

                  All executory contracts and unexpired leases to which any of the Reorganization Plan
Debtors are parties are hereby rejected, except for an executory contract or unexpired lease that (a)
previously has been assumed or rejected pursuant to Final Order of the Bankruptcy Court, (b) is
specifically designated by the Reorganization Plan Debtors (with the reasonable consent of the Required
Consenting Secured Parties) as a contract or lease to be assumed on the Schedule of Assumed Contracts
to be filed with the Plan Supplement, (c) is otherwise expressly assumed pursuant to the Reorganization
Plan, including without limitation, pursuant to Sections 8.4, 8.5, 8.6 and 8.7 of the Reorganization Plan,
or (d) is the subject of a separate (i) assumption motion filed by the Reorganization Plan Debtors (with the
reasonable consent of the Required Consenting Secured Parties) or (ii) rejection motion filed by the
Reorganization Plan Debtors (with the reasonable consent of the Required Consenting Secured Parties)
under section 365 of the Bankruptcy Code before the Confirmation Date.

                   8.2.     Payments Related to Assumption of Contracts and Leases.

                  Any monetary amounts by which any executory contract and unexpired lease to be
assumed hereunder is in default shall be satisfied, under section 365(b)(1) of the Bankruptcy Code, by the
Reorganization Plan Debtors upon assumption thereof. Any objection by a counterparty to a proposed
assumption of an executory contract or unexpired lease or amount of any Cure must be filed, served, and
actually received by the Reorganization Plan Debtors on or before thirty (30) days after the Effective Date
of the Reorganization Plan applicable to the Reorganization Plan Debtor that is the counterparty to the
executory contract or unexpired lease. Any counterparty to an executory contract or unexpired lease that
fails to object timely to the proposed assumption and assignment of such executory contract or unexpired
lease or such Cure amount will be deemed to have assented to such matters and shall be forever barred,
stopped and enjoined from asserting such objection against the Reorganization Plan Debtors. If there is a
dispute regarding (a) the nature or amount of any Cure, (b) the ability of the Reorganization Plan Debtors
or any assignee to provide “adequate assurance of future performance” (within the meaning of section
365 of the Bankruptcy Code) under the contract or lease to be assumed or (c) any other matter pertaining
to assumption, Cure shall occur following the entry of a Final Order of the Bankruptcy Court resolving
the dispute and approving the assumption or assumption and assignment, as the case may be; provided,
that before the Effective Date, the Reorganization Plan Debtors or the Reorganized Debtors, as applicable
(with the reasonable consent of the Required Consenting Secured Parties), may settle any dispute
regarding the nature or amount of Cure without any further notice to any party or any action, order or
approval of the Bankruptcy Court. If there is a dispute as referred to above, the Reorganization Plan
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30            Main Document
                                                 Pg 42 of 161


Debtors reserve the right to reject, or nullify the assumption or assignment of any executory contract or
unexpired lease no later than 30 days after a Final Order determining the Cure, any request for adequate
assurance of future performance required to assume and assign such executory contract or unexpired
lease, and any other matter pertaining to assumption and/or assignment.

                  Assumption and assignment of any executory contract or unexpired lease pursuant to the
Reorganization Plan, or otherwise, shall result in the full release and satisfaction of any Claims or
defaults, subject to satisfaction of the Cure, whether monetary or nonmonetary, including defaults of
provisions restricting the change in control or ownership interest composition or other bankruptcy-related
defaults, arising under any assumed executory contract or unexpired lease at any time before the effective
date of assumption and/or assignment. Any proofs of claim filed with respect to an executory contract or
unexpired lease that has been assumed shall be deemed disallowed and expunged, without further notice
to or action, order or approval of the Bankruptcy Court or any other entity.

                   8.3.     Rejection Claims.

                 Unless a contract or lease is (a) specifically assumed or rejected by order of the
Bankruptcy Court, (b) listed in the Plan Supplement as an executory contract or lease to be assumed as set
forth in Section 8.1, (c) otherwise expressly assumed pursuant to the terms of the Reorganization Plan, or
(d) the subject of a separate assumption or rejection motion filed by the Reorganization Plan Debtors
(with the reasonable consent of the Required Consenting Secured Parties), the Confirmation Order shall
constitute the Bankruptcy Court’s approval of the rejection of all the leases and contracts, in accordance
with Section 8.1 of the Reorganization Plan, effective as of the Effective Date. In the event that the
rejection of an executory contract or unexpired lease by any of the Reorganization Plan Debtors pursuant
to the Reorganization Plan results in damages to the other party or parties to such contract or lease, a
Claim for such damages, if not heretofore evidenced by a timely filed proof of claim, shall be forever
barred and shall not be enforceable against the Reorganization Plan Debtors or the Reorganized Debtors,
or their respective properties or interests in property as agents, successors or assigns, unless a proof of
claim is filed with the Bankruptcy Court and served upon counsel for the Reorganization Plan Debtors
and the Reorganized Debtors no later than thirty (30) days after the later of (1) the Confirmation Date or
(2) the effective date of rejection of such executory contract or unexpired lease. Any such Claims, to the
extent Allowed, shall be classified as Class 4 General Unsecured Claims.

                   8.4.     Survival of the Reorganization Plan Debtors’ Indemnification Obligations.

                  Any obligations of the Reorganization Plan Debtors pursuant to their corporate charters,
bylaws, limited liability company agreements, other organizational documents, employment agreements
or other agreements to indemnify current and former officers, directors, agents, and/or employees with
respect to all present and future actions, suits, and proceedings against the Reorganization Plan Debtors or
such directors, officers, agents, and/or employees, based upon any act or omission for or on behalf of the
Reorganization Plan Debtors shall not be discharged or impaired by confirmation of the Reorganization
Plan provided that the Reorganized Debtors shall not indemnify directors of the Reorganization Plan
Debtors for any Claims or Causes of Action arising out of or relating to any act or omission that is a
criminal act or constitutes intentional fraud.

                All such obligations shall be deemed and treated as executory contracts to be assumed by
the Reorganization Plan Debtors under the Reorganization Plan and shall continue as obligations of the
Reorganized Debtors unless any such obligation otherwise is specifically rejected pursuant to a separate
order of the Bankruptcy Court or is the subject of a separate rejection motion filed by the Reorganization
Plan Debtors (with the reasonable consent of the Required Consenting Secured Parties) in accordance
with Section 8.1 herein.
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30              Main Document
                                                 Pg 43 of 161


                For the avoidance of doubt, (i) any and all indemnities provided under the 2012 Senior
Credit Agreement (including the indemnities provided in section 4.05 thereunder) shall survive as
obligations under the DIP Loan Agreement, and (ii) any and all indemnities (and other obligations
surviving per their express terms thereunder ) provided under the DIP Facility shall survive as obligations
under the First Out Exit Term Loan or Second Out Exit Term Loan Agreement, as applicable,
notwithstanding in each case the cancellation of the predecessor credit agreement(s).

                   8.5.     Compensation and Benefit Plans.

                  Except as otherwise herein provided, all material employee compensation and Benefit
Plans of the Reorganization Plan Debtors in effect as of the Effective Date shall be deemed to be, and
shall be treated as if they were, executory contracts that are to be assumed under the Reorganization Plan.

                  Pursuant to the Reorganization Plan, Reorganized Reader’s Digest shall assume the
Pension Plan on the Effective Date. The Pension Plan shall be continued in accordance with, and subject
to, its terms, and Reorganized Reader’s Digest shall satisfy the minimum funding standards pursuant to
26 U.S.C. §§ 412 and 430 and 29 U.S.C. §§ 1082 and 1083, be liable for the payment of PBGC premiums
in accordance with Title IV of ERISA, subject to any and all applicable rights and defenses of the
Reorganized Debtors, and administer the Pension Plan in accordance with the provisions of ERISA and
the Internal Revenue Code. Notwithstanding any provision of the Reorganization Plan or the
Confirmation Order to the contrary, the Pension Plan shall be continued and administered in accordance
with, and subject to, its terms and ERISA and the Internal Revenue Code. All claims related to the
Pension Plan and all proofs of claim filed on account thereof shall be deemed withdrawn as of the
Effective Date without any further action.

                   8.6.     Insurance Policies.

                  All insurance policies pursuant to which the Reorganization Plan Debtors have any
obligations in effect as of the date of the Confirmation Order shall be deemed and treated as executory
contracts pursuant to the Reorganization Plan and shall be assumed by the respective Reorganization Plan
Debtors and Reorganized Debtors and shall continue in full force and effect. All other insurance policies
shall revest in the Reorganized Debtors.

                   8.7.     Intellectual Property Licenses and Agreements.

                 All intellectual property contracts, licenses, royalties, or other similar agreements to
which the Reorganization Plan Debtors have any rights or obligations in effect as of the date of the
Confirmation Order shall be deemed and treated as executory contracts pursuant to the Reorganization
Plan and shall be assumed by the respective Reorganization Plan Debtors and Reorganized Debtors and
shall continue in full force and effect unless any such intellectual property contract, license, royalty, or
other similar agreement otherwise is specifically rejected pursuant to a separate order of the Bankruptcy
Court or is the subject of a separate rejection motion filed by the Reorganization Plan Debtors (with the
reasonable consent of the Required Consenting Secured Parties) in accordance with Section 8.1 herein.
Unless otherwise noted hereunder, all other intellectual property contracts, licenses, royalties, or other
similar agreements shall revest in the Reorganized Debtors and the Reorganized Debtors may take all
actions as may be necessary or appropriate to ensure such revesting as contemplated herein.

                   8.8.     Reservation of Rights.

               Neither the exclusion nor inclusion of any contract or lease by the Reorganization Plan
Debtors on any exhibit, schedule or other annex to the Reorganization Plan or in the Plan Supplement, nor
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30             Main Document
                                                 Pg 44 of 161


anything contained in the Reorganization Plan, will constitute an admission by the Reorganization Plan
Debtors that any such contract or lease is or is not in fact an Executory Contract or Unexpired Lease or
that the Reorganization Plan Debtors or the Reorganized Debtors or their respective affiliates has any
liability thereunder.

                Nothing in the Reorganization Plan will waive, excuse, limit, diminish, or otherwise alter
any of the defenses, Claims, Causes of Action, or other rights of the Reorganization Plan Debtors and the
Reorganized Debtors under any executory or non executory contract or any unexpired or expired lease.

                 Nothing in the Reorganization Plan will increase, augment, or add to any of the duties,
obligations, responsibilities, or liabilities of the Reorganization Plan Debtors or the Reorganized Debtors
under any executory or non executory contract or any unexpired or expired lease.

                   If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Reorganization Plan Debtors or Reorganized
Debtors, as applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute
to alter their treatment of such contract or lease.

SECTION 9.         CONDITIONS PRECEDENT TO THE EFFECTIVE DATE.

                   9.1.     Conditions Precedent to Confirmation.

                   The occurrence of Confirmation is subject to the following conditions precedent:

                             (a)     the entry of the Disclosure Statement Order;

                        (b)    the Plan Supplement and all of the schedules, documents, and exhibits
contained therein shall have been filed in form and substance satisfactory to the Required Consenting
Secured Parties;

                             (c)     the Bankruptcy Court shall have entered the Confirmation Order;

                             (d)     the occurrence of the Confirmation Date;

                         (e)     an order shall have been entered (which may be the Confirmation Order)
finding that all Claims against the Reorganization Plan Debtors have been forever discharged, including
without limitation, any FTC Claims;

                         (f)     the Restructuring Support Agreement shall not have been terminated, and
shall be in full force and effect and no defaults or event of default thereunder shall have occurred and
remain continuing (to the extent not otherwise cured or waived in accordance with the terms of the
Restructuring Support Agreement); and

                         (g)     the DIP Loan Agreement shall not have been terminated, shall be in full
force and effect and no default or event of default thereunder shall have occurred and remain occurring
(to the extent not otherwise cured or waived in accordance with the terms of the DIP Loan Agreement);.

                   9.2.     Conditions Precedent to the Effective Date.

                The occurrence of the Effective Date of the Reorganization Plan is subject to the
following conditions precedent:

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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30              Main Document
                                                 Pg 45 of 161


                          (a)     the Definitive Documents shall contain terms and conditions consistent
in all material respects with this Reorganization Plan and the Restructuring Support Agreement and shall
otherwise be reasonably satisfactory in all respects to the Reorganization Plan Debtors and the Required
Consenting Secured Parties;

                       (b)      all actions, documents and agreements necessary to implement and
consummate the Reorganization Plan, including, without limitation, entry into the documents contained in
the Plan Supplement, including the Definitive Documents with respect to the First Out Exit Term Loan
Agreement, the First Out Letter of Credit Facility, the Second Out Exit Term Loan Agreement, and the
Amended Organizational Documents, each in form and substance reasonably satisfactory to the
Reorganization Plan Debtors and the Required Consenting Secured Parties, and the transactions and other
matters contemplated thereby, shall have been effected or executed;

                        (c)    the Bankruptcy Court shall have entered the Confirmation Order, the
Confirmation Date shall have occurred and the Confirmation Order shall have become a Final Order;

                          (d)      the Restructuring Support Agreement shall not have been terminated, and
shall be in full force and effect;

                        (e)     no material adverse change shall have occurred regarding the feasibility
of the Reorganization Plan or the consummation of the Restructuring including with respect to contingent
and unliquidated claims;

                        (f)     all governmental and third party approvals and consents, including
Bankruptcy Court approval, necessary in connection with the transactions contemplated by the
Reorganization Plan shall have been obtained, not be subject to unfulfilled conditions and be in full force
and effect, and all applicable waiting periods shall have expired without any action being taken or
threatened by any competent authority that would restrain, prevent or otherwise impose materially
adverse conditions on such transactions;

                         (g)     unless on or prior to the Effective Date, (i) the Roll-Up Loans, the New
Money Loans and the obligations under the DIP Facility shall have been paid in full in Cash and the
letters of credit under the DIP Loan Agreement shall have been terminated, or (ii) the conditions
precedent to the effectiveness of the First Out Exit Facilities, as set forth in the First Out Exit Term Sheet,
shall have been satisfied or waived by the Consenting Lender and the conditions precedent to the
effectiveness of the Second Out Term Loan Agreement shall have been satisfied or waived by the New
Money Lenders;

                      (h)     All the conditions precedent to the effectiveness of the Second Out Exit
Loan Agreement shall have been satisfied or waived by the requisite New Money Lenders;

                        (i)      the Non-Dischargeability Deadline shall have expired and (i) no non-
dischargeability complaint shall have been filed or remain pending, and (ii) no Claim in excess of $50,000
shall have been determined by the Bankruptcy Court to be non-dischargeable under the Bankruptcy Code;
and

                         (j)     the DIP Loan Agreement shall not have been terminated, shall be in full
force and effect and no default or event of default thereunder shall have occurred.




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                                                      36
13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30            Main Document
                                                 Pg 46 of 161


                   9.3.     Waiver of Conditions Precedent.

               Each of the conditions precedent in Sections 9.1 and 9.2 may be waived in writing by the
Reorganization Plan Debtors together with the prior written consent of the Required Consenting Secured
Parties.

                   9.4.     Effect of Failure of Conditions to Effective Date.

                  Unless otherwise extended by the Reorganization Plan Debtors with the consent of the
Required Consenting Secured Parties, if the Effective Date does not occur on or before July 31, 2013 or if
the Confirmation Order is vacated, (i) no distributions under the Reorganization Plan shall be made, (ii)
the Reorganization Plan Debtors and all holders of Claims and Interests shall be restored to the status quo
ante as of the day immediately preceding the Confirmation Date as though the Confirmation Date never
occurred, and (iii) all the Reorganization Plan Debtors’ obligations with respect to the Claims and the
Interests shall remain unchanged and nothing contained herein shall be deemed to constitute a waiver or
release of any claims by or against the Reorganization Plan Debtors or any other entity or to prejudice in
any manner the rights of the Debtors or any other entity in any further proceedings involving the
Reorganization Plan Reorganization Plan Debtors or otherwise.

SECTION 10. EFFECT OF CONFIRMATION.

                   10.1.    Subordinated Claims.

                 The allowance, classification, and treatment of all Allowed Claims and Interests and the
respective distributions and treatments under the Reorganization Plan take into account and conform to
the relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal and equitable subordination rights relating thereto (including all rights under the
Security Agreement), whether arising under general principles of equitable subordination,
section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code,
the Reorganization Plan Debtors reserve the right to re-classify any Allowed Claim or Interest in
accordance with any contractual, legal or equitable subordination relating thereto.

                   10.2.    Vesting of Assets.

                 On the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all
property of the Reorganization Plan Debtors’ estates, including without limitation, the intellectual
property licenses and other agreements set forth above in Section 8.7, shall vest in the Reorganized
Debtors free and clear of all Claims, liens, encumbrances, charges and other interests, except as provided
pursuant to this Reorganization Plan, the Confirmation Order, the First Out Exit Term Loan Agreement,
or the Second Out Exit Term Loan Agreement. The Reorganized Debtors may operate their businesses
and may use, acquire, and dispose of property free of any restrictions of the Bankruptcy Code or the
Bankruptcy Rules and in all respects as if there were no pending cases under any chapter or provision of
the Bankruptcy Code, except as provided herein.

                   10.3.    Discharge of Claims and Termination of Interests.

                 Except as otherwise provided in the Reorganization Plan, effective as of the Effective
Date: (a) the rights afforded in the Reorganization Plan and the treatment of all claims and interests shall
be in exchange for and in complete satisfaction, discharge, and release of all claims and interests of any
nature whatsoever (including any FTC Claims), including any interest accrued on such claims from and
after the Commencement Date, against the Reorganization Plan Debtors or any of their assets, property or
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                                                       37
13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30             Main Document
                                                 Pg 47 of 161


estates; (b) the Reorganization Plan shall bind all holders of claims and interests, notwithstanding whether
any such holders failed to vote to accept or reject the Reorganization Plan or voted to reject the
Reorganization Plan; (c) all claims and interests shall be satisfied, discharged, and released in full,
including without limitation, any FTC Claims, and the Reorganization Plan Debtors’ liability with respect
thereto shall be extinguished completely, including any liability of the kind specified under section 502(g)
of the Bankruptcy Code; and (d) all entities shall be precluded from asserting against the Reorganization
Plan Debtors, the Reorganization Plan Debtors’ estates, the Reorganized Debtors, their successors and
assigns and their assets and properties any other claims or interests based upon any documents,
instruments or any act or omission, transaction or other activity of any kind or nature that occurred before
the Effective Date.

                   10.4.    Term of Injunctions or Stays.

                 Unless otherwise provided, all injunctions or stays arising under or entered during the
Chapter 11 Cases under section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the
Confirmation Date, shall remain in full force and effect until the later of the Effective Date and the date
indicated in the order providing for such injunction or stay.

                   10.5.    Injunction Against Interference with Plan.

                 From and after the Effective Date, all entities are permanently enjoined from
commencing or continuing in any manner, any suit, action or other proceeding, on account of or
respecting any claim, demand, liability, obligation, debt, right, cause of action, interest or remedy released
or to be released pursuant to the Reorganization Plan or the Confirmation Order.

                   10.6.    Releases by the Reorganization Plan Debtors.

                As of the Effective Date, except for the right to enforce the Reorganization Plan and
the Definitive Documents that remain in effect after the Effective Date, for good and valuable
consideration, including the service of the Released Parties to facilitate the reorganization of the
Reorganization Plan Debtors and the implementation of the restructuring contemplated by the
Reorganization Plan, on and after the Effective Date, the Released Parties are deemed released and
discharged by the Reorganization Plan Debtors, the Reorganized Debtors, and the Estates from any
and all Claims, obligations, rights, suits, damages, Causes of Action, remedies, and liabilities
whatsoever, including any derivative claims, asserted or assertable on behalf of the Reorganization
Plan Debtors, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
in law, equity or otherwise, that the Reorganization Plan Debtors, the Reorganized Debtors, the
Estates or their affiliates would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the holder of any Claim or Interest or other entity,
based on or relating to, or in any manner arising from, in whole or in part, the Reorganization Plan
Debtors, the Chapter 11 Cases, the purchase, sale or rescission of the purchase or sale of any
security of the Reorganization Plan Debtors or the Reorganized Debtors, the subject matter of, or
the transactions or events giving rise to, any Claim or Interest that is treated in the Reorganization
Plan, the business or contractual arrangements between any Reorganization Plan Debtor and any
Released Party, the restructuring of Claims and Interests before or during the Chapter 11 Cases,
the negotiation, formulation or preparation of the Reorganization Plan, or related agreements,
instruments or other documents, the solicitation of votes with respect to the Reorganization Plan,
upon any other act or omission, transaction, agreement, event or other occurrence taking place on
or before the Effective Date, other than Claims or Causes of Action arising out of or relating to any
act or omission of a Released Party that is a criminal act or constitutes intentional fraud; provided,

US_ACTIVE:\44191040\16\69252.0040
                                                      38
13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30            Main Document
                                                 Pg 48 of 161


however, that nothing in the Reorganization Plan shall limit the liability of professionals to their
clients pursuant to N.Y. Comp. Codes R. & Regs. tit. 22 § 1200.8 Rule 1.8(h)(1) (2009).

                   10.7.    Releases By Holders of Claims and Interests.

                 As of the Effective Date, except for the right to enforce the Reorganization Plan and
the Definitive Documents that remain in effect after the Effective Date and the indemnification
obligations that survive the Effective Date, each holder of a Claim or an Interest shall be deemed to
have conclusively, absolutely, unconditionally, irrevocably and forever, released and discharged the
Reorganization Plan Debtors, the Reorganized Debtors and the Released Parties from any and all
Claims, Interests, obligations, rights, suits, damages, Causes of Action, remedies and liabilities
whatsoever, including any derivative Claims asserted on behalf of a Reorganization Plan Debtor,
whether known or unknown, foreseen or unforeseen, existing or hereafter arising, in law, equity or
otherwise, that such entity would have been legally entitled to assert (whether individually or
collectively), based on or relating to, or in any manner arising from, in whole or in part, the
Reorganization Plan Debtors, the Reorganization Plan Debtors’ restructuring, the Chapter 11
Cases, the purchase, sale or rescission of the purchase or sale of any security of the Reorganization
Plan Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events giving
rise to, any Claim or Interest that is treated in the Reorganization Plan, the business or contractual
arrangements between any Reorganization Plan Debtor and any Released Party, the restructuring
of Claims and Interests before or during the Chapter 11 Cases, the negotiation, formulation or
preparation of the Reorganization Plan, or related agreements, instruments or other documents,
the solicitation of votes with respect to the Reorganization Plan, upon any other act or omission,
transaction, agreement, event or other occurrence taking place on or before the Effective Date,
other than Claims or Causes of Action arising out of or relating to any act or omission of a Released
Party that is a criminal act or constitutes intentional fraud; provided, however, that nothing herein
shall be deemed to constitute a release or waiver by the Consenting Lender, the Administrative
Agent or the Consenting Secured Noteholders of any rights arising from or in connection with
section 5.5 of the Security Agreement; provided further, however, that nothing in the Reorganization
Plan shall limit the liability of professionals to their clients pursuant to N.Y. Comp. Codes R. &
Regs. tit. 22 § 1200.8 Rule 1.8(h)(1) (2009). No Person shall be discharged, released or relieved
from any liability arising under ERISA or the Internal Revenue Code solely with respect to the
Pension Plan as a result of the Chapter 11 Cases or the Reorganization Plan, nor shall the PBGC,
the Pension Plan or any other Person be enjoined or precluded from enforcing any liability arising
under ERISA or the Internal Revenue Code solely with respect to the Pension Plan as a result of
the Chapter 11 Cases, the Reorganization Plan's provisions or the Reorganization Plan's
Confirmation.

                   10.8.    Exculpation.

                No Exculpated Party shall have or incur, and each Exculpated Party is hereby released
and exculpated from any claim, obligation, cause of action or liability for any claim in connection with or
arising out of, the administration of the Chapter 11 Cases, the negotiation and pursuit of the
Reorganization Plan, or the solicitation of votes for, or confirmation of, the Reorganization Plan, the
funding of the Reorganization Plan, the consummation of the Reorganization Plan, or the administration
of the Reorganization Plan or the property to be distributed under the Reorganization Plan, or any other
transaction contemplated by the foregoing, except for willful misconduct or gross negligence, but in all
respects such entities shall be entitled to reasonably rely upon the advice of counsel with respect to their
duties and responsibilities pursuant to the Reorganization Plan. The Reorganization Plan Debtors, the
Reorganized Debtors, the Creditors Committee, the DIP Lenders, the DIP Agent, the Administrative
Agent, the Senior Credit Agreement Lenders, the Consenting Lender, the Consenting Secured
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30             Main Document
                                                 Pg 49 of 161


Noteholders, the Indenture Trustee, the Unsecured Administrative Agent, the 2011 Secured
Administrative Agent, the Unsecured Lenders, and the 2011 Secured Lenders (and each of their
respective affiliates, agents, directors, officers, employees, advisors and attorneys) have participated in
compliance with the applicable provisions of the Bankruptcy Code with regard to the solicitation and
distribution of the securities pursuant to the Reorganization Plan, and, therefore, are not, and on account
of such distributions shall not be, liable at any time for the violation of any applicable law, rule or
regulation governing the solicitation of acceptances or rejections of the Reorganization Plan or such
distributions made pursuant to the Reorganization Plan, including the issuance of securities thereunder;
provided, however, that nothing herein shall be deemed to constitute a release or waiver by the
Consenting Lender, the Administrative Agent or the Consenting Secured Noteholders of any rights
arising from or in connection with section 5.5 of the Security Agreement; provided, however, that nothing
in the Reorganization Plan shall limit the liability of professionals to their clients pursuant to N.Y. Comp.
Codes R. & Regs. tit. 22 § 1200.8 Rule 1.8(h)(1) (2009). No Person shall be discharged, released or
relieved from any liability arising under ERISA or the Internal Revenue Code solely with respect to the
Pension Plan as a result of the Chapter 11 Cases or the Reorganization Plan, nor shall the PBGC, the
Pension Plan or any other Person be enjoined or precluded from enforcing any liability arising under
ERISA or the Internal Revenue Code solely with respect to the Pension Plan as a result of the Chapter 11
Cases, the Reorganization Plan's provisions or the Reorganization Plan's Confirmation.

                   10.9.    Retention of Causes of Action/Reservation of Rights.

                          (a)    Except as otherwise provided herein, including Sections 10.6, 10.7, 10.8
and 10.9, pursuant to section 1123(b) of the Bankruptcy Code, the Reorganized Debtors shall retain and
may enforce, sue on, settle or compromise (or decline to do any of the foregoing) all claims, rights, causes
of action, suits and proceedings, whether in law or in equity, whether known or unknown, that the
Reorganization Plan Debtors or their estates may hold against any person or entity without the approval of
the Bankruptcy Court, including, without limitation, (i) any and all Claims against any person or entity, to
the extent such person or entity asserts a crossclaim, counterclaim and/or Claim for setoff which seeks
affirmative relief against the Reorganization Plan Debtors, the Reorganized Debtors, their officers,
directors or representatives; and (ii) the turnover of any property of the Reorganization Plan Debtors’
estates; provided, however that the Reorganized Debtors shall not retain (1) any Claims or Causes of
Action against the Released Parties (other than Claims or Causes of Action arising out of or relating to
any act or omission of a Released Party that is a criminal act or constitutes intentional fraud, which
Claims or Causes of Action are hereby preserved); or (2) any Claims or Causes of Action arising under
chapter 5 of the Bankruptcy Code against holders of Allowed General Unsecured Claims (except that
such Claims or Causes of Action may be asserted as a defense to a Claim in connection with the claims
reconciliation and objection procedures). The Reorganized Debtors or their successor(s) may pursue such
retained claims, rights, or causes of action, suits or proceedings, as appropriate, in accordance with the
best interests of the Reorganized Debtors or their successor(s) who hold such rights.

                         (b)     Except as otherwise provided herein, including Sections 10.6, 10.7, 10.8
and 10.9, nothing contained herein or in the Confirmation Order shall be deemed to be a waiver or
relinquishment of any Claim, Cause of Action, right of setoff or other legal or equitable defense which the
Reorganization Plan Debtors had immediately before the Commencement Date, against or with respect to
any Claim left Unimpaired by the Reorganization Plan; provided, however that the Reorganized Debtors
shall not retain any (1) Claims or Causes of Action against the Released Parties (other than Claims or
Causes of Action arising out of or relating to any act or omission of a Released Party that is a criminal act
or constitutes intentional fraud, which Claims or Causes of Action are hereby preserved); or (2) any
Claims or Causes of Action arising under chapter 5 of the Bankruptcy Code against holders of Allowed
General Unsecured Claims (except that such Claims or Causes of Action may be asserted as a defense to a
Claim in connection with the claims reconciliation and objection procedures). The Reorganized Debtors
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30                Main Document
                                                 Pg 50 of 161


shall have, retain, reserve and be entitled to assert all such claims, Causes of Action, rights of setoff and
other legal or equitable defenses which they had immediately before the Commencement Date with
respect to any Claim left Unimpaired by the Reorganization Plan as if the Chapter 11 Cases had not been
commenced, and all of the Reorganized Debtors’ legal and equitable rights respecting any Claim left
Unimpaired by the Reorganization Plan may be asserted after the Confirmation Date to the same extent as
if the Chapter 11 Cases had not been commenced.

                   10.10. Solicitation of the Reorganization Plan.

                 As of and subject to the occurrence of the Confirmation Date: (a) the Reorganization
Plan Debtors shall be deemed to have solicited acceptances of the Reorganization Plan in good faith and
in compliance with the applicable provisions of the Bankruptcy Code, including without limitation,
sections 1125(a) and (e) of the Bankruptcy Code, and any applicable non-bankruptcy law, rule or
regulation governing the adequacy of disclosure in connection with such solicitation and (b) the
Reorganization Plan Debtors and each of their respective directors, officers, employees, affiliates, agents,
financial advisors, investment bankers, professionals, accountants, and attorneys shall be deemed to have
participated in good faith and in compliance with the applicable provisions of the Bankruptcy Code in the
offer and issuance of any securities under the Reorganization Plan, and therefore are not, and on account
of such offer, issuance and solicitation will not be, liable at any time for any violation of any applicable
law, rule or regulation governing the solicitation of acceptances or rejections of the Reorganization Plan
or the offer and issuance of any securities under the Reorganization Plan.

                   10.11. Section 1145 Exemption.

                  The issuance of and the distribution under the Reorganization Plan of the New Common
Stock to the holders of Senior Noteholder Secured Claims under Section 4.3 of this Reorganization Plan
shall be exempt from registration under the Securities Act of 1933 or applicable securities laws without
further act or action by any Person pursuant to section 1145(a) of the Bankruptcy Code.

                 In addition, under section 1145 of the Bankruptcy Code, any securities issued under the
Reorganization Plan which are exempt from such registration pursuant to section 1145(a) of the
Bankruptcy Code will be freely tradable by the recipients thereof, subject to (1) the provisions of section
1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section 2(a)(11) of the
Securities Act of 1933; (2) compliance with any rules and regulations of the Securities and Commission,
if any, applicable at the time of any future transfer of such securities or instruments; (3) the restrictions, if
any, on the transferability of such securities and instruments; and (4) applicable regulatory approval.

                   10.12. Plan Supplement.

                The Plan Supplement shall be filed with the Clerk of the Bankruptcy Court by no later
than the Plan Supplement Filing Date. Upon its filing with the Bankruptcy Court, the Plan Supplement
may be inspected in the office of the Clerk of the Bankruptcy Court during normal court hours.
Documents to be included in the Plan Supplement will be posted at the website of the Reorganization
Plan Debtors’ notice, claims, and solicitation agent as they become available.

                   10.13. Corporate and Limited Liability Company Action.

              Upon the Effective Date, all actions contemplated by the Reorganization Plan shall be
deemed authorized and approved in all respects, including (a) the assumption of all employee
compensation and Benefit Plans of the Reorganization Plan Debtors as provided herein, (b) the selection
of the managers, directors, and officers for the Reorganized Debtors, (c) the distribution of the New
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30           Main Document
                                                 Pg 51 of 161


Common Stock, (d) the entry into the First Out Exit Facilities and the Second Out Exit Term Loan
Agreement, (e) the approval of the Restructuring Support Agreement, and (f) all other actions
contemplated by the Reorganization Plan (whether to occur before, on or after the Effective Date), in each
case in accordance with and subject to the terms hereof. All matters provided for in the Reorganization
Plan involving the corporate or limited liability company structure of the Reorganization Plan Debtors or
the Reorganized Debtors, and any corporate or limited liability company action required by the
Reorganization Plan Debtors or the Reorganized Debtors in connection with the Reorganization Plan shall
be deemed to have occurred and shall be in effect, without any requirement of further action by the
security holders, directors, managers or officers of the Reorganization Plan Debtors or the Reorganized
Debtors. On or (as applicable) before the Effective Date, the appropriate officers of the Reorganization
Plan Debtors or the Reorganized Debtors, as applicable, shall be authorized and directed to issue, execute,
and deliver the agreements, documents, securities, and instruments contemplated by the Reorganization
Plan (or necessary or desirable to effect the transactions contemplated by the Reorganization Plan) in the
name of and on behalf of the Reorganized Debtors, including (w) the Amended Organizational
Documents, (x) the First Out Exit Facilities, (y) the Second Out Exit Term Loan Agreement, and (z) any
and all other agreements, documents, securities and instruments relating to the foregoing. The
authorizations and approvals contemplated by this Section 10.13 shall be effective notwithstanding any
requirements under non-bankruptcy law.

SECTION 11. RETENTION OF JURISDICTION.

                On and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over all
matters arising in, arising under, and related to the Chapter 11 Cases for, among other things, the
following purposes:

                       (a)    to hear and determine motions and/or applications for the assumption or
rejection of executory contracts or unexpired leases and the allowance, classification, priority,
compromise, estimation or payment of Claims resulting therefrom;

                         (b)      to determine any motion, adversary proceeding, application, contested
matter and other litigated matter pending on or commenced after the Confirmation Date;

                       (c)     to ensure that distributions to holders of Allowed Claims are
accomplished as provided herein;

                       (d)     to consider Claims or the allowance, classification, priority, compromise,
estimation or payment of any Claim;

                       (e)      to enter, implement or enforce such orders as may be appropriate in the
event the Confirmation Order is for any reason stayed, reversed, revoked, modified or vacated;

                         (f)    to issue injunctions, enter and implement other orders, and take such
other actions as may be necessary or appropriate to restrain interference by any person with the
consummation, implementation or enforcement of the Reorganization Plan, the Confirmation Order, or
any other order of the Bankruptcy Court;

                        (g)    to hear and determine any application to modify the Reorganization Plan
in accordance with section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile
any inconsistency in the Reorganization Plan, or any order of the Bankruptcy Court, including the
Confirmation Order, in such a manner as may be necessary to carry out the purposes and effects thereof;


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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30                 Main Document
                                                 Pg 52 of 161


                        (h)     to hear and determine all applications under sections 330, 331 and 503(b)
of the Bankruptcy Code for awards of compensation for services rendered and reimbursement of expenses
incurred before the Confirmation Date;

                        (i)     to hear and determine disputes arising in connection with the
interpretation, implementation or enforcement of the Reorganization Plan, the Plan Supplement, or the
Confirmation Order or any agreement, instrument or other document governing or relating to any of the
foregoing;

                         (j)     to take any action and issue such orders as may be necessary to construe,
interpret, enforce, implement, execute and consummate the Reorganization Plan or to maintain the
integrity of the Reorganization Plan following consummation;

                         (k)     to hear any disputes arising out of, and to enforce, the order approving
alternative dispute resolution procedures to resolve personal injury, employment litigation and similar
claims pursuant to section 105(a) of the Bankruptcy Code;

                       (l)     to determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

                       (m)      to hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code (including any requests for
expedited determinations under section 505(b) of the Bankruptcy Code);

                             (n)     to adjudicate, decide, or resolve any Causes of Actions;

                        (o)    to adjudicate, decide or resolve any and all matters related to
section 1141 of the Bankruptcy Code;

                         (p)    to resolve any cases, controversies, suits, disputes or Causes of Action
with respect to the repayment or return of distributions and the recovery of additional amounts owed by
the holder of a Claim for amounts not timely repaid;

                       (q)     to adjudicate any and all disputes arising from or relating to distributions
under the Reorganization Plan;

                        (r)     to hear and determine any other matters related hereto and not
inconsistent with the Bankruptcy Code and title 28 of the United States Code;

                             (s)     to enter a final decree closing the Chapter 11 Cases;

                        (t)    to recover all assets of the Reorganization Plan Debtors and property of
the Reorganization Plan Debtors’ estates, wherever located; and

                         (u)    to hear and determine any rights, Claims or causes of action held by or
accruing to the Reorganization Plan Debtors pursuant to the Bankruptcy Code or pursuant to any federal
statute or legal theory.

                 For the avoidance of doubt, the Bankruptcy Court shall not retain jurisdiction over any
matters arising in connection with the Exit Financing or any transactions related thereto.


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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30             Main Document
                                                 Pg 53 of 161


SECTION 12. MISCELLANEOUS PROVISIONS.

                   12.1.    Payment of Statutory Fees.

                  On the Effective Date and thereafter as may be required, the Reorganized Plan Debtors
shall pay all fees incurred pursuant to § 1930 of title 28 of the United States Code, together with interest,
if any, pursuant to § 3717 of title 31 of the United States Code for each Reorganization Plan Debtor’s
case, or until such time as a final decree is entered closing a particular Reorganization Plan Debtor’s case,
a Final Order converting such Reorganization Plan Debtor’s case to a case under chapter 7 of the
Bankruptcy Code is entered or a Final Order dismissing such Reorganization Plan Debtor’s case is
entered.

                   12.2.    Substantial Consummation.

             On the Effective Date, the Reorganization Plan shall be deemed to be substantially
consummated under sections 1101 and 1127(b) of the Bankruptcy Code.

                   12.3.    Dissolution of Creditors Committee.

                  On the Effective Date, the Creditors Committee shall dissolve, and the members thereof
shall be released and discharged from all rights and duties arising from, or related to, the Chapter 11
Cases; provided, however, the Creditors Committee shall exist, and its professionals shall be retained,
after the Effective Date with respect to (a) all applications filed pursuant to sections 330 and 331 of the
Bankruptcy Code and any related hearings; and (b) pending appeals of the Confirmation Order.


                   12.4.    Request for Expedited Determination of Taxes.

                The Reorganized Debtors shall have the right to request an expedited determination under
section 505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all
taxable periods ending after the Commencement Date through the Effective Date.

                   12.5.    Amendments.

                          (a)     Plan Modifications. The Reorganization Plan may be amended,
modified or supplemented by the Reorganization Plan Debtors in the manner provided for by section
1127 of the Bankruptcy Code or as otherwise permitted by law without additional disclosure pursuant to
section 1125 of the Bankruptcy Code; provided, that such amendments, modifications, or supplements
shall be satisfactory in all respects to the Reorganization Plan Debtors, the Creditors Committee and the
Required Consenting Secured Parties. In addition, after the Confirmation Date, the Reorganization Plan
Debtors may institute proceedings in the Bankruptcy Court to remedy any defect or omission or reconcile
any inconsistencies in the Reorganization Plan or the Confirmation Order, with respect to such matters as
may be necessary to carry out the purposes and effects of the Reorganization Plan.

                      (b)       Other Amendments. Before the Effective Date, the Reorganization Plan
Debtors may make appropriate technical adjustments and modifications to the Reorganization Plan and
the documents contained in the Plan Supplement without further order or approval of the Bankruptcy
Court; provided, however, that such technical adjustments and modifications shall be satisfactory to the
Required Consenting Secured Parties.



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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30             Main Document
                                                 Pg 54 of 161


                   12.6.    Effectuating Documents and Further Transactions.

                 Each of the officers of the Reorganized Debtors is authorized, in accordance with his or
her authority under the resolutions of the applicable board of directors or managers, to execute, deliver,
file or record such contracts, instruments, releases, indentures and other agreements or documents and
take such actions as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Reorganization Plan.

                   12.7.    Revocation or Withdrawal of the Reorganization Plan.

                 The Reorganization Plan Debtors may not revoke or withdraw the Reorganization Plan
before the Effective Date without the consent of the Required Consenting Secured Parties; provided,
however, that the Reorganization Plan Debtors may revoke or withdraw the Reorganization Plan only if it
is in the exercise of the Reorganization Plan Debtors’ fiduciary duty or as otherwise permitted under the
Restructuring Support Agreement. If the Reorganization Plan Debtors take such action, the
Reorganization Plan shall be deemed null and void. In such event, nothing contained herein shall
constitute or be deemed to be a waiver or release of any Claims by or against the Reorganization Plan
Debtors or any other person or to prejudice in any manner the rights of the Reorganization Plan Debtors
or any person in further proceedings involving the Reorganization Plan Debtors.

                   12.8.    Severability of Plan Provisions upon Confirmation.

                  If, before the entry of the Confirmation Order, any term or provision of the
Reorganization Plan is held by the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy
Court, at the request of the Reorganization Plan Debtors (to be made only with the consent of the
Required Consenting Secured Parties), shall have the power to alter and interpret such term or provision
to make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void or unenforceable, and such term or provision shall then be
applicable as altered or interpreted; provided, however, that any such alteration and interpretation shall be
acceptable to the Required Consenting Secured Parties. Notwithstanding any such holding, alteration or
interpretation, the remainder of the terms and provisions of the Reorganization Plan will remain in full
force and effect and will in no way be affected, impaired or invalidated by such holding, alteration or
interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that
each term and provision of the Reorganization Plan, as it may have been altered or interpreted in
accordance with the foregoing, is (1) valid and enforceable pursuant to its terms; (2) integral to the
Reorganization Plan and may not be deleted or modified without the consent of the Reorganization Plan
Debtors or the Reorganized Debtors (as the case may be); and (3) nonseverable and mutually dependent.

                   12.9.    Governing Law.

                 Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a schedule in the Plan Supplement provides otherwise, the rights, duties and
obligations arising under the Reorganization Plan shall be governed by, and construed and enforced in
accordance with, the laws of the State of New York, without giving effect to the principles of conflict of
laws thereof.

                   12.10. Time.

                In computing any period of time prescribed or allowed by the Reorganization Plan, unless
otherwise set forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule
9006 shall apply.
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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30             Main Document
                                                 Pg 55 of 161


                   12.11. Immediate Binding Effect.

                Notwithstanding Bankruptcy Rules 3020(e), 6004(h) or 7062 or otherwise, upon the
occurrence of the Effective Date, the terms of the Reorganization Plan and Plan Supplement shall be
immediately effective and enforceable and deemed binding upon and inure to the benefit of the
Reorganization Plan Debtors, the holders of Claims and Interests, the Released Parties, the Exculpated
Parties and each of their respective successors and assigns, including, without limitation, the Reorganized
Debtors.

                   12.12. Successor and Assigns.

                The rights, benefits and obligations of any Entity named or referred to in the
Reorganization Plan shall be binding on, and shall inure to the benefit of any heir, executor, administrator,
successor or permitted assign, if any, of each Entity.

                   12.13. Entire Agreement.

                 On the Effective Date, the Reorganization Plan, the Plan Supplement and the
Confirmation Order shall supersede all previous and contemporaneous negotiations, promises, covenants,
agreements, understandings and representations on such subjects, all of which have become merged and
integrated into the Reorganization Plan.

                   12.14. Notices.

                 All notices, requests and demands to or upon the Reorganization Plan Debtors to be
effective shall be in writing (including by facsimile transmission) and, unless otherwise expressly
provided herein, shall be deemed to have been duly given or made when actually delivered or, in the case
of notice by facsimile transmission, when received and telephonically confirmed, addressed as follows:

                   (i) if to the Reorganization Plan Debtors or Reorganized Debtors:

                             RDA Holding Co.
                             750 Third Avenue
                             New York, NY 10017
                             Facsimile:
                             Attn: Andrea Newborn, Esq.

                                     - and -

                             Weil, Gotshal & Manges LLP
                             767 Fifth Avenue
                             New York, NY 10153
                             Attn: Joseph H. Smolinsky, Esq.
                                   Marcia L. Goldstein, Esq.
                                   Matthew P. Goren, Esq.
                             Telephone: (212) 310-8000
                             Facsimile: (212) 310-8007




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13-22233-rdd         Doc 318           Filed 05/07/13 Entered 05/07/13 21:53:30       Main Document
                                                    Pg 56 of 161


                   (ii) if to the Creditors Committee:

                             Otterbourg, Steindler, Houston & Rosen, P.C.
                             230 Park Avenue
                             New York, NY 10169
                             Attn: Scott L. Hazan, Esq.
                                    David M. Posner, Esq.
                             Telephone: (212) 661-9100
                             Facsimile: (212) 682-6104

               (iii) if to the Administrative Agent, the Senior Credit Agreement Lenders, the Issuing
Lender, the Consenting Lender, the Roll-Up Lender, or the DIP Lender:

                             Milbank, Tweed, Hadley & McCloy LLP
                             1 Chase Manhattan Plaza
                             New York, New York 10005
                             Attn: Abhilash M. Raval, Esq.
                                    Blair M. Tyson, Esq.
                                    Michael E. Comerford, Esq.
                             Telephone: (212) 530-5000
                             Facsimile: (212) 530-5219


                   (iv) if to the New Money Lenders, the Consenting Secured Noteholders, or the DIP
Agent:

                             Kirkland & Ellis LLP
                             300 North LaSalle
                             Chicago, Illinois 60654
                             Attn: James H.M. Sprayregen, P.C.
                             Telephone: (312) 862-2000
                             Facsimile: (312) 862-2200

                             - and -

                             Kirkland & Ellis LLP
                             601 Lexington Avenue
                             New York, New York 10022
                             Attn: Paul M. Basta, Esq.
                                   Nicole L. Greenblatt, Esq.
                             Telephone: (212) 446-4800
                             Facsimile: (212) 446-4900

                 After the Effective Date, the Reorganization Plan Debtors have authority to send a notice
to Entities that to continue to receive documents pursuant to Bankruptcy Rule 2002, they must file a
renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the
Reorganization Plan Debtors are authorized to limit the list of Entities receiving documents pursuant to
Bankruptcy Rule 2002 to those Entities who have filed such renewed requests.



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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30         Main Document
                                                 Pg 57 of 161


Dated: May 7, 2013
       New York, New York


                                                 Respectfully submitted,


                                                 RDA Holding Co., The Reader’s Digest Association,
                                                 Inc., and each of the Reorganization Plan Debtors


                                                 By:
                                                        Name: Robert E. Guth
                                                        Title: President and Chief Executive Officer




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13-22233-rdd         Doc 318        Filed 05/07/13 Entered 05/07/13 21:53:30   Main Document
                                                 Pg 58 of 161


                                                 Exhibit A

                                      Restructuring Support Agreement




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                                                             Main Document   Pg
                                   Pg
                                   71 59 of 161
                                      of 173
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                      RESTRUCTURING SUPPORT AGREEMENT


           This RESTRUCTURING SUPPORT AGREEMENT is made and entered into as
   of February 17, 2013 (as amended, supplemented or otherwise modified in accordance
   with the terms hereof, this “Support Agreement”, which defined term shall include all
   exhibits and schedules annexed hereto including, without limitation, the Term Sheets (as
   defined below) by and among (i) RDA Holding Co. (“Holding”), The Reader’s Digest
   Association, Inc. (the “Company”), and certain of the Company’s subsidiaries set forth
   on Schedule 1 annexed hereto (together with Holding and the Company, the “Debtors”
   and excluding Direct Entertainment Media Group, Inc., the “Plan Debtors”), (ii) Wells
   Fargo Principal Lending, LLC, as issuing lender and sole lender (Wells Fargo Principal
   Lending, LLC or one of its affiliates, the “Consenting Lender”) under that certain Credit
   Agreement, dated as of March 30, 2012 (the “Credit Agreement”) by and among the
   Debtors, the Consenting Lender and Wells Fargo Bank, N.A., as administrative agent (in
   such capacity, the “Administrative Agent”) and (iii) the undersigned holders (the
   “Consenting Secured Noteholders”) of the $464 million outstanding senior secured notes
   of the Company due 2017 (the “Secured Notes”) issued pursuant to that certain Indenture,
   dated as February 11, 2010 (as amended, supplemented or otherwise modified, the
   “Indenture”) by and among the Debtors, the holders from time to time (the “Secured
   Noteholders”) of the Secured Notes, Wells Fargo Bank, N.A., as indenture trustee (in
   such capacity, the “Indenture Trustee”) and Wilmington Trust FSB, as collateral agent
   (the “Collateral Agent”). The Consenting Lender and the Consenting Secured
   Noteholders are collectively referred to herein as, the “Consenting Secured Parties,” and
   together with the Debtors, the “Parties.”

                                         WHEREAS

           A.      The Company and the Consenting Secured Parties have engaged in
   negotiations to consummate a restructuring of the Company’s indebtedness and other
   obligations, including the Debtors’ obligations under the Credit Agreement and the
   Indenture, pursuant to the terms and conditions set forth in the Restructuring Term Sheet
   attached hereto as Exhibit A (including the DIP Commitment Letter, the related DIP term
   sheet (the “DIP Term Sheet”), the interim DIP Order (the “Interim Order”), chapter 11
   restructuring term sheet (the “Restructuring Term Sheet”), the first out exit term sheet
   (the “First Out Exit Term Sheet”), the second out exit term sheet (the “Second Out Exit
   Term Sheet”) and all other exhibits thereto, collectively, the “Term Sheets”) and
   incorporated into this Support Agreement (the “Restructuring Transactions”).

          B.      The Debtors have requested, and the Consenting Secured Parties have
   agreed, to provide a debtor-in-possession financing facility under that certain credit
   agreement (the “DIP Credit Agreement”) referred to in the Commitment Letter dated as
   of February 17, 2013 (the “DIP Commitment Letter”, which term shall include the Term
   Sheets attached thereto) subject to the terms and conditions thereof.

         C.    The Parties anticipate that the Restructuring Transactions will be
   consummated by all of the Debtors filing voluntary petitions (the “Petitions”) under

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                                   72 60 of 161
                                      of 173
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   chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United
   States Bankruptcy Court for the Southern District of New York, White Plains Division
   (the “Bankruptcy Court”) (the date of filing of such voluntary petitions, the “Petition
   Date”, and such cases being the “Chapter 11 Cases”).

          D.      This Support Agreement and the Term Sheets set forth the agreement
   among the Parties concerning their commitment, subject to the terms and conditions
   hereof and thereof, to implement and support the Restructuring Transactions.

          NOW, THEREFORE, in consideration of the foregoing and the promises,
   mutual covenants and agreements set forth herein and for other good and valuable
   consideration, the receipt and sufficiency of which are hereby acknowledged, each Party,
   intending to be legally bound, agrees as follows:

   Section 1. Conditions to Effectiveness of Support Agreement.

           This Support Agreement shall become effective and binding upon each of the
   Parties at 12:01 a.m. prevailing Eastern Time on the date on which all of the following
   conditions are satisfied (the “Effective Date”):

           (a)      The Consenting Secured Parties or their counsel shall have received duly
                    executed signature pages for this Support Agreement signed by the
                    Debtors;

           (b)      The Debtors shall have received duly executed signature pages for this
                    Support Agreement from (i) the Consenting Lender and (ii) Consenting
                    Secured Noteholders holding at least 66 2/3% in principal amount of the
                    prepetition outstanding Secured Notes;

           (c)      The DIP Commitment Letter and the related fee letters shall have been
                    executed by the Debtors and the Consenting Secured Parties party thereto;
                    and

           (d)      All accrued fees and expenses due to the Consenting Secured Parties and
                    their respective counsel (including one prior counsel for the Consenting
                    Lender) will have been paid.

   Section 2. Plan of Reorganization.

   2.1     Support of Acceptable Plan.

           (a)      Subject to Sections 1125 and 1126 of the Bankruptcy Code (if and to the
                    extent applicable), and so long as a Termination Event (as defined below)
                    has not occurred, or has occurred but has been duly waived or cured in
                    accordance with the terms hereof:

                    (1) each Plan Debtor severally (and not jointly) agrees to:


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                                   73 61 of 161
                                      of 173
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                     (i)     (A) support and consummate all of the Restructuring
                             Transactions contemplated by the Term Sheets, this
                             Support Agreement and the Acceptable Plan (as defined in
                             Section 2.1(a)(1)(ii)), (B) take any and all necessary and
                             appropriate actions in furtherance of all of the
                             Restructuring Transactions contemplated under this
                             Support Agreement, the Acceptable Plan and the Term
                             Sheets, (C) complete all of the Restructuring Transactions
                             contemplated under this Support Agreement, the Term
                             Sheet and the Acceptable Plan in accordance with the terms
                             hereof and thereof and take all steps necessary and
                             desirable to obtain the Confirmation Order (as defined in
                             Section 2.1.(b)), and (D) obtain any and all required
                             regulatory and/or third-party approvals for such
                             Restructuring Transactions; and

                     (ii)    not directly or indirectly (a) propose or support any plan of
                             reorganization or liquidation in the Chapter 11 Cases other
                             than a chapter 11 plan of reorganization incorporating the
                             terms of the Term Sheets and which chapter 11 plan of
                             reorganization and related disclosure statement (including
                             all exhibits thereto) are otherwise in all material respects, in
                             form and substance satisfactory to the Required Consenting
                             Secured Parties (as defined in section 9.14 herein) (as
                             amended, supplemented or otherwise modified subject to
                             the terms hereof, the “Acceptable Plan” and the
                             “Acceptable Disclosure Statement,” as applicable) (b) take
                             any action which is inconsistent with, or that would
                             unreasonably delay or impede approval or confirmation of
                             the Acceptable Plan or that is otherwise inconsistent with
                             the express terms of this Support Agreement including, for
                             the avoidance of doubt, any action that does not support or
                             is otherwise inconsistent with the approval of the Lender
                             Protections (as defined in the DIP Term Sheet), or (c) seek,
                             solicit, support, encourage or participate in any discussions
                             regarding any other plan, sale, proposal or offer of
                             dissolution, winding up, liquidation, reorganization,
                             merger, consolidation, liquidation or restructuring of any of
                             the Plan Debtors that could reasonably be expected to
                             prevent, delay or impede the confirmation of the
                             Acceptable Plan; and

                     (iii)   provide written notice to the Consenting Secured Parties,
                             within one (1) Business Day of making any determination
                             that its fiduciary duties require it to consider any plan other
                             than the Acceptable Plan.


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                                   74 62 of 161
                                      of 173
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                    (2) each Consenting Secured Party, severally (and not jointly) agrees to:

                           (i)     (A) support and consummate all of the Restructuring
                                   Transactions contemplated by the Term Sheets and this
                                   Support Agreement and the Acceptable Plan, (B) take any
                                   and all necessary and appropriate actions in furtherance of
                                   all of the Restructuring Transactions contemplated under
                                   this Support Agreement and the Term Sheets and the
                                   Acceptable Plan, (C) complete all of the Restructuring
                                   Transactions contemplated under this Support Agreement
                                   and the Term Sheet and the Acceptable Plan in accordance
                                   with the terms hereof and thereof; and

                           (ii)    subject to the receipt by such Consenting Secured Party of
                                   the Acceptable Disclosure Statement and other solicitation
                                   materials in respect of the Acceptable Plan, which
                                   Acceptable Disclosure Statement and solicitation materials
                                   reflect the agreement set forth in this Support Agreement
                                   and the Term Sheets and have been approved by the
                                   Bankruptcy Court pursuant to section 1125 of the
                                   Bankruptcy Code and are in all material respects
                                   reasonably satisfactory to the Required Consenting Secured
                                   Parties (collectively, the “Solicitation Materials”): (a) vote,
                                   to the extent such Consenting Secured Party is entitled to
                                   vote under the terms of the Acceptable Plan and the
                                   Bankruptcy Code, all of its claims against the Debtors to
                                   accept the Acceptable Plan by delivering its duly executed
                                   and completed ballot(s) accepting such Acceptable Plan on
                                   a timely basis following the commencement of the
                                   solicitation and its actual receipt of the Solicitation
                                   Materials and ballot(s) and (b) not change or withdraw (or
                                   cause to be changed or withdrawn) such vote.

   For the avoidance of doubt, each of the Consenting Lender, the Consenting Secured
   Noteholders, and the Plan Debtors also agrees, severally and not jointly, that, unless this
   Support Agreement is terminated in accordance with the terms hereof, it will not take any
   action that would in any material respect interfere with, delay, or postpone the
   confirmation or consummation of the Acceptable Plan and implementation of the
   Restructuring Transactions, including, without limitation, objecting to the debtor-in-
   possession financing set forth in the DIP Commitment Letter or propose any alternative
   financing.

   Nothing contained in this Support Agreement shall be deemed to (1) prevent any Party
   from taking, or failing to take, any action that it is obligated to take (or fail to take) in the
   performance of any fiduciary or similar duty which such Party owes to any other person.



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                                      of 173
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           (b)      Upon confirmation of the Acceptable Plan pursuant to an order in all
                    material respects in form and substance reasonably satisfactory to the
                    Required Consenting Secured Parties (the “Confirmation Order”), and so
                    long as it is not subject to a stay and the conditions to effectiveness thereof
                    have been satisfied or waived, the Consenting Secured Parties and the Plan
                    Debtors shall use commercially reasonable efforts to consummate the
                    Acceptable Plan; provided that the Consenting Lender and the Consenting
                    Secured Noteholders shall only provide the First Out Exit Term Loan and
                    the Second Out Exit Term Loan, respectively, subject to satisfaction of the
                    terms and conditions set forth in the First Out Exit Term Sheet and the
                    Second Out Exit Term Sheet, respectively; provided further that if the
                    terms and conditions set forth in the First Out Exit Term Sheet or the
                    Second Out Exit Term Sheet are not satisfied, the Refinancing Loans and
                    the New Money Loans (as each is defined in the DIP Term Sheet) must be
                    repaid in full in cash.

           (c)      DIP Commitment Letter attached as Exhibit A to the Restructuring Term
                    Sheet as part of the Term Sheets.


   2.2     Confirmation of Acceptable Plan.

           Without limiting any other provision hereof, the Plan Debtors shall each use their
   reasonable best efforts to have the Acceptable Plan confirmed by the Bankruptcy Court
   as expeditiously as possible under the Bankruptcy Code, the Federal Rules of Bankruptcy
   Procedure, and the Local Rules of the Bankruptcy Court (the federal and local rules
   being, the “Bankruptcy Rules”) and within the timeframes contemplated by this Support
   Agreement.


   Section 3. Releases.

           The Acceptable Plan will include a full release from liability by the Plan Debtors
   in favor of the Debtors and their subsidiaries, the Consenting Lender, the Administrative
   Agent, the Consenting Secured Noteholders and the DIP Lenders (the “Released Parties”)
   and all current and former direct and indirect equityholders, members, managing
   members, officers, directors, employees, advisors, principals, attorneys, professionals,
   accountants, investment bankers, consultants, agents, and other representatives (including
   their respective equityholders, members, partners, subsidiaries, affiliates, funds,
   managers, managing members, officers, directors, employees, advisors, principals,
   attorneys, professionals, accountants, investment bankers, consultants, agents, and other
   representatives) of the Released Parties from any claims and causes of action related to or
   arising on or prior to the Effective Date, except for any claims and causes of action
   relating to unlawful acts; provided, however, that nothing herein shall be deemed to
   constitute a release or waiver by the Consenting Lender, the Administrative Agent or the
   Consenting Secured Noteholders of any rights arising from or in connection with that
   certain Security Agreement dated February 19, 2010 (the “Security Agreement”) by and

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                                   76 64 of 161
                                      of 173
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   among the Debtors, the Consenting Secured Parties, the Collateral Agent, the
   Administrative Agent and the Indenture Trustee, including, without limitation, all rights
   arising in connection with section 5.5 of such agreement.

   Section 4. Termination Events.

   4.1     Termination Events.

           The occurrence of any of the following (without the need for the taking of any
   action) shall be a “Termination Event”:

           (a)      Upon the effective date of the Acceptable Plan or a written agreement
                    among the Debtors and the Required Consenting Secured Parties
                    terminating this Support Agreement;

           (b)      Upon entry of an order by any court of competent jurisdiction or other
                    competent governmental or regulatory authority making illegal or
                    otherwise restricting, preventing or prohibiting the consummation of the
                    Restructuring Transactions contemplated by the Acceptable Plan or this
                    Support Agreement;

           (c)      Upon filing of any motion or other pleading by one or more of the Debtors
                    seeking the entry of an order, or upon entry of an order, by any court of
                    competent jurisdiction authorizing the sale of all or substantially all of the
                    Debtors’ assets pursuant to section 363 of the Bankruptcy Code or
                    otherwise;

           (d)      The occurrence of any breach of this Support Agreement by any of the
                    Parties (to the extent not otherwise cured or waived in accordance with the
                    terms hereof); provided, that if any Party (other than any Plan Debtor)
                    shall breach its obligations pursuant to this Support Agreement, the
                    Termination Date arising as a result of such act or omission shall apply
                    only to such Party and this Support Agreement shall otherwise remain in
                    full force and effect with respect to the Debtors and all such remaining
                    Parties;

           (e)      On the date that any Plan Debtor withdraws the Acceptable Plan, publicly
                    announces its intention not to support the Acceptable Plan or files any plan
                    of reorganization or liquidation and/or disclosure statement that is not
                    consistent with the Acceptable Plan or Acceptable Disclosure Statement,
                    respectively, or publicly announces its support for any such inconsistent
                    plan and/or disclosure statement, gives the notice described in Section
                    2.1(a)(1)(iii) hereof, or otherwise evinces an intention not to proceed with
                    the Acceptable Plan or to proceed with any alternative plan or form of
                    transaction;

           (f)      On the date of entry of any order in the Chapter 11 Cases terminating the
                    Plan Debtors’ exclusive right to file a plan or plans of reorganization

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                                   77 65 of 161
                                      of 173
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                    pursuant to Section 1121 of the Bankruptcy Code; provided that such
                    order is not the result of a motion filed by any Consenting Secured Party;

           (g)      On the date any of the Chapter 11 Cases shall be dismissed or converted to
                    a chapter 7 case, or a chapter 11 trustee with plenary powers, a responsible
                    officer, or an examiner with enlarged powers relating to the operation of
                    the businesses of the Debtors (powers beyond those set forth in Section
                    1106(a)(3) and (4) of the Bankruptcy Code) shall be appointed in any of
                    the Chapter 11 Cases or the Debtors shall file a motion or other request for
                    such relief;

           (h)      On the date of either (1) a filing by any Debtor of any motion, application
                    or adversary proceeding challenging the validity, enforceability, perfection
                    or priority of or seeking avoidance of the liens securing the obligations
                    referred to in the Credit Agreement, the Indenture and the collateral
                    documents related thereto (collectively, the “Secured Obligations”) or any
                    other cause of action against and/or with respect to the Secured
                    Obligations, the prepetition liens securing such Secured Obligations and
                    the Consenting Secured Parties (or if the Debtors support any such motion,
                    application or adversary proceeding commenced by any third party or
                    consent to the standing of any such third party) or (2) the entry of an order
                    of the Bankruptcy Court providing relief against the interests of any
                    Consenting Secured Party with respect to any of the foregoing causes of
                    action or proceedings;

           (i)      Upon any material adverse change regarding the feasibility of the
                    Acceptable Plan arising on or after the Effective Date of this Support
                    Agreement, including, without limitations, the assertion of material
                    contingent and/or unliquidated liabilities, as determined by the Required
                    Consenting Secured Parties in their reasonable discretion;

           (j)      Upon the amendment, modification of, or the filing of a pleading by any
                    of the Plan Debtors that seeks to amend or modify the Acceptable Plan,
                    the Acceptable Disclosure Statement or any documents related to the
                    Acceptable Plan or Acceptable Disclosure Statement, notices, exhibits or
                    appendices, which amendment, modification or filing is inconsistent with
                    this Support Agreement and not otherwise consented to by the Required
                    Consenting Secured Parties;

           (k)      Upon failure of the Debtors to commence the Chapter 11 Cases on or
                    before 11:59 p.m. (New York City time) on February 18, 2013;

           (l)      11:59 p.m. (New York City time) on the fifth (5th) Business Day after the
                    Petition Date, unless prior thereto the Bankruptcy Court enters an interim
                    order in the Chapter 11 Cases of the Debtors under, inter alia Sections
                    105, 361, 362, 363 and 364 of the Bankruptcy Code in form and substance
                    satisfactory to the Required Consenting Secured Parties, authorizing the

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                                   78 66 of 161
                                      of 173
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                    Debtors to incur postpetition financing and use cash collateral, granting
                    adequate protection to the prepetition Secured Parties, and scheduling a
                    final hearing pursuant to Bankruptcy Rule 4001(B) (the “Interim DIP
                    Order”);

           (m)      11:59 p.m. (New York City time) on the fortieth (40th) day after the date
                    of entry of the Interim DIP Order, unless prior thereto the Bankruptcy
                    Court enters a final order in the Chapter 11 Cases of the Debtors under,
                    inter alia Sections 105, 361, 362, 363 and 364 of the Bankruptcy Code in
                    form and substance satisfactory to the Required Consenting Secured
                    Parties, authorizing the Debtors to incur postpetition financing and use
                    cash collateral and granting adequate protection to the prepetition Secured
                    Parties (the “Final DIP Order” and together with the Interim DIP Order,
                    the “DIP Orders”);

           (n)      Upon the entry of an order by a court of competent jurisdiction reversing,
                    modifying, amending, staying or vacating either of the Interim DIP Order
                    or the Final DIP Order;

           (o)      11:59 p.m. (New York City time) on the date of the occurrence of an
                    “Event of Default” under, and as such term is defined in, the DIP Credit
                    Agreement and the acceleration of the obligations thereunder;

           (p)      11:59 p.m. (New York City time) on the date that is 25 days after the
                    Petition Date, if the Plan Debtors shall not have filed the Acceptable Plan
                    and the Acceptable Disclosure Statement with the Bankruptcy Court on or
                    before such time;

           (q)      11:59 p.m. (New York City time), on the date that is 75 days after the
                    Petition Date, unless the Bankruptcy Court has entered an order, in form
                    and substance satisfactory to the Required Consenting Secured Parties,
                    approving the Acceptable Disclosure Statement pursuant to Section 1125
                    of the Bankruptcy Code on or before such time;

           (r)      11:59 p.m. (New York City time), on the date that is 15 days following
                    entry of the order approving the Acceptable Disclosure Statement pursuant
                    to Section 1125 of the Bankruptcy Code, unless prior thereto the Company
                    commences the solicitation of acceptances of the Acceptable Plan;

           (s)      11:59 p.m. (New York City time), on July 5, 2013, if the Plan Debtors
                    shall not have filed with the Bankruptcy Court on or before such time a
                    supplement to the Acceptable Plan containing documents in form and
                    substance reasonably satisfactory to the Required Consenting Secured
                    Parties as contemplated by the Term Sheet (the ”Acceptable Plan
                    Supplement“);

           (t)      11:59 p.m. (New York City time), on July 15, 2013, unless the Bankruptcy
                    Court has entered the Confirmation Order on or before such time;

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                                   79 67 of 161
                                      of 173
                                                                          EXECUTION COPY


           (u)      11:59 p.m. (New York City time) on July 31, 2013, unless the “effective
                    date” of the Acceptable Plan has occurred prior thereto;

           (v)      Any of the Lender Protections are not approved in the Interim DIP Order
                    or the Final DIP Order of if such protections or any of the other adequate
                    protection provided to the Consenting Lender is unwound or otherwise
                    successfully challenged at any time after entry of such interim or final
                    order;

           (w)      The non-payment of any accrued, unpaid and ongoing expenses incurred
                    by the Consenting Secured Parties in connection with the Restructuring
                    Transactions and any agreements related thereto in accordance with
                    section 9.12 of this Support Agreement; or

           (x)      11:59 p.m. (New York City time), on the date that is 60 days after the
                    Petition Date, unless the Bankruptcy Court has entered an order
                    establishing bar dates for submitting proofs of claim and requests for
                    payment pursuant to section 503(b)(9) of the Bankruptcy Code.


   4.2     Additional Debtor Termination Events.

           The Debtors may terminate this Support Agreement upon five (5) Business Days
   prior written notice to the Consenting Secured Parties upon the occurrence of either of the
   following events: (i) the breach by any Consenting Secured Party of the representations,
   warranties, or covenants of such Consenting Secured Party set forth in this Support
   Agreement that would be reasonably likely to have a material adverse impact on the
   Debtors, or the consummation of the Restructuring Transactions, that remains uncured
   for a period of five (5) Business Days after receipt by such Consenting Secured Party of
   notice of such breach; provided that this Support Agreement shall otherwise remain in
   effect with respect to non-breaching Consenting Secured Parties; or (ii) the board of
   directors of the Company reasonably determines based upon the written advice of outside
   counsel that proceeding with the Restructuring Transactions would be inconsistent with
   the exercise of its fiduciary duties.

           Notwithstanding anything to the contrary herein, the releases provided for in
   Section 3 hereof shall survive the termination of this Support Agreement under either
   Section 4.1 or 4.2 hereof; provided, that the releases set forth in Section 3 herein shall
   automatically be null and void and of no further force and effect as if the release had
   never been granted with respect to any Party that has breached the terms of the
   penultimate paragraph of Section 2.1(a) hereof or any other terms herein in any material
   respect.

   4.3     Termination Event Procedures.

            Upon the occurrence of a Termination Event under (i) Section 4.1 (a), (b), (c), (e),
   (f), (g), (h), (j), (l), (m), (n), (o) or (u) and (v) of this Support Agreement, this Support
   Agreement shall automatically terminate without any further action or notice, and

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                                   Pg
                                   80 68 of 161
                                      of 173
                                                                           EXECUTION COPY


   (ii) Section 4.1 (d), (i), (k), (p), (q), (r), (s), (t), (w) and (x) of this Support Agreement,
   five (5) Business Days after Consenting Secured Parties or, with respect to a Termination
   Event under Section 4.1(c) which has occurred as a result of a breach of this Support
   Agreement by any Party, the other non-breaching Parties, shall have given written notice
   of the occurrence of such Termination Event to the other parties hereto and such
   Termination Event shall not have been cured during such five (5) Business Days after
   receipt of such notice (or otherwise waived in writing by the requisite Parties in
   accordance with the terms hereof), this Support Agreement shall terminate (the date of
   termination under clause (i) or (ii) hereof being the “Termination Date”); provided,
   however, that any waiver of an event of default under the DIP Credit Agreement that has
   been granted without the consent of the Consenting Lender shall in no way be deemed to
   constitute a waiver of any Termination Event hereunder. For the avoidance of doubt, the
   automatic stay arising pursuant to Section 362 of the Bankruptcy Code in the Chapter 11
   Cases shall be deemed waived or modified for purposes of providing notice hereunder or
   terminating this Support Agreement and, in any event, the giving of notice of termination
   by any Party pursuant to this Support Agreement shall not be a violation of the automatic
   stay of Section 362 of the Bankruptcy Code. For the further avoidance of doubt, the
   Debtors acknowledge that the foregoing stipulation is a material and necessary
   inducement for the Consenting Lender’s entry into this Support Agreement.

   Section 5. Remedies.

            It is understood and agreed by each of the Parties that any breach of this Support
   Agreement would give rise to irreparable harm for which money damages would not be
   an adequate remedy and, accordingly, the Parties agree that, in addition to any other
   remedies, each Party shall be entitled, without the requirement of posting a bond or other
   security, to specific performance and injunctive or other equitable relief. The Debtors
   each agree that for so long as any Party has not taken any action to prejudice the
   enforceability of this Support Agreement (including, without limitation, alleging in any
   pleading that this Support Agreement is unenforceable), and has taken such actions as are
   reasonably required or desirable for the enforcement hereof, then such Party shall have no
   liability for damages hereunder in the event a court determines that this Support
   Agreement is not enforceable. Without limiting the provisions hereof, the Parties hereby
   agree that if any Party breaches the terms of the penultimate paragraph of Section 2.1(a)
   hereof or any other terms herein in any material respect (to the extent not otherwise cured
   or waived in accordance with the terms hereof), the release contemplated in Section 3
   hereof shall not be granted to such breaching Party.

   Section 6. Mutual Representations, Warranties and Covenants.

   6.1     Power and Authority.

           Each Party severally, and not jointly, represents to each other Party that, as of the
   date of this Support Agreement, (i) such Party has all requisite corporate, partnership, or
   limited liability company power and authority to enter into this Support Agreement and
   to carry out the Restructuring Transactions contemplated by, and perform its respective
   obligations under, this Support Agreement, and (ii) the execution and delivery of this

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                                   Pg
                                   81 69 of 161
                                      of 173
                                                                          EXECUTION COPY


   Support Agreement and the performance of its obligations hereunder have been duly
   authorized by all necessary action on its part.

   6.2     Enforceability.

          Each Party severally, and not jointly, represents to each other Party that this
   Support Agreement is the legally valid and binding obligation of it, enforceable in
   accordance with its terms, except as enforcement may be limited by bankruptcy,
   insolvency, reorganization or other similar laws limiting creditors’ rights generally or by
   equitable principles relating to enforceability or ruling of the Bankruptcy Court.

   6.3     Representation.

          Each of the Parties to this Support Agreement acknowledges that it has been
   represented by counsel (or had the opportunity to and waived its right to do so) in
   connection with this Support Agreement and the Restructuring Transactions
   contemplated by this Support Agreement. Accordingly, any rule of law or any legal
   decision that would provide any Party hereto with a defense to the enforcement of the
   terms of this Support Agreement against such Party based upon lack of legal counsel
   shall have no application and is expressly waived. The provisions of this Support
   Agreement shall be interpreted in a reasonable manner to effect the intent of the Parties
   hereto. None of the Parties hereto shall have any term or provision construed against
   such Party solely by reason of such Party having drafted the same.

   6.4     Governmental Consents.

           Each Party severally, and not jointly, represents to each other Party that, as of the
   date of this Support Agreement, the execution, delivery, and performance by it of this
   Support Agreement do not and shall not require any registration or filing with, consent or
   approval of, or notice to, or other action to, with, or by, any Federal, state, or other
   governmental authority or regulatory body, except (i) such filings as may be necessary
   and/or required for disclosure by the Securities and Exchange Commission and
   applicable state securities or “blue sky” laws, (ii) any filings in connection with the
   Chapter 11 Cases, including the approval of the Acceptable Disclosure Statement and
   confirmation of the Acceptable Plan, and (iii) in the case of the Debtors, (A) filings of
   amended articles of incorporation or formation or other organizational documents with
   applicable state authorities, and (B) other registrations, filings, consents, approvals,
   notices, or other actions that are reasonably necessary to maintain permits, licenses,
   qualifications, and governmental approvals to carry on the business of the Debtors.

   6.5     Ownership.

           (a)    Each Consenting Secured Party severally, and not jointly, represents and
   warrants that, as of the date hereof, (i) such Consenting Secured Party either (A) is the
   sole legal and beneficial owner of its share of the obligations under the Credit Agreement
   or Secured Notes, as applicable or (B) is the legal owner of its share of the prepetition
   obligations under the Credit Agreement or Secured Notes, as applicable, and has the

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                                   82 70 of 161
                                      of 173
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   power and authority to bind the legal and beneficial owner(s) of such prepetition Secured
   Notes or Credit Agreement obligations to the terms of this Support Agreement, (ii) such
   Consenting Secured Party (a) has full power and authority to vote on and consent to or
   (b) has received direction from the party having full power and authority to vote on and
   consent to such matters concerning its share of the prepetition Secured Notes or Credit
   Agreement obligations and to exchange, convert, assign and transfer such prepetition
   Secured Notes or Credit Agreement obligations and (iii) other than pursuant to this
   Support Agreement, such prepetition Secured Notes or Credit Agreement obligations are
   free and clear of any pledge, lien, security interest, charge, claim, equity, option, proxy,
   voting restriction, right of first refusal or other limitation on disposition, or encumbrances
   of any kind, that would adversely affect in any way such Consenting Secured Party’s
   performance of its obligations contained in this Support Agreement at the time such
   obligations are required to be performed.

   6.6     Debtors’ Reporting Requirements.

           The Debtors shall promptly deliver to the Consenting Lender (i) all documents
   and reports and (ii) any and all other information delivered to the DIP Lenders (as
   defined in the DIP Term Sheet) or requested by the DIP Lenders (including scheduling
   bi-weekly update calls (with question and answer periods) with senior management of the
   Debtors and their respective representatives and advisors), in each instance as set forth in
   the section entitled “Affirmative Covenants” in the DIP Term Sheet and within the time
   periods specified in the DIP Term Sheet (or, if no time period is specified therein, on a
   prompt basis).

   6.7     Acknowledgments Regarding Exit Financing

           Notwithstanding anything herein to the contrary, the Parties hereto acknowledge
   and agree that the agreement of the Consenting Lender to provide the financing described
   in the First Out Exit Term Sheet shall automatically terminate on the date 180 days after
   the Petition Date. The Consenting Lender agrees that, on and after such date, and subject
   to the Consenting Lender receiving customary and acceptable indemnification from the
   Debtors, the Consenting Lender will use good faith efforts to arrange a credit facility (the
   “Replacement Facility”) to refinance any Refinancing Loans that have not been paid in
   full on the maturity date of the Facility (as defined in the DIP Term Sheet). In connection
   therewith, the Debtors agree to assist the Consenting Lender in its arrangement efforts
   and to provide such information as the Consenting Lender reasonably requests. It is
   understood and agreed that the Replacement Facility shall have terms and conditions
   (including without limitation structure, pricing, fees, tenor and covenants, due diligence
   conditions, approvals and any other provisions) satisfactory to the Consenting Lender in
   its sole discretion and shall be subject to any necessary credit approvals. The Debtors
   acknowledge that the foregoing is neither an expressed nor an implied commitment by
   the Consenting Lender or any of its affiliates to provide any part of the Replacement
   Facility or to provide or purchase loans in connection therewith, which commitment, if
   any, will only be set forth in a separate commitment letter in form and substance
   satisfactory to the Consenting Lender and approved by the Bankruptcy Court. The
   agreement of the Consenting Lender under this Section 6.7 shall automatically terminate

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                                   83 71 of 161
                                      of 173
                                                                          EXECUTION COPY


   (without the taking of any action) on the earlier of (i) the date that is 270 days after the
   Petition Date, (ii) the termination of this Support Agreement and (iii) upon any of the
   conditions precedent set forth in Annex A to the First Out Exit Term Sheet (other than the
   conditions set forth in clause (d) thereof) being determined not to have been satisfied or
   no longer capable of being satisfied.

   Section 7. No Material Misstatement or Omission.

          The Debtors represent that none of the material and information provided by or on
   behalf of the Debtors to the Consenting Secured Parties in connection with the
   Restructuring Transactions contemplated in this Support Agreement, when read or
   considered together, contains any untrue statement of a material fact or omits to state a
   material fact necessary in order to prevent the statements made therein from being
   materially misleading.

   Section 8. Acknowledgement.

           This Support Agreement and the Restructuring Transactions contemplated herein
   are the product of negotiations among the Debtors and the Consenting Secured Parties,
   together with their respective representatives. This Support Agreement is not, and shall
   not be deemed to be, a solicitation of votes for the acceptance of the Acceptable Plan or
   any plan of reorganization for the purposes of Sections 1125 and 1126 of the Bankruptcy
   Code or otherwise. The Debtors will not solicit acceptances of the Acceptable Plan from
   any Consenting Secured Party until such Consenting Secured Party has been provided
   with copies of the Acceptable Disclosure Statement approved by the Bankruptcy Court.

   Section 9. Miscellaneous Terms.

   9.1     Assignment; Transfer Restrictions.

           (a)      Each Consenting Secured Party hereby agrees, for so long as this Support
                    Agreement shall remain in effect as to it, not to sell, assign, transfer,
                    hypothecate or otherwise dispose of any of its pro rata share of the
                    prepetition Secured Notes, Credit Agreement obligations or obligations
                    under the DIP Credit Agreement (the “DIP Loans”) (if any) unless prior
                    thereto the transferee thereof executes and delivers a Secured Party
                    Joinder (as defined in section 9.3(a)) to the Administrative Agent at least
                    two (2) Business Days prior to the relevant transfer. Thereafter, such
                    transferee shall be deemed to be a Consenting Secured Party for purposes
                    of this Support Agreement.

           (b)      Any sale, transfer, assignment, hypothecation or other disposition by any
                    Consenting Secured Party of any or all of its pro rata share of the
                    prepetition Secured Notes, Credit Agreement obligations or DIP Loans (if
                    any) that does not comply with the procedures set forth in Section 9.1(a)
                    shall be deemed void ab initio.



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                                                             Main Document   Pg
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                                   84 72 of 161
                                      of 173
                                                                          EXECUTION COPY


           (c)      Nothing herein shall be construed to restrict any Consenting Secured
                    Party’s right to acquire additional prepetition Secured Notes, Credit
                    Agreement obligations or DIP Loans. To the extent any Consenting
                    Secured Party acquires as legal owner additional prepetition Secured
                    Notes, Credit Agreement obligations or DIP Loans, the Parties agree that
                    such prepetition Secured Notes, Credit Agreement obligations and DIP
                    Loans shall be deemed to be subject to the terms of this Support
                    Agreement upon the Consenting Secured Party’s acquisition of such
                    additional Secured Notes, Credit Agreement obligations or DIP Loans.
                    Notwithstanding the foregoing provisions of this Section 9.1, any
                    Consenting Secured Party may, at any time and without notice to or
                    consent from any other party, pledge or grant a security interest in all or
                    any portion of its rights (including, without limitation, rights to payment
                    of interest and repayment of principal) under the Indenture, the Credit
                    Agreement or the DIP Credit Agreement to secure obligations of such
                    Consenting Secured Party to a Federal Reserve Bank; provided that no
                    such pledge or grant of a security interest shall release such Consenting
                    Secured Party from any of its obligations hereunder or substitute any such
                    pledgee or grantee for such Consenting Secured Party as a party hereto.

   9.2     No Third Party Beneficiaries.

           Unless expressly stated herein, this Support Agreement shall be solely for the
   benefit of the Parties and no other person or entity shall be a third party beneficiary.

   9.3     Joinder.

           (a)      Any person that receives or acquires a portion of the prepetition Secured
                    Notes, Credit Agreement obligations or DIP Loans pursuant to a sale,
                    assignment, transfer, hypothecation or other disposition of such prepetition
                    Secured Notes, Credit Agreement obligations or DIP Loans by a
                    Consenting Secured Party hereby agrees to be bound by all of the terms of
                    the Term Sheet and this Support Agreement (as the same may be hereafter
                    amended, restated or otherwise modified from time to time) (a “Joining
                    Secured Party”) by executing and delivering a joinder in the form of
                    Exhibit B hereto (the “Secured Party Joinder”) to the Administrative
                    Agent. The Joining Secured Party shall thereafter be deemed to be a
                    “Consenting Secured Party” and a Party for all purposes under this
                    Support Agreement.

           (b)      With respect to the aggregate principal amount of prepetition Secured
                    Notes, Credit Agreement obligations or DIP Loans held by the Joining
                    Secured Party upon consummation of the sale, assignment, transfer,
                    hypothecation or other disposition of such prepetition Secured Notes,
                    Credit Agreement obligations or DIP Loans, the Joining Secured Party
                    hereby makes the representations and warranties of the Consenting


                                                 14
   K&E 25245614.7
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                                   Pg
                                   85 73 of 161
                                      of 173
                                                                          EXECUTION COPY


                    Secured Parties set forth in Section 6 of this Support Agreement to each of
                    the other Parties to this Support Agreement.

   9.4     Entire Agreement.

          This Support Agreement constitutes the entire agreement of the Parties with
   respect to the subject matter of this Support Agreement, and supersedes all other prior
   negotiations, agreements, and understandings, whether written or oral, among the Parties
   with respect to the subject matter of this Support Agreement.

   9.5     Counterparts.

           This Support Agreement may be executed in one or more counterparts, each of
   which shall be deemed an original and all of which shall constitute one and the same
   agreement. Delivery of an executed signature page of this Support Agreement by
   facsimile transmission shall be effective as delivery of a manually executed counterpart
   hereof.

   9.6     Settlement Discussions.

           This Support Agreement and the Term Sheets attached hereto as Exhibit A are
   part of a proposed settlement of disputes among the Parties hereto. Nothing herein shall
   be deemed to be an admission of any kind. Pursuant to Federal Rule of Evidence 408 and
   any applicable state rules of evidence, this Support Agreement and the Term Sheets
   annexed hereto as Exhibit A, documents and negotiations relating thereto shall not be
   admissible into evidence in any proceeding other than a proceeding to enforce the terms
   of this Support Agreement.

   9.7     Continued Banking Practices.

           Notwithstanding anything herein to the contrary, each Consenting Secured Party
   and its affiliates may accept deposits from, lend money to, and generally engage in any
   kind of banking, investment banking, trust or other business with, or provide debt
   financing, equity capital or other services (including financial advisory services) to any
   Debtor or any affiliate of any Debtor or any other Person, including, but not limited to,
   any Person proposing or entering into a transaction related to or involving any Debtor or
   any affiliate thereof.

   9.8     Reservation of Rights.

           (a)      Except as expressly provided in this Support Agreement, nothing herein is
                    intended to, does or shall be deemed in any manner to waive, limit, impair
                    or restrict the ability of each of the Consenting Secured Parties to protect
                    and preserve all of its rights and remedies under the DIP Credit
                    Agreement, the DIP Orders or any other order of the Bankruptcy Court or
                    other court of competent jurisdiction, or its full participation in the
                    Chapter 11 Cases.

                                                 15
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                                                             Main Document   Pg
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                                   86 74 of 161
                                      of 173
                                                                            EXECUTION COPY


           (b)      Without limiting Section 9.8(a) in any way, if the Restructuring
                    Transactions contemplated by this Support Agreement or otherwise set
                    forth in the Acceptable Plan are not consummated as provided herein, if a
                    Termination Date occurs, or if this Support Agreement is otherwise
                    terminated for any reason, the Consenting Secured Parties each fully
                    reserve any and all of their respective rights, remedies and interests under
                    the Indenture, the Credit Agreement, the DIP Credit Agreement and
                    related post petition loan documents, applicable law and in equity.

           (c)      Notwithstanding anything herein to the contrary, the Parties acknowledge
                    that the support of each Consenting Secured Party contained in this
                    Support Agreement relates solely to such Consenting Secured Party’s
                    rights and obligations as a lender under the Credit Agreement, the
                    Indenture and/or the DIP Credit Agreement (if applicable) with respect to
                    the principal amounts identified on such Consenting Secured Party’s
                    signature page and as provided in Section 9.1 and does not bind such
                    Consenting Secured Party or its affiliates with respect to any other
                    indebtedness, obligations or liabilities owed by the Company or any of its
                    subsidiaries and affiliates to such Consenting Secured Party or any
                    affiliate of such Consenting Secured Party (for the avoidance of doubt, if
                    the Consenting Secured Party is specified on the relevant signature page as
                    a particular group or business within an entity, “Consenting Secured
                    Party” shall mean such group or business and shall not mean the entity or
                    its affiliates, or any other desk or business thereof, or any third party funds
                    advised thereby). For purposes of this Support Agreement, “Consenting
                    Secured Party” shall not include a holder of Loans under the Indenture or
                    DIP Loans signatory hereto in its capacity or to the extent of its holdings
                    as a public-side broker, dealer or market maker of Loans under the
                    Indenture or DIP Loans or any other claim against or security in the
                    Debtors.

           (d)      Notwithstanding anything herein to the contrary, the Parties acknowledge
                    that the support of the Consenting Lender contained in this Agreement
                    (and its rights and obligations hereunder) relates solely to its claims set
                    forth on its signature page or hereafter acquired and does not bind the
                    Consenting Lender or any of its affiliates with respect to any other claims,
                    equity, or other indebtedness of the Debtors or any of their subsidiaries
                    and affiliates. Notwithstanding anything else herein for purposes of this
                    Support Agreement, (x) claims of the Consenting Lender that are held by
                    it in a fiduciary or similar capacity and (y) claims held by the Consenting
                    Lender in its capacity as a broker, dealer or market maker of loans under
                    the Credit Agreement or with respect to any other claim against or security
                    in the Debtors (including any loans or claims held in inventory with
                    respect to such broker, dealer, or market-making activities, provided that
                    the positions with respect to such loans or claims are separately identified
                    on the internal books and records of such Consenting Lender) shall not, in
                    either case (x) or (y), be bound by or subject to this Support Agreement.

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                                   87 75 of 161
                                      of 173
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                    For the avoidance of doubt, if the Consenting Lender is specified on its
                    signature page as a particular group or business within an entity,
                    “Consenting Lender” shall mean such group or business and shall not
                    mean the entity or its affiliates, or any other desk or business thereof, or
                    any third party funds advised thereby.

   9.9     Successors.

          This Support Agreement is intended to bind the Parties and inure to the benefit of
   the Parties and their respective successors, assigns, heirs, executors, administrators and
   representatives; provided, however, that nothing contained in this Section 9.9 shall be
   deemed to permit any transfer, tender, vote or consent, of any claims other than in
   accordance with the terms of this Support Agreement.

   9.10    Publicity.

          The Parties agree that all public announcements of the entry into or the terms and
   conditions of this Support Agreement shall be mutually, reasonably acceptable to each of
   the Parties and no such announcement shall be made before obtaining the consent of the
   Required Consenting Secured Parties; provided however that the Plan Debtors may
   publicly disclose this Support Agreement and the contents hereof in their Chapter 11
   Cases or other proceedings under the Bankruptcy Code or as otherwise required by
   applicable law (including rules and regulations promulgated thereunder); provided that in
   no event shall any Party disclose the specific holdings under the Credit Agreement and/or
   the Indenture of any signatory to this Support Agreement without such signatory’s
   express consent.

   9.11    Cooperation; Chapter 11 Related Matters.

           The Parties shall, and the Company shall cause each of the Plan Debtors to,
   cooperate with each other in good faith and shall coordinate their activities (to the extent
   practicable) in respect of all matters concerning the implementation and consummation of
   the Restructuring. The Company shall provide draft copies of all “first day” motions or
   applications and other documents the Debtors intend to file with the Bankruptcy Court
   (including the Plan, Disclosure Statement and all related documents) to counsel for the
   Consenting Lender and the Consenting Secured Noteholders, if reasonably practicable, at
   least two (2) days prior to the date when the Company intends to file any such pleading
   or other document (and, if not reasonably practicable, as soon as reasonably practicable
   prior to filing) and shall consult in good faith with such counsel regarding the form and
   substance of any such proposed filing with the Bankruptcy Court.

   9.12    Advisors to the Consenting Secured Parties

          The Company shall pay, when due and payable, the respective accrued, unpaid
   and ongoing expenses incurred by the Consenting Secured Parties in connection with the
   Restructuring Transactions and any agreements related thereto, including the fees,
   charges and disbursements of (a) counsel to such parties limited to (i) one primary

                                                 17
   K&E 25245614.7
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                                   Pg
                                   88 76 of 161
                                      of 173
                                                                            EXECUTION COPY


   counsel for the Consenting Lender (presently Milbank, Tweed, Hadley & McCloy LLP
   and previously Cahill Gordon & Reindel LLP), as well as any conflicts counsel, special
   counsel and local counsel in any relevant jurisdiction retained by the Consenting Lender,
   and (ii) one primary counsel for the Consenting Secured Noteholders (presently Kirkland
   & Ellis LLP), as well as any conflicts counsel, special counsel and local counsel in any
   relevant jurisdiction retained by the Consenting Secured Noteholders, and (b) any
   financial advisors, investment bankers and other specialty consultants retained by the
   Consenting Secured Noteholders (presently Moelis & Company for the Consenting
   Secured Noteholders). All such fees, expenses and reimbursements incurred up to the
   Petition Date shall be paid in full prior to the Petition Date (without deducting any
   retainers) so long as estimates for such fees, expenses and reimbursements are presented
   to the Company by February 15, 2013.

   9.13    Governing Law; Waiver of Jury Trial; Indemnity.

           (a)      The Parties waive all rights to trial by jury in any jurisdiction in any
                    action, suit, or proceeding brought to resolve any dispute between the
                    Parties under this Support Agreement, whether sounding in contract, tort
                    or otherwise.

           (b)      This Support Agreement shall be governed by and construed in
                    accordance with the laws of the State of New York, without regard to any
                    conflicts of law provision which would require the application of the law
                    of any other jurisdiction. By its execution and delivery of this Support
                    Agreement, each Party hereby irrevocably and unconditionally agrees for
                    itself that, subject to the following sentence, any action, suit or proceeding
                    against it with respect to any matter under or arising out of or in
                    connection with this Support Agreement or for recognition or enforcement
                    of any judgment rendered in any such action, suit or proceeding, may be
                    brought in any state or federal court of competent jurisdiction in New
                    York County, State of New York, and by execution and delivery of this
                    Support Agreement, each of the Parties hereby irrevocably accepts and
                    submits itself to the nonexclusive jurisdiction of such court, generally and
                    unconditionally, with respect to any such action, suit or proceedings.

           (c)      Notwithstanding the foregoing, if the Chapter 11 Cases are commenced,
                    nothing in Section 9.12(a) or (b) shall limit the authority of the
                    Bankruptcy Court to hear any matter related to or arising out of this
                    Support Agreement.

   9.14    Pending Transfers.

           Notwithstanding anything to the contrary provided herein, if a Consenting
   Secured Party has assigned all or a portion of the Secured Notes or Credit Agreement
   obligations that it beneficially owns as of the date hereof but such assignment has not
   settled as of the date hereof (such Secured Notes or Credit Agreement obligations,
   “Pending Transfer Obligations”), then such Consenting Secured Party shall be permitted

                                                 18
   K&E 25245614.7
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                                 Entered       05/07/13
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                                                             Main Document   Pg
                                   Pg
                                   89 77 of 161
                                      of 173
                                                                           EXECUTION COPY


   to exclude from the amount of the Secured Notes or Credit Agreement obligations listed
   on its signature page an amount of Pending Transfer Obligations equal to the Pending
   Transfer Obligations assigned to any transferee that has instructed such Consenting
   Secured Party not to execute this Agreement (such excluded Secured Notes or Credit
   Agreement obligations, the “Excluded Obligations”). Such Consenting Secured Party
   shall not be bound by the terms hereof with respect to any Excluded Obligations.

   9.15    Amendments, Modifications, Waivers.

           This Support Agreement (including all exhibits and schedules thereto and the
   Term Sheets) and the Acceptable Plan and the Acceptable Disclosure Statement may only
   be modified, amended or supplemented, and any of the terms thereof may only be
   waived, by an agreement in writing signed by each of (i) the Debtors, (ii) the Consenting
   Lender and (iv) Consenting Secured Noteholders holding at such time at least 51% of the
   prepetition Secured Notes that are subject to the terms hereof (the “Required Consenting
   Secured Noteholders,” and together with the Consenting Lender, the “Required
   Consenting Secured Parties”).

   9.16    Consideration.

           It is hereby acknowledged by each of the Parties that no consideration shall be
   due or paid to the Parties for their agreement to support or not interfere with the
   Acceptable Plan in accordance with the terms and conditions of this Support Agreement,
   other than the obligations of the other Parties under this Support Agreement. For the
   avoidance of doubt, the provision of the Lender Protections constitutes a material
   inducement to the Consenting Lender’s entry into this Support Agreement, without which
   the Consenting Lender would not have entered into this Support Agreement. The
   Company represents that, as of the Effective Date, no payments have been made to any of
   the Parties hereto that were not permitted to be made under the terms of the Credit
   Agreement.

   9.17    Severability of Provisions.

           If any provision of this Support Agreement for any reason is held to be invalid,
   illegal or unenforceable in any respect, that provision shall not affect the validity, legality
   or enforceability of any other provision of this Support Agreement.

   9.18    Notices.

           All notices and other communications required or permitted hereunder shall be in
   writing and shall be deemed given when: (a) delivered personally or by overnight courier
   to the following address of the other Party hereto; (b) sent by fax to the following fax
   number of the other Party hereto with the confirmatory copy delivered by overnight
   courier to the address of such Party listed below; or (c) sent by electronic mail with the
   confirmatory copy delivered by overnight courier to the address of such Party listed
   below.



                                                 19
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                Filed 02/17/13        Entered
                                 Entered       05/07/13
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                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                   Pg
                                   90 78 of 161
                                      of 173
                                                                          EXECUTION COPY


           If to any Debtor, to counsel at the following address:

                    Weil, Gotshal & Manges LLP
                    767 Fifth Avenue
                    New York, New York 10153
                    Attn: Joseph H. Smolinsky, Esq.
                    Facsimile: (212) 310-8007

           If to any Consenting Secured Noteholder, the address set forth on its signature
           page, with a copy to:

                    Kirkland & Ellis LLP
                    601 Lexington Avenue
                    New York, New York 10022
                    Attn: Nicole L. Greenblatt, Esq.
                    Facsimile: (212) 446-6460

           If to the Consenting Lender, the address set forth on its signature page, with a
           copy to:

                    Milbank, Tweed, Hadley & McCloy LLP
                    1 Chase Manhattan Plaza
                    New York, New York 10005
                    Attn: Abhilash M. Raval, Esq.
                    Blair M. Tyson, Esq.
                    Michael E. Comerford, Esq.
                    Facsimile: (212) 822-5123

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                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                   Pg
                                   91 79 of 161
                                      of 173
13-22233-rdd
13-22233 DocDoc
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                Filed 02/17/13        Entered
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                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                   Pg
                                   92 80 of 161
                                      of 173


                                                                      ANNEX I



Ardee Music Publishing, Inc.
Direct Entertainment Media Group, Inc.
Haven Home Media, LLC
Home Service Publications, Inc.
Pegasus Sales, Inc.
Pleasantville Music Publishing, Inc.
R.D. Manufacturing Corporation
RD Publications, Inc.
RD Large Edition, Inc.
RDA Digital, LLC
RDA Sub Co.
RDCL, Inc.
RDWR, Inc. (formerly known as Weekly Reader Corporation)
Reader’s Digest Children’s Publishing, Inc.
Reader’s Digest Consumer Services, Inc.
Reader’s Digest Entertainment, Inc.
Reader’s Digest Financial Services, Inc.
Reader’s Digest Latinoamerica S.A.
Reader’s Digest Sales and Services, Inc.
Reiman Media Group, LLC
Reiman Manufacturing, LLC
Taste of Home Media Group, LLC
Taste of Home Productions, Inc.
Travel Publications, Inc.
W.A. Publications, LLC
WAPLA, LLC
Weekly Reader Custom Publishing, Inc.
World Almanac Education Group, Inc.
World Wide Country Tours, Inc.
WRC Media Inc.
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                   Exhibit A to Restructuring Support Agreement

                            Restructuring Term Sheet
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                           PROPOSED RESTRUCTURING TERM SHEET
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THIS TERM SHEET IS NOT AN OFFER OR A SOLICITATION WITH RESPECT TO ANY
SECURITIES OF THE COMPANY. ANY SUCH OFFER OR SOLICITATION WILL COMPLY WITH
ALL APPLICABLE SECURITIES LAWS AND/OR PROVISIONS OF THE BANKRUPTCY CODE. THIS
TERM SHEET CONTAINS MATERIAL NON-PUBLIC INFORMATION ABOUT A PUBLIC COMPANY
AND, THEREFORE, IS SUBJECT TO FEDERAL SECURITIES LAWS.

THE TERM SHEET IS PROVIDED IN THE NATURE OF A SETTLEMENT PROPOSAL IN
FURTHERANCE OF SETTLEMENT DISCUSSIONS AND IS SUBJECT IN ALL RESPECTS TO THE
NEGOTIATION, EXECUTION AND DELIVERY OF DEFINITIVE DOCUMENTATION, INCLUDING
ENTRY INTO AN ACCEPTABLE RESTRUCTURING SUPPORT AGREEMENT (THE “RSA”). THIS
TERM SHEET IS INTENDED TO BE ENTITLED TO THE PROTECTIONS OF RULE 408 OF THE
FEDERAL RULES OF EVIDENCE AND ANY OTHER APPLICABLE STATUTES OR DOCTRINES
PROTECTING THE USE OR DISCLOSURE OF CONFIDENTIAL INFORMATION AND
INFORMATION EXCHANGED IN THE CONTEXT OF SETTLEMENT DISCUSSIONS. FURTHER,
NOTHING IN THE TERM SHEET SHALL BE AN ADMISSION OF FACT OR LIABILITY OR DEEMED
BINDING ON HOLDING, ITS SUBSIDIARIES, THE ADMINISTRATIVE AGENT OR THE
CONSENTING SECURED PARTIES. THIS TERM SHEET IS PROVIDED IN CONFIDENCE AND MAY
BE DISTRIBUTED ONLY WITH THE EXPRESS WRITTEN CONSENT OF THE REQUIRED
CONSENTING SECURED PARTIES (AS DEFINED IN THE RSA).

                                                                    OVERVIEW
    Transaction Summary              This term sheet (the “Term Sheet”) describes the principal terms of a
                                     restructuring transaction (the “Restructuring”) pursuant to which RDA
                                     Holding Co. (“Holding” and once reorganized, “Reorganized Holding”) will
                                     restructure its capital structure and global operations in connection with a
                                     revised business plan acceptable to the Required Secured Parties (as defined
                                     below) (the “Acceptable Business Plan”). The Restructuring will be
                                     implemented through a pre-negotiated joint plan of reorganization filed in
                                     connection with cases (the “Cases”) commenced by Holding, The Reader’s
                                     Digest Association, Inc., (“RD” or the “Company”) and certain of RD’s
                                     domestic subsidiaries (collectively, the “Debtors”1 and excluding DEMG, the
                                     “Plan Debtors”) under chapter 11 of title 11 of the United States Code, 11
                                     U.S.C. §§ 101-1532 (the “Bankruptcy Code”) in the United States
                                     Bankruptcy Court for the Southern District of New York, White Plains
                                     Division (the “Bankruptcy Court”).

                                     This Term Sheet outlines the proposed capital structure, treatment of claims
                                     and interests and other material terms and conditions of the Restructuring.
                                     The Term Sheet does not include a description of all of the terms, conditions
                                     and other provisions that are to be contained in the definitive documentation
                                     governing the Restructuring, which remain subject to further discussion and
                                     negotiation and which must be reasonably acceptable to the Required

1     Debtors to specifically include Direct Entertainment Media Group, Inc. (“DEMG”).




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                          Consenting Secured Parties (as defined below). The terms and conditions of
                          this Term Sheet are meant to be part of a comprehensive agreement, each
                          element of which is consideration for the other elements and an integral
                          aspect of the proposed Restructuring.

                          This Term Sheet is an exhibit to that certain Restructuring Support
                          Agreement dated February 17, 2013 (the “RSA”) executed by the Debtors
                          and each of (i) the Consenting Lender (as defined herein) and (ii) the Secured
                          Noteholders party thereto (the “Consenting Secured Noteholders,” and
                          together with the Consenting Lender the “Consenting Secured Parties”).
                          Pursuant to the RSA, “Required Consenting Secured Parties” means the
                          Consenting Lender and the Required Consenting Secured Noteholders.
                          “Required Consenting Secured Noteholders” means the Consenting Secured
                          Noteholders holding at such time at least 51% of the Secured Notes that are
                          subject to the terms of the RSA.

 Secured Debt to be       Secured debt to be restructured under a plan of reorganization and a
 Restructured             disclosure statement (including all exhibits thereto) satisfactory to the
                          Required Consenting Secured Parties (the “Acceptable Plan” and the
                          “Acceptable Disclosure Statement,” respectively) will include:

                          (i) $49,625,000 in principal, plus outstanding letters of credit, plus all other
                          amounts outstanding (including, for the avoidance of doubt, fees,
                          commissions, premiums, expenses, indemnification amounts and interest
                          accrued prior to, on and after the commencement of the Cases) under that
                          certain Credit and Guarantee Agreement dated as of March 30, 2012 (the
                          “Credit Agreement”) among RD, Holding and certain of their affiliates, Wells
                          Fargo Bank, N.A., as administrative agent (“Administrative Agent”) and sole
                          lender (the “Consenting Lender”); and

                          (ii) $464 million in senior secured notes of RD (the “Secured Notes”) issued
                          pursuant to that certain indenture, dated February 11, 2010 (the “Indenture”)
                          among RD, certain of its subsidiaries and the lenders party thereto from time
                          to time (the “Secured Noteholders”).

 DIP Facility             To facilitate liquidity during the Cases and after, the Consenting Secured
                          Parties will provide an approximate $105 million consensual, priming, debtor
                          in possession financing facility (the “DIP Facility”) that will consist of:
                          (i) $45 million in new money loans (“New Money Loans”) provided by
                          certain Consenting Secured Noteholders; and
                          (ii) a refinancing of all commitments and amounts outstanding (including any
                          and all principal, letters of credit, reimbursement obligations in respect of
                          outstanding letters of credit (assuming drawn), fees, commissions, premiums,
                          expenses, indemnification amounts and interest accrued prior to, on and after
                          the commencement of the Cases, including to the issuing lender) under the
                          Credit Agreement (the “Refinancing Loans”);
                          all of (i) and (ii) to be paid in full in cash or convert to exit financing facilities
                          on the effective date of the Acceptable Plan (the “Effective Date”), as
                          described further below, in the DIP Commitment Letter, attached hereto as
                          Exhibit A, the DIP Term Sheet, the First Out Exit Term Sheet and the Second
                          Out Exit Term Sheet, attached as Annexes 1, 2 and 3, respectively, to the DIP
                          Commitment Letter.
                          All Consenting Secured Noteholders may participate in the New Money loans

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                           on a pro-rata basis based on their holdings under the Indenture.


 Lender Protections        Upon entry of the Interim DIP Order the Lender Protections as defined in
                           Annex 1 to the DIP Commitment Letter.

                           Upon entry of the Final DIP Order, the Lender Protections as defined in
                           Annex 1 to the DIP Commitment Letter.
 Adequate Protection for   See Annex 1 to the DIP Commitment Letter.
 Secured Noteholders
 Exit Capital Structure    The Acceptable Plan will provide for the following capital structure for the
                           Reorganized Debtors:

                           First Out Exit Term Loan: Subject to and in accordance with the terms and
                           conditions set forth on Annex 2 to the DIP Commitment Letter, the
                           Refinancing Loans and any obligations arising thereunder will be amended
                           and restated as a first out first priority exit term loan, pari passu with the
                           Second Out Exit Term Loan (the “First Out Exit Term Loan”).

                           Second Out Exit Term Loan: Subject to and in accordance with the terms and
                           conditions of the DIP Facility, the New Money Loans and any claims arising
                           thereunder will convert to a second out, first priority exit term loan of $45
                           million, with terms and conditions (set forth on Annex 3 to the DIP
                           Commitment Letter) (the “Second Out Exit Term Loan”).

                           Reorganized Holding shall have no more than $106 million in funded debt
                           immediately following the Effective Date of the Acceptable Plan.

                           New Common Stock: On the Effective Date, the Debtors will issue 100% of
                           the new common stock of Reorganized Holding to the Secured Noteholders
                           on a pro rata basis based on their holdings under the Indenture (subject to any
                           dilution for the Management Incentive Plan), which issuance will be exempt
                           from registration with the Securities and Exchange Commission under section
                           1145 of the Bankruptcy Code. No dividends, recoveries, securities,
                           distributions or other form of payments shall be made on account of or in
                           connection with the new common stock distributed to the Secured
                           Noteholders until all amounts owing in connection with the First Out Exit
                           Term Loan have been paid in full in cash and all commitments thereunder
                           have been terminated.

                                            Treatment of Claims and Equity Interests
 DIP Claims                The DIP Facility shall, on the Effective Date, convert to the (i) First Out Exit
                           Term Loan in accordance with the terms and conditions on Annex 2 to the
                           DIP Commitment Letter and (ii) Second Out Exit Term Loan, as applicable,
                           in accordance with the terms and conditions on Annex 3 to the DIP
                           Commitment Letter, or in each case be paid in full in cash if the terms and
                           conditions required for conversion are not satisfied; provided, however, that
                           the obligations under the First Out Exit Term Loan will always be paid in full
                           in cash by the Debtors.
                           Unclassified -- Non-Voting
 Administrative Claims     Each holder of an allowed administrative claim, including claims of the type
                           described in section 503(b)(9) of the Bankruptcy Code, will receive payment
                           in full in cash of the unpaid portion of its allowed administrative claim on the
                           Effective Date or as soon thereafter as practicable (or, if payment is not then

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                                due, shall be paid in accordance with its terms) or pursuant to such other
                                terms as may be agreed to by the holder of such claim and the Debtors.
                                Unclassified -- Non-Voting


 Priority Tax Claims            Priority tax claims will be treated in accordance with section 1129(a)(9)(C) of
                                the Bankruptcy Code.
                                Unclassified -- Non-Voting
 Other Priority Claims          All other priority claims will be paid in full (in cash) on the Effective Date, or
                                as soon thereafter as practicable, or treated in any other manner so that such
                                claim will otherwise be rendered unimpaired.
                                Unimpaired -- Deemed to Accept
 Prepetition Credit Agreement   All obligations under the Credit Agreement shall become Refinancing Loans
 Claims                         as set forth above in connection with entry of the Final DIP Order and all
                                Refinancing Loans and related obligations shall, on the Effective Date, be
                                amended and restated as the First Out Exit Term Loan in accordance with
                                Annex 2 to the DIP Commitment Letter so long as (and only so long as) the
                                terms and conditions required for such conversion are satisfied and otherwise
                                such obligations shall be paid in full in cash; provided, however, that the
                                Debtors may always elect to repay such obligations in full in cash.
                                Unclassified -- Non-Voting
 Prepetition Secured Notes      On the Effective Date, the Secured Noteholders shall convert their claims into
 Claims                         100% (subject to dilution by the Management Incentive Plan [and any equity
                                issued to such other creditor classes as may be agreed to by the Required
                                Consenting Secured Noteholders and the Debtors]) of the new common stock
                                of Reorganized Holding (the “New Common Stock”) to be issued and
                                outstanding on the Effective Date of the Acceptable Plan, with such New
                                Common Stock to be distributed on a pro rata basis in accordance with the
                                Secured Noteholders’ holdings of such prepetition obligations.
                                No dividends, recoveries, securities, distributions or other form of payments
                                shall be made on account of or in connection with the new common stock
                                distributed to the Secured Noteholders until all amounts owing in connection
                                with the First Out Exit Term Loan have been paid in full in cash and all
                                commitments thereunder have been terminated.
                                Impaired -- Entitled to vote.
 Other Secured Claims           Each holder thereof will receive the following treatment: (a) payment in full
                                (in cash) on the Effective Date or as soon thereafter as practicable;
                                (b) delivery of collateral securing any such claim and payment of any interest
                                required under section 506(b) of the Bankruptcy Code; or (c) such other
                                treatment as is necessary to satisfy section 1129 of the Bankruptcy Code.
                                Impaired -- Entitled to vote. The Debtors reserve the right to argue at
                                confirmation that Other Secured Claims are unimpaired.
 Unsecured Claims               Each holder of an unsecured claim (i.e., all claims not otherwise specifically
                                classified herein including any deficiency claim of the Secured Noteholders)
                                will receive their pro rata share of [TBD]. The Debtors may elect to separate
                                general unsecured claims into appropriate subclasses.
                                Impaired -- Entitled to vote.
 Existing Equity Interests      All existing common and preferred equity interests in Holding or other

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 (including warrants)           existing securities consisting of (or convertible into) equity interests in
                                Holding, including any warrants or vested or unvested options to purchase
                                equity interests in Holding, shall be extinguished as of the Effective Date. All
                                equity interests of Holding’s subsidiaries shall continue to be held by Holding
                                and the subsidiaries of Holding that hold such equity interests prior to the
                                commencement of the Cases.
                                Impaired; not entitled to vote – deemed to reject.
 Intercompany Claims            On the Effective Date, Holding will, at its discretion, reinstate or
                                compromise, as the case may be, intercompany claims between and among
                                Holding and its subsidiaries consistent with the Acceptable Business Plan and
                                the International Restructuring Transactions contemplated thereby; provided,
                                that each intercompany claim held by a non-debtor shall receive no less
                                favorable treatment than other general unsecured claims.
                                Impaired -- Entitled to Vote.
 Affiliate Actions              All subsidiaries and affiliates of Holding shall be required to file proofs of
                                claim in connection with the Cases so that their claims are discharged on the
                                Effective Date.


                                                                General Provisions
 Management Incentive           The Acceptable Plan will provide that promptly on or after the effective date,
 Programs                       equity awards (in the form of restricted stock, options or warrants) for up to
                                10% of the New Common Stock (on a fully diluted basis) of Reorganized
                                Holding will be granted to continuing employees of the Debtors and members
                                of the new board of directors (consistent with market terms) by the new board
                                of directors of Reorganized Holding, with pricing, vesting and exercise terms
                                to be determined by the new board upon consultation with the CEO. Such
                                equity awards shall be on terms reflective of a policy of rewarding the
                                contribution of management to the long-term financial performance of the
                                reorganized Debtors.
 Employee Matters               The Acceptable Plan will provide that, on or after the Effective Date,
                                Reorganized Holding shall implement the following employee incentive
                                programs on terms and conditions reasonably acceptable to the Required
                                Consenting Secured Noteholders (to be set forth in the Acceptable Plan
                                Supplement): (i) a supplemental pension credit plan, and (ii) a bonus pool to
                                be allocated by the CEO with the concurrence of the newly appointed board.
 Cancellation of Instruments,   On the Effective Date, except to the extent otherwise provided in the
 Certificates and Other         Acceptable Plan, all instruments, certificates and other documents evidencing
 Documents                      debt or equity interests in Holding or (as it relates to debt only) RD will be
                                cancelled, and the obligations of RD or Reorganized Holding and its
                                subsidiaries thereunder, or in any way related thereto, will be discharged;
                                provided that any and all indemnities provided in the Credit Agreement
                                (including, for the avoidance of doubt, the indemnities provided at section
                                4.05 thereunder) shall survive as Refinancing Loans; provided further that
                                any and all indemnities provided in the DIP Facility shall survive as First Out
                                Exit Term Loan obligations or Second Out Exit Term Loan obligations,
                                notwithstanding in each case the cancellation of the predecessor credit
                                agreement(s).




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 Issuance of New Securities;     On the Effective Date, or as soon as reasonably practicable thereafter,
 Execution of Acceptable Plan    Reorganized Holding will issue all securities, instruments, certificates and
 Documents                       other documents required to be issued pursuant to the Acceptable Plan.
 Executory Contracts and         The Acceptable Plan will specify which executory contracts and unexpired
 Unexpired Leases                leases will be assumed; all contracts not expressly assumed with the consent
                                 of the Required Consenting Secured Noteholders will be deemed rejected
                                 under the Acceptable Plan.
                                 Executory contracts will be renegotiated or rejected in a manner consistent
                                 with the Debtors’ Business Plan and reasonably acceptable to the Required
                                 Consenting Secured Noteholders.
 Resolution of Disputed Claims   The Acceptable Plan will provide for the resolution of disputed claims and
                                 any reserves therefor.
 Avoidance Actions and Other     The reorganized Debtors will retain all rights to commence and pursue any
 Litigation                      and all claims and causes of action arising under the sections 544, 545, 547,
                                 548 and 550 of the Bankruptcy Code (collectively, the “Avoidance Actions”)
                                 and other litigation.
                                 The Acceptable Plan will not provide for any funding of a litigation trust that
                                 can be used to fund litigation against the Released Parties.
 Exemption from Section 1145     The issuance of the New Common Stock in Reorganized Holding will be
                                 exempted from applicable securities laws and/or from SEC registration under
                                 section 1145 of the Bankruptcy Code.
 Tax Issues                      The Parties agree to use their commercially reasonable best efforts to
                                 complete the financial restructuring of the Debtors contemplated by this Term
                                 Sheet and the International Restructuring Transactions in a manner that best
                                 preserves the tax attributes of the Debtors in a manner reasonably satisfactory
                                 to the Required Consenting Secured Parties.
 Retention of Jurisdiction       The Acceptable Plan will provide for the retention of jurisdiction by the
                                 Bankruptcy Court for usual and customary matters.


                                      Corporate Governance/Charter Provisions/Registration Rights

 Board of Directors of           The board of directors of Reorganized Holding shall be comprised of 5
 Reorganized Holding             directors, including the CEO. The Required Consenting Secured Noteholders
                                 shall designate all such directors in consultation with the CEO.

 Reorganized Holding as a        Reorganized Holding shall be a private company upon the Effective Date.
 private company.

 Description of Capital Stock    From and after the Effective Date, subject to the right of the stockholders to
                                 amend the Certificate of Incorporation of Reorganized Holding after the
                                 Effective Date, Reorganized Holding shall have one class and one series of
                                 New Common Stock.

 Charter; Bylaws                 The charter and bylaws of each Debtor shall be restated consistent with
                                 section 1123(a)(6) of the Bankruptcy Code and otherwise in form and
                                 substance satisfactory to the Required Consenting Secured Parties.

 Registration Rights;            The supplement to the Acceptable Plan shall provide for a registration rights
 Stockholders Agreement          agreement and stockholders agreement with respect to the New Common
                                 Stock in material form and substance reasonably satisfactory to the Required

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                             Consenting Secured Noteholders; provided that the registration rights
                             agreement and stockholders agreement shall not adversely impact the
                             Consenting Lender’s First Out Exit Term Loan and its rights thereunder in
                             any manner and the Consenting Lender shall have consultation rights for both
                             documents.

                                                     Release and Related Provisions
 Releases                    The Acceptable Plan will provide for the releases contemplated in the RSA
                             and provide for mutual releases among the Administrative Agent, Consenting
                             Lender, the Consenting Secured Noteholders, the DIP Lenders, the Debtors
                             and their respective current and former directors, officers and professional
                             advisors of any and all claims or causes of action, known or unknown,
                             relating to any prepetition date acts or omissions.
                             The Plan Debtors’ release of third parties will be provided for in the
                             Acceptable Plan unless, after investigation, the Board of Directors determines
                             such release is inappropriate.
 Exculpation                 The Acceptable Plan will contain ordinary and customary exculpation
                             provisions among the Administrative Agent, Consenting Lender, the
                             Consenting Secured Noteholders, the DIP Lenders, the Debtors and their
                             respective directors, officers and professional advisors of any and all claims
                             or causes of action, known or unknown, relating to any prepetition date acts
                             or omissions.
 Indemnification             The Acceptable Plan (i) will contain ordinary and customary indemnification
                             provisions for indemnification of current and former directors and officers of
                             the Debtors to the extent of available D&O coverage and payable from the
                             proceeds of such D&O policies, including the advancing of defense costs
                             prior to final adjudication; provided, that, to the extent proceeds of such
                             policies are deemed property of the Debtors’ estates in the Chapter 11 Cases
                             the Debtors will use reasonable best efforts to seek relief from the Bankruptcy
                             Court to have them advanced and (ii) shall provide that the Debtors shall
                             maintain their current D&O insurance coverage in place as of the date of the
                             RSA for current and former directors and officers of the Debtors.
 Discharge                   The Acceptable Plan for all Plan Debtors will contain a full and complete
                             discharge from all claims and liabilities.
 Injunction                  The Acceptable Plan will contain ordinary and customary injunction
                             provisions.
 Compromise and Settlement   The Acceptable Plan will contain ordinary and customary compromise and
                             settlement provisions.




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                                                   Acceptable Plan Implementation
 Restructuring Support        The parties to the RSA shall have executed such agreement no later than
 Agreement & Definitive       February 17, 2013. The RSA shall be terminable upon the conditions
 Documentation                contained therein and the automatic stay arising pursuant to section 362 of the
                              Bankruptcy Code shall be deemed waived or modified for termination
                              purposes.
                              The Company and the Consenting Secured Parties shall, in good faith,
                              negotiate definitive documentation to implement the Restructuring
                              Transactions consistent with this Term Sheet and any related documentation,
                              including the Acceptable Plan, the Acceptable Plan Supplement, the
                              Acceptable Disclosure Statement, all post-Effective Date corporate
                              organization and governance documents and all other documents necessary to
                              effectuate the Restructuring Transactions.
 Motions & Other Bankruptcy   All motions and other filings with the Bankruptcy Court, including any
 Filings                      proposed orders (including without limitation the orders authorizing the
                              Debtors’ entry into the DIP Facility and approving the Acceptable Disclosure
                              Statement and confirming the Acceptable Plan) shall be in form and
                              substance reasonably acceptable to the Required Consenting Secured Parties.
                              The Debtors shall provide draft copies of all “first day” motions or
                              applications and other documents the Debtors intend to file with the
                              Bankruptcy Court (including the Plan, Disclosure Statement and all related
                              documents) to counsel for the Consenting Lender and the Consenting Secured
                              Noteholders, if reasonably practicable, at least two (2) days prior to the date
                              when the Debtors intend to file any such pleading or other document (and, if
                              not reasonably practicable, as soon as reasonably practicable prior to filing).
                                                               Conditions

 Certain Conditions           In addition to satisfaction of the Milestones set forth in the RSA and the
                              requirement that the RSA be in full force and effect and shall not have
                              terminated, the conditions precedent to confirmation and consummation of
                              the Acceptable Plan shall be set forth in the Acceptable Plan and shall
                              include:

                                   •   That no material adverse change arises regarding the feasibility of
                                       the Acceptable Plan on or after the Effective Date of this Support
                                       Agreement including, without limitations, the assertion of material
                                       contingent and/or unliquidated liabilities, as determined by the
                                       Required Consenting Secured Parties in their reasonable discretion;
                                       and

                                   •   The negotiation, execution and delivery of definitive documentation
                                       with respect to the Restructuring Transactions contemplated by this
                                       Term Sheet and the RSA reasonably acceptable to the Required
                                       Consenting Secured Parties.

                              Milestones set forth in RSA to include:
                                  •    Interim DIP Order within 5 days of Commencement Date;
                                  •    Final DIP Order within 40 days after entry of Interim DIP Order;
                                  •    Bar Date Order within 60 days after Petition Date
                                  •    Acceptable Plan filed within 25 days of the Commencement Date;


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                             •   Acceptable Disclosure Statement is approved by the Bankruptcy
                                 Court within 75 days of the Commencement Date;
                             •   The Acceptable Plan Supplement shall be filed on or before July 5,
                                 2013;
                             •   Acceptable Plan confirmed by July 15, 2013; and
                             •   Outside exit date of July 31, 2013.




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                       Exhibit A to Restructuring Term Sheet

                             DIP Commitment Letter




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                                                                                         February 17, 2013


The Reader’s Digest Association, Inc.
750 Third Avenue
New York, New York 10017

Attention: Paul Tomkins, Chief Financial Officer


                                           Commitment Letter

Ladies and Gentlemen:

        You have advised each of (i) Wells Fargo Principal Lending, LLC (“Wells Fargo”) and (ii)
Apollo Senior Floating Rate Fund Inc. (“Apollo”), Empyrean Capital Partners, LP (“Empyrean”),
GoldenTree Asset Management, LP (together with Apollo and Empyrean, the “NM Lenders” and,
together with Wells Fargo, the “Commitment Parties”, “us” or “we”) that RDA Holding, Inc., The
Reader’s Digest Association, Inc. together with its direct and indirect domestic subsidiaries (collectively,
“you” or the “Company”), are considering filing voluntary petitions under title 11 of the United States
Code (the “Bankruptcy Code”).

        Capitalized terms used but not defined herein are used with the meanings assigned to them in the
Summary of Terms and Conditions for Senior Secured Priming Debtor-in-Possession Credit Facility
attached hereto as Annex 1 (the “Term Sheet” and, together with this letter, collectively, this
“Commitment Letter”). As used herein, the term “Transactions” means, collectively, the entering into
and funding of a senior secured priming debtor-in-possession financing facility (the “DIP Facilities”),
comprised of (a) a term loan in the aggregate principal amount of $45 million (the “New Money Loan”)
and (b) a “roll-up” term loan and letter of credit facility in the aggregate principal amount specified for
the “Refinancing Loans” set forth in clause (b) of the section entitled “Commitments and Availability” in
the Term Sheet (collectively, the “Refinancing Loan” and, together with the New Money Loan, the
“Loans”), the refinancing of the credit facilities evidenced by the Existing Credit Agreement, the entering
into the Restructuring Support Agreement, and all other related transactions, including the payment of
fees and expenses in connection therewith.

1. Commitments

         In connection with the Transactions, (i) Wells Fargo is pleased to advise you of its commitment,
and hereby commits to provide 100% of the aggregate amount of the Refinancing Loan upon the terms
and conditions set forth in this Commitment Letter; and (ii) each of the undersigning NM Lenders is
pleased to advise you of its commitment, and hereby commits to provide the percentage of the New
Money Loan as set forth next to such NM Lender’s name on Schedule I hereto, upon the terms and
conditions set forth in this Commitment Letter. Each Commitment Party’s commitment hereunder is on a
several, and not joint, basis with any other Commitment Party.




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2. Titles and Roles

       It is agreed that an entity designated by the Commitment Parties (in consultation with the
Borrower) will act as sole administrative agent and collateral agent for the DIP Facilities.

        You agree that no other agents, co-agents, arrangers, co-arrangers, bookrunners, co-bookrunners,
managers or co-managers will be appointed, no other titles will be awarded and no compensation (other
than that expressly contemplated by the Term Sheet) will be paid in connection with the DIP Facilities
unless you and we shall so reasonably agree.

3. Information

         You hereby represent that (a) all information concerning you or any of your subsidiaries, other
than the Projections (as defined below), forward looking information and information of a general
economic or industry specific nature (the “Information”), that has been or will be made available to us by
you or any of your representatives in connection with the Transactions contemplated hereby, when taken
as a whole, does not or will not, when furnished to us, contain any untrue statement of a material fact or
omit to state a material fact necessary in order to make the statements contained therein not materially
misleading in light of the circumstances under which such statements are made (after giving effect to all
supplements and updates thereto from time to time) and (b) the financial and/or business projections and
other forward-looking information (the “Projections”) that have been or will be made available to us by
you or any of your representatives in connection with the Transactions contemplated hereby have been or
will be prepared in good faith based upon assumptions believed by you to be reasonable at the time
prepared (it being recognized by the Commitment Parties that such Projections are subject to significant
uncertainties and contingencies, many of which are beyond your control, that no assurances are given that
any particular Projections will be realized and such Projections are not to be viewed as facts and that
actual results during the period or periods covered by any such Projections may differ from the projected
results, and such differences may be material). You agree that if, at any time prior to the Closing Date,
you become aware that any of the representations in the preceding sentence is incorrect in any material
respect then you will promptly supplement the Information and the Projections so that such
representations are correct in all material respects under those circumstances.

4. Fees

        As consideration for the commitments and agreements of the Commitment Parties hereunder, you
agree to pay or cause to be paid the nonrefundable fees to the applicable Commitment Parties described in
the Term Sheet including, without limitation, Commitment Fees, Ticking Fees and Early Termination Fee
(together with the Commitment Fees and the Ticking Fees, the “Fees”), on the terms and subject to the
conditions set forth therein. You agree that, once paid, the fees or any part thereof payable hereunder
shall not be refundable under any circumstances, except as otherwise agreed in writing. All fees payable
hereunder shall be paid in immediately available funds and shall be in addition to reimbursement of our
out-of-pocket expenses as provided for in this Commitment Letter.

5. Conditions

         Each Commitment Party’s commitments and agreements hereunder are subject to the conditions
set forth in this letter and in the Term Sheet (a) under the heading “Conditions Precedent to Initial
Borrowings” and “Conditions Precedent to Full Availability”.

      Each Commitment Party’s commitments and agreements hereunder are further subject to (a) since
December 31, 2012, there not having been any change, condition, development or event that, individually

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                                  Pg 100
                                   112    of 161
                                       of 173


or in the aggregate, has had or could reasonably be expected to have a material adverse change in, or a
material adverse effect on, the operations, business, assets, properties, liabilities (actual or contingent) or
condition (financial or otherwise) of the Company and its subsidiaries, taken as a whole, other than as a
result of the commencement of the Borrower’s chapter 11 proceeding, any events causing the filing of the
Cases or any events which customarily occur following the commencement of a proceeding under
Chapter 11 of the Bankruptcy Code, (b) satisfaction of all your obligations hereunder to pay fees and
expenses when due and (c) your material compliance with all your obligations in this Commitment Letter
and the Restructuring Support Agreement.

6. Indemnification and Expenses

         You agree (a) to indemnify and hold harmless the Commitment Parties, their affiliates and their
respective directors, officers, employees, advisors, agents and other representatives (each, an
“indemnified person”) from and against any and all actual losses, claims, damages and liabilities to which
any such indemnified person may become subject arising out of or in connection with this Commitment
Letter, the DIP Facilities, the use of the proceeds thereof or the Transactions or any claim, litigation,
investigation or proceeding (a “Proceeding”) relating to any of the foregoing, regardless of whether any
indemnified person is a party thereto, whether or not such Proceedings are brought by you, your equity
holders, affiliates, creditors or any other person, and to reimburse each indemnified person upon demand
for any reasonable legal or other out-of-pocket expenses incurred in connection with investigating or
defending any of the foregoing (but limited, in the case of legal fees and expenses, to (i) one primary
counsel to such indemnified persons in respect of the NM Lenders and one primary counsel to such
indemnified persons in respect of Wells Fargo, (ii) in the event of conflicts of interest, additional counsels
to such affected indemnified persons, as necessary and (iii) local counsels as reasonably necessary in any
relevant jurisdictions), provided that the foregoing indemnity will not, as to any indemnified person,
apply to losses, claims, damages, liabilities or related expenses to the extent (x) they are found by a final
non-appealable judgment of a court of competent jurisdiction to arise from the willful misconduct, bad
faith or gross negligence of any indemnified person and (y) any dispute solely among indemnified
persons other than any claims against an indemnified person arising out of any act or omission of you or
any of your affiliates and (b) regardless of whether the Closing Date occurs, to reimburse within 10
business days of written demand each Commitment Party and its affiliates for all reasonable and
documented out-of-pocket expenses that have been invoiced (including reasonable and documented out-
of-pocket due diligence expenses, travel expenses, reasonable fees and reasonable documented out-of-
pocket expenses of professionals engaged in collateral reviews, appraisals and environmental reviews,
and reasonable fees, charges and disbursements of counsels; it being agreed that there may be one
primary counsel for Wells Fargo (presently Milbank, Tweed, Hadley & McCloy LLP) and one primary
counsel for the NM Lenders (presently Kirkland & Ellis LLP), and in each case any additional counsels
engaged in the event of conflicts, special counsels and local counsels as reasonably necessary in any
relevant jurisdiction) incurred in connection with the DIP Facilities and any related documentation
(including this Commitment Letter and the definitive financing documentation) or the administration,
amendment, modification, waiver or enforcement thereof. It is further agreed that each Commitment Party
shall only have liability to you (as opposed to any other person) and that each Commitment Party shall be
liable solely in respect of its own commitment to the DIP Facilities on a several, and not joint, basis with
any other Commitment Party. No indemnified person shall be liable for any damages arising from the use
by others of Information or other materials obtained through electronic, telecommunications or other
information transmission systems, except to the extent any such damages are found by a final judgment of
a court of competent jurisdiction to arise from the gross negligence, bad faith or willful misconduct of
such indemnified person. None of the indemnified persons or you, or any of your affiliates or the
respective directors, officers, employees, advisors, and agents of the foregoing shall be liable for any
indirect, special, punitive or consequential damages in connection with this Commitment Letter, the DIP


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                                  Pg 101
                                   113    of 161
                                       of 173


Facilities or the transactions contemplated hereby, provided that nothing contained in this sentence shall
limit your indemnity obligations to the extent set forth in this Section 6.

7. Sharing of Information, Absence of Fiduciary Relationship, Affiliate Activities

         You acknowledge that each Commitment Party (or an affiliate) may from time to time effect
transactions, for its own or its affiliates’ account or the account of customers, and hold positions in loans,
securities or options on loans or securities of you, or your affiliates. You also acknowledge that the
Commitment Parties and their respective affiliates have no obligation to use in connection with the
transactions contemplated hereby, or to furnish to you, confidential information obtained from other
companies or persons.

          You further acknowledge and agree that (a) no fiduciary, advisory or agency relationship between
you and the Commitment Parties is intended to be or has been created in respect of any of the transactions
contemplated by this Commitment Letter, irrespective of whether the Commitment Parties have advised
or are advising you on other matters, (b) the Commitment Parties, on the one hand, and you, on the other
hand, have an arm’s length business relationship that does not directly or indirectly give rise to, nor do
you rely on, any fiduciary duty to you or your affiliates on the part of the Commitment Parties, (c) you are
capable of evaluating and understanding, and you understand and accept, the terms, risks and conditions
of the transactions contemplated by this Commitment Letter, (d) you have been advised that the
Commitment Parties are engaged in a broad range of transactions that may involve interests that differ
from your interests and that the Commitment Parties have no obligation to disclose such interests and
transactions to you, (e) you have consulted your own legal, accounting, regulatory and tax advisors to the
extent you have deemed appropriate, (f) each Commitment Party has been, is, and will be acting solely as
a principal and, except as otherwise expressly agreed in writing by it and the relevant parties, has not
been, is not, and will not be acting as an advisor, agent or fiduciary for you, any of your affiliates or any
other person or entity and (g) none of the Commitment Parties has any obligation to you or your affiliates
with respect to the transactions contemplated hereby except those obligations expressly set forth herein or
in any other express writing executed and delivered by such Commitment Party and you or any such
affiliate.

8. Confidentiality

         This Commitment Letter is delivered to you on the understanding that neither this Commitment
Letter nor any of their terms or substance shall be disclosed by you, directly or indirectly, to any other
person except (a) to you and your officers, directors, employees, affiliates, members, partners,
stockholders, attorneys, accountants, agents and advisors on a need-to-know basis, (b) as may be required
(or necessary in connection with) in any legal, judicial or administrative proceeding (including, without
limitation, as may be required to obtain court approval in connection with any acts or obligations to be
taken pursuant to this Commitment Letter or the transactions contemplated hereby (in which case you
agree to inform us promptly thereof) and further that you may disclose this Commitment Letter to the
official committee of unsecured creditors appointed in any of the Company’s and its subsidiaries’
bankruptcy cases (collectively, the “Creditors’ Committee”) and its advisors and to any other official
committee appointed in any of the Company’s and its subsidiaries’ bankruptcy cases (collectively, the
“Committees”) or as otherwise required by applicable law or regulation or as requested by a
governmental authority (in which case you agree, to the extent permitted by law, to inform us promptly in
advance thereof) and (c) upon notice to the Commitment Parties, this Commitment Letter and the
existence and contents hereof may be disclosed in connection with any public filing requirement.




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                                  Pg 102
                                   114    of 161
                                       of 173


9. Miscellaneous

         This Commitment Letter shall not be assignable by you without the prior written consent of each
Commitment Party (and any purported assignment without such consent shall be null and void), is
intended to be solely for the benefit of the parties hereto and the indemnified persons and is not intended
to and does not confer any benefits upon, or create any rights in favor of, any person other than the parties
hereto and the indemnified persons to the extent expressly set forth herein. It is agreed that each of the
NM Lenders may at any time and from time to time assign all or any portion of its commitments
hereunder to one or more of its affiliates. It is agreed that Wells Fargo may at any time and from time to
time assign all or any portion of its commitments hereunder to one or more of its affiliates. The
Commitment Parties reserve the right to employ the services of their affiliates in providing services
contemplated hereby and to allocate, in whole or in part; to their affiliates certain fees payable to the
Commitment Parties in such manner as the Commitment Parties and their affiliates may agree in their sole
discretion. This Commitment Letter may not be amended or waived except by an instrument in writing
signed by you and each Commitment Party. This Commitment Letter may be executed in any number of
counterparts, each of which shall be an original, and all of which, when taken together, shall constitute
one agreement. Delivery of an executed signature page of this Commitment Letter by facsimile or
electronic transmission (e.g., “pdf” or “tif”) shall be effective as delivery of a manually executed
counterpart hereof. This Commitment Letter is the only agreement that has been entered into among us
and you with respect to the DIP Facilities and set forth the entire understanding of the parties with respect
thereto. This Commitment Letter, and any claim, controversy or dispute arising under or related to this
Commitment Letter, whether in tort, contract (at law or in equity) or otherwise, shall be governed by, and
construed and interpreted in accordance with, the laws of the State of New York without regard to conflict
of law principles that would result in the application of any law other than the State of New York.

         You and we hereby irrevocably and unconditionally submit to the exclusive jurisdiction of the
bankruptcy court having jurisdiction over the chapter 11 cases of the Company and its subsidiaries or, if
such court denies jurisdiction or the Company elects not to file cases under the Bankruptcy Code, then
any state or Federal court sitting in the Borough of Manhattan in the City of New York over any suit,
action or proceeding arising out of or relating to the Transactions or the other transactions contemplated
hereby, this Commitment Letter or the performance of services hereunder or thereunder. You and we
agree that service of any process, summons, notice or document by registered mail addressed to you or us
shall be effective service of process for any suit, action or proceeding brought in any such court. You and
we hereby irrevocably and unconditionally waive any objection to the laying of venue of any such suit,
action or proceeding brought in any such court and any claim that any such suit, action or proceeding has
been brought in any inconvenient forum. You and we hereby irrevocably agree to waive trial by jury in
any suit, action, proceeding, claim or counterclaim brought by or on behalf of any party related to or
arising out of the Transactions, this Commitment Letter or the performance of services hereunder or
thereunder.

        Each of the Commitment Parties hereby notifies you that, pursuant to the requirements of the
USA PATRIOT Act, Title III of Pub. L. 107-56 (signed into law on October 26, 2001) (the “PATRIOT
Act”), it is required to obtain, verify and record information that identifies each Borrower and each
Guarantor, which information includes names, addresses, tax identification numbers and other
information that will allow such Lender to identify each Borrower and each Guarantor in accordance with
the PATRIOT Act. This notice is given in accordance with the requirements of the PATRIOT Act and is
effective for the Commitment Parties and each Lender.

        The indemnification, fee, expense, jurisdiction and confidentiality provisions contained herein
shall remain in full force and effect regardless of whether definitive financing documentation shall be


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                                                             Main Document   Pg
                                  Pg 103
                                   115    of 161
                                       of 173


executed and delivered and notwithstanding the termination of this Commitment Letter or the
commitments hereunder.

         If the foregoing correctly sets forth our agreement, please indicate your acceptance of the terms of
this Commitment Letter by returning to us executed counterparts of this Commitment Letter not later than
the earlier of (a) 10:00 p.m., New York City time, on February 17, 2013 and (b) the time of the filing by
the Loan Parties of their petition or petitions under Chapter 11 of the Bankruptcy Code. This offer will
automatically expire at such time if we have not received such executed counterparts in accordance with
the preceding sentence. In the event that the initial borrowing under the DIP Facilities does not occur on
or before February 20, 2013, then this Commitment Letter and the commitments hereunder shall
automatically terminate unless we shall, in our discretion, agree to an extension. In addition, this
Commitment Letter and the commitments hereunder shall expire at (a) 5:00 p.m. (New York City time)
on February 18, 2013, unless the Loan Parties shall have theretofore filed voluntary petitions under
Chapter 11 of the Bankruptcy Code in the Court and (b) if such petitions have been filed by such time, at
11:59 p.m. (New York City time) on the date that is five (5) days after such filing, unless, prior to that
time, the Court shall have entered the Interim Order, the Borrower shall have paid to the Commitment
Parties the fees that are specified herein to be due upon such entry and the Borrower shall have entered
into definitive documentation with respect to the DIP Facilities. In the further event that the Interim Order
is entered, this Commitment Letter and the commitments hereunder shall expire 40 days after the entry of
the Interim Order unless the Final Order shall have been entered prior to the expiration of such 40-day
period.

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                                  Pg 104
                                   116    of 161
                                       of 173
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                                  Pg 105
                                   117    of 161
                                       of 173
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                                  Pg 106
                                   118    of 161
                                       of 173
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                                  Pg 107
                                   119    of 161
                                       of 173
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                                  Pg 108
                                   120    of 161
                                       of 173
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                                   121    of 161
                                       of 173
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                                                             Main Document   Pg
                                  Pg 110
                                   122    of 161
                                       of 173
                                                                                               Annex 1
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                                            Term Sheet
                                          February 17, 2013

                               Summary of Terms and Conditions for
                     Senior Secured Priming Debtor-in-Possession Credit Facility



I.     Parties

Borrower:                      The Reader’s Digest Association, Inc., a Delaware corporation (the
                               “Borrower”), which will be a debtor and debtor-in-possession in a case to
                               be filed under Chapter 11 of the United States Bankruptcy Code (the
                               “Bankruptcy Code”) (the “Borrower’s Case”) in the United States
                               Bankruptcy Court for the Southern District of New York, White Plains
                               Division (the “Bankruptcy Court”) (the date of the commencement of the
                               Cases, the “Petition Date”).

Guarantors:                    All obligations of the Borrower under the Definitive Documentation (as
                               defined below) (the “Obligations”) will be unconditionally guaranteed by
                               RDA Holding Co., a Delaware corporation (“Holding”), and by each
                               direct and indirect, existing and future domestic subsidiary of the
                               Borrower (collectively with Holding, the “Guarantors” and, together with
                               the Borrower, the “Loan Parties” or the “Debtors”), each of which will
                               be a debtor-in-possession in a case to be filed in the Bankruptcy Court
                               (the “Guarantors’ Cases”; together with the Borrower’s Case, the
                               “Cases”).

Administrative Agent
and Collateral Agent:          An entity to be selected by the Lenders in consultation with the Borrower
                               (in such capacity, the “Administrative Agent”).

DIP Lenders:                   Certain Secured Noteholders (as defined below) party to the commitment
                               letter dated February 17, 2013 to which this term sheet is attached (the
                               “Commitment Letter”) in respect of the New Money Loan (the “NM
                               Lenders”) and Wells Fargo Principal Lending, LLC (“Wells Fargo”) in
                               respect of the Refinancing Loan (the “Refinancing Loan Lender”,
                               together with the NM Lenders, collectively the “DIP Lenders”).

II.    Basic Terms

Commitments and
Availability:                  A senior secured priming debtor-in-possession credit facility (the “DIP
                               Facility”) comprised of (a) a term loan in the aggregate principal amount
                               of $45 million (the “New Money Loan”) and (b) a refinancing term loan
                               and letter of credit facility in the aggregate amount (of approximately
                               $60 million) equal to the sum of (i) $49,625,000 plus (ii) the aggregate
                               amount of all letters of credit outstanding under the Existing Credit
                               Agreement as of February 17, 2013 equal to $9,516,267 plus (iii) the


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                                                             Main Document   Pg
                                  Pg 111
                                   123    of 161
                                       of 173
                                                                                         Annex 1
                                             Subject to Rule 408 of the Federal Rules of Evidence
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                        aggregate amount of all outstanding and unpaid fees, letter of credit
                        standby fees and commissions, premiums, expenses, indemnification
                        amounts and interest accrued prior to, on and after the commencement of
                        the Cases (as defined below) under the Existing Credit Agreement and
                        immediately prior to the date when the Refinancing Loans become
                        effective (collectively, the “Refinancing Loan” and, together with the
                        New Money Loan, the “Loans”), it being understood that the
                        indemnification obligations under the Existing Credit Agreement will
                        survive as obligations under the DIP Facility notwithstanding the
                        refinancing or termination of the facilities under the Existing Credit
                        Agreement. During the period commencing on the Closing Date (as
                        defined below) and ending on the date of entry of the Final Order (as
                        defined below) (such period, the “Interim Period”), a portion of the New
                        Money Loan in an amount equal to $11 million (or such lower amount as
                        may be ordered by the Bankruptcy Court) shall be available to the
                        Borrower and borrowed in one draw on the Closing Date, subject to
                        compliance with the terms, conditions and covenants described in this
                        Summary of Terms and Conditions (this “Term Sheet”).

                        Upon the Bankruptcy Court’s entry of the Final Order (such date
                        hereinafter being referred to as the “Final Order Entry Date”), the
                        remaining amount of the New Money Loan and the full amount of the
                        Refinancing Loan shall be borrowed within two (2) business days of the
                        Final Order Entry Date, subject to compliance with the terms, conditions
                        and covenants described in this Term Sheet and the Definitive
                        Documentation.

Amortization:           None.

Term:                   Borrowings shall be repaid in full in cash, and the remaining
                        commitments, if any, shall terminate, at the earliest of (a) October 31,
                        2013, (b) the 40th day after the entry of the Interim Order (as defined
                        below) (or such later date agreed to by the Required DIP Lenders (as
                        defined below)) if the Final Order has not been entered prior to the
                        expiration of such period, (c) the effective date of a Chapter 11 plan of
                        reorganization that has been confirmed pursuant to an order entered by
                        the Bankruptcy Court or any other court having jurisdiction over the
                        Cases (the “Effective Date”) and (d) the acceleration of the Loans or
                        termination of the commitments in accordance with the Credit
                        Agreement (as defined below) (such earliest date, the “Termination
                        Date”). To the extent not otherwise terminated pursuant to the
                        foregoing, the unused Commitments shall terminate on the date that is
                        five (5) business days after the Final Order Entry Date. Any
                        confirmation order entered in the Cases shall not discharge or otherwise
                        affect in any way any of the obligations of the Loan Parties to the DIP
                        Lenders under the DIP Facility and the Definitive Documentation other
                        than after the payment in full and in cash to the DIP Lenders of all
                        principal, interest and all other obligations under the DIP Facility and the
                        Definitive Documentation on or before the effective date of a plan of
                        reorganization and the termination of the Commitments (except as

                                            2
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                                                             Main Document   Pg
                                  Pg 112
                                   124    of 161
                                       of 173
                                                                                         Annex 1
                                             Subject to Rule 408 of the Federal Rules of Evidence
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                        provided under “Exit Financing” below).

Exit Financing:         The Refinancing Loan Lender agrees that, on the date of consummation
                        of a plan of reorganization, subject to the satisfaction of the applicable
                        conditions set forth in the “First Out Exit Facility Term Sheet” attached
                        to the Commitment Letter as Annex 2 (the “First Out Exit Facility Term
                        Sheet”) and otherwise in accordance therewith and pursuant to the terms
                        of the definitive documentation thereof, the Refinancing Loans shall be
                        continued as or converted into, exit financing of the reorganized Debtors
                        (or if the Refinancing Loans are not continued or converted into exit
                        financing such Refinancing Loans shall be paid in full in cash upon
                        consummation of such plan of reorganization). The NM Lenders agree
                        that, on the date of consummation of a plan of reorganization, subject to
                        the satisfaction of the applicable conditions set forth in the “Second Out
                        Exit Facility Term Sheet” attached to the Commitment Letter as Annex 3
                        (the “Second Out Exit Facility Term Sheet”) and otherwise in accordance
                        therewith and pursuant to the terms of the definitive documentation
                        thereof, the New Money Loans shall be continued as or converted into,
                        exit financing of the reorganized Debtors (or if the New Money Loans
                        are not continued or converted into exit financing such New Money
                        Loans shall be paid in full in cash upon consummation of such plan of
                        reorganization).

                        Notwithstanding the foregoing and that the scheduled final maturity of
                        the Refinancing Loan extends beyond the date that is 180 days after the
                        Petition Date, the commitment of Wells Fargo Principal Lending, LLC
                        under the Restructuring Support Agreement and the First Out Exit
                        Facility Term Sheet to provide the First Out Exit Facility Term Loans (as
                        such terms are defined in the Restructuring Support Agreement) shall
                        automatically terminate on the date that is 180 days after the Petition
                        Date.

                        It is understood and agreed that each DIP Lender’s commitment herein in
                        respect of such exit financing is on a several, and not joint, basis with
                        any other DIP Lenders.

Closing Date:           Closing and initial funding to occur as promptly as is practicable after the
                        entry of the Interim Order but no later than two (2) business days after
                        such entry (the “Closing Date”).

Purpose:                The proceeds of the Loans shall be used: (1) in respect of the New
                        Money Loan, (a) for working capital and other general corporate
                        purposes of the Borrower, the other Loan Parties and their respective
                        subsidiaries in accordance with, and subject to the limitations in, the
                        Cash Flow Forecast, (b) to pay transaction costs, fees and expenses
                        incurred in connection with the DIP Facility and the transactions
                        contemplated thereunder and hereby (it being understood and agreed that
                        no proceeds of the Loans may be used to fund any subsidiary that is not a
                        Loan Party) and (c) to pay the Noteholder Protections (as defined below),
                        the Lender Protections (as defined below) and other adequate protection

                                            3
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                                         02/17/13       21:53:30
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                                                             Main Document   Pg
                                  Pg 113
                                   125    of 161
                                       of 173
                                                                                        Annex 1
                                            Subject to Rule 408 of the Federal Rules of Evidence
                                                                                Execution Copy

                        expenses, if any, to the extent set forth in the Interim Order; and (2) in
                        respect of the Refinancing Loan, to repay in full the loans and
                        obligations outstanding under the credit facilities evidenced by that
                        certain Credit and Guarantee Agreement dated as of March 30, 2012,
                        among Holding, the Borrower, the lenders party thereto and Wells Fargo
                        Bank, N.A., as administrative agent for the lenders (as amended, the
                        “Existing Credit Agreement”), including rolling up the aggregate amount
                        of all letters of credit outstanding under the Existing Credit Agreement as
                        of February 17, 2013, the aggregate amount of all outstanding and
                        unpaid fees, letter of credit standby fees and commissions, premiums,
                        expenses, indemnification amounts and interest accrued prior to, on and
                        after the commencement of the Cases under the Existing Credit
                        Agreement and immediately prior to the date when the Refinancing
                        Loans become effective (provided, that, no unused letter of credit
                        commitments will be rolled up; rather all unused commitments shall be
                        deemed to terminate simultaneously with the effectiveness of the
                        Refinancing Loans); it being understood that the indemnification
                        obligations under the Existing Credit Agreement will survive as
                        obligations under the DIP Facility notwithstanding the refinancing or
                        termination of the facilities under the Existing Credit Agreement. The
                        proceeds of Loans may not be used in connection with the investigation
                        (including discovery proceedings), initiation or prosecution of any
                        claims, causes of action, adversary proceedings or other litigation against
                        the DIP Lenders, the Administrative Agent or any of the Secured
                        Noteholders or Wells Fargo.

Priority and Liens:     All borrowings by the Borrower and other Obligations of the Borrower
                        under the DIP Facility (and all guaranties by the Guarantors) shall,
                        subject to the Carve-Out (defined below), at all times:

                        (i)     pursuant to Section 364(c)(1) of the Bankruptcy Code, be
                                entitled to joint and several superpriority administrative expense
                                claim status in the Cases;

                        (ii)    pursuant to Section 364(c)(2) of the Bankruptcy Code, be
                                secured by a perfected first priority lien on all property of the
                                Debtors’ respective estates in the Cases and the proceeds thereof
                                (including, without limitation, inventory, accounts receivable,
                                general intangibles, chattel paper, intercompany loans, notes and
                                balances, owned real estate, real property leaseholds, fixtures
                                and machinery and equipment, deposit accounts, patents,
                                copyrights, trademarks, tradenames, rights under license
                                agreements, and other intellectual property, avoidance action
                                claims and the proceeds thereof, and capital stock of subsidiaries
                                (including 100% of the issued and outstanding non-voting equity
                                interests in any first tier foreign subsidiary and no more than
                                65% of issued and outstanding voting equity interests in any first
                                tier foreign subsidiary) (collectively, the “Collateral”) that is not
                                subject to valid, perfected and non-avoidable liens as of the
                                commencement of the Cases;

                                            4
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                                         02/17/13       21:53:30
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                                                             Main Document   Pg
                                  Pg 114
                                   126    of 161
                                       of 173
                                                                                        Annex 1
                                            Subject to Rule 408 of the Federal Rules of Evidence
                                                                                Execution Copy

                        (iii)   pursuant to Section 364(c)(3) of the Bankruptcy Code, be
                                secured by a perfected junior lien on all Collateral of the
                                Debtors’ respective estates in the Cases, that is subject to valid,
                                perfected and non-avoidable liens in existence at the time of the
                                commencement of the Cases or to valid liens in existence at the
                                time of such commencement that are perfected subsequent to
                                such commencement as permitted by Section 546(b) of the
                                Bankruptcy Code (other than property that is subject to the
                                existing liens that secure obligations under the agreements
                                referred to in clauses (1), (2) and (3) of clause (iv) hereof, which
                                liens shall be primed by the liens to be granted to the
                                Administrative Agent as described in such clause); and

                        (iv)    pursuant to Section 364(d)(1) of the Bankruptcy Code, be
                                secured by a perfected first priority, senior priming lien on all of
                                the Collateral of the Debtors’ respective estates in the Cases that
                                is subject to the existing liens that secure the obligations of the
                                Loan Parties under or in connection with the Existing Credit
                                Agreement, and the senior secured notes issued pursuant to that
                                certain indenture, dated February 11, 2010 (“Indenture”) by and
                                among the Borrower, certain of its affiliates and the purchasers
                                party thereto from time to time (the “Secured Noteholders”) and
                                all of which existing liens (the “Existing Primed Secured
                                Facilities”; the liens thereunder, the “Primed Liens”) shall be
                                primed by and made subject and subordinate to the perfected
                                first priority senior liens to be granted to the Administrative
                                Agent, which senior priming liens in favor of the Administrative
                                Agent shall also prime any liens granted after the
                                commencement of the Cases to provide adequate protection in
                                respect of any of the Primed Liens but shall not prime liens, if
                                any, to which the Primed Liens are subject at the time of the
                                commencement of the Cases.

                        subject, in each case, only to the Carve Out.

                        For purposes hereof, the term “Carve Out” shall mean the sum of: (i) all
                        fees required to be paid to the Clerk of the Bankruptcy Court and to the
                        Office of the United States Trustee under section 1930(a) of title 28 of
                        the United States Code and section 3717 of title 31 of the United States
                        Code, (ii) all unpaid professional fees and disbursements incurred by the
                        Debtors and any statutory committees appointed in the Cases prior to the
                        occurrence of an Event of Default and notice thereof delivered to the
                        Borrower to the extent allowed by the Bankruptcy Court at any time, and
                        (iii) at any time after the occurrence of an Event of Default and notice
                        thereof delivered to the Borrower, to the extent allowed at any time,
                        whether before or after delivery of such notice, whether by interim order,
                        procedural order or otherwise, the payment of accrued and unpaid
                        professional fees, costs and expenses (collectively, the “Professional
                        Fees”) incurred by persons or firms retained by the Debtors and the
                        Committee and allowed by this Court, not in excess of $2,500,000 for the

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                                         02/17/13       21:53:30
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                                                             Main Document   Pg
                                  Pg 115
                                   127    of 161
                                       of 173
                                                                                           Annex 1
                                               Subject to Rule 408 of the Federal Rules of Evidence
                                                                                   Execution Copy

                          Debtors’ professionals and the Committee’s professionals (the “Carve
                          Out Cap”); provided that the Carve Out Cap shall be inclusive of any
                          professional fees, costs and expenses incurred by any Chapter 7 trustee,
                          such professional fees, costs and expenses in an amount not to exceed
                          $25,000 in the aggregate; provided further that the Carve Out shall not be
                          available to pay any such Professional Fees incurred in connection with
                          the initiation or prosecution of any claims, causes of action, adversary
                          proceedings or other litigation against the DIP Agent, the DIP Lenders,
                          the Secured Noteholders or the lender under the Existing Credit
                          Agreement and nothing herein shall impair the right of any party to
                          object to the reasonableness of any such fees or expenses to be paid by
                          the Debtors’ estates.

                          All of the liens described above shall be effective and perfected as of the
                          Interim Order Entry Date pursuant to the Interim Order and without the
                          necessity of possession of any possessory collateral or the execution of
                          mortgages, security agreements, pledge agreements, financing statements
                          or other agreements, in each case subject to the terms and conditions set
                          forth in the Interim Order.

                          Both the New Money Loan and the Refinancing Loan will be secured
                          with the same Collateral, with pari passu ranking.

Payment Priority:         The New Money Loan and the Refinancing Loan shall rank pari passu in
                          terms of right to payment.

Noteholders Protection:   The noteholders under the Indenture (the “Primed Noteholders”) whose
                          liens are primed as described in clause (iv) of “Priority and Liens” above,
                          shall receive adequate protection of their interest in their prepetition
                          collateral pursuant to Sections 361, 363(c)(2), 363(e) and 364(d)(1) of
                          the Bankruptcy Code, in an amount equal to the aggregate diminution in
                          value of the Primed Noteholders’ respective prepetition collateral
                          including, without limitation, any such diminution resulting from the
                          imposition of, and payments benefitting from, the Carve-Out, the
                          imposition of the automatic stay, the implementation of the DIP Facility
                          and the priming of the Primed Noteholders’ liens on the prepetition
                          collateral, the sale, lease or use by the Debtors (or other decline in value)
                          of the prepetition collateral (including cash collateral), all of which
                          adequate protection must be satisfactory to the NM Lenders, including
                          the following: (i) a superpriority claim as contemplated by Section
                          507(b) of the Bankruptcy Code immediately junior to the claims under
                          Section 364(c)(1) of the Bankruptcy Code held by the Administrative
                          Agent and the DIP Lenders; provided however that the Primed
                          Noteholders shall have irrevocably agreed, pursuant to Section
                          1129(a)(9) of the Bankruptcy Code, in any stipulation and/or order
                          granting such adequate protection, that such junior superpriority claims
                          may be paid under any plan of reorganization in any combination of
                          cash, debt, equity or other property having a value on the effective date
                          of the plan equal to the allowed amount of such claims, (ii) a replacement
                          lien on the Collateral, which adequate protection lien shall have a priority

                                              6
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                                         02/17/13       21:53:30
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                                                             Main Document   Pg
                                  Pg 116
                                   128    of 161
                                       of 173
                                                                                         Annex 1
                                             Subject to Rule 408 of the Federal Rules of Evidence
                                                                                 Execution Copy

                        immediately junior to the liens granted pursuant to Sections 364(c)(2),
                        364(c)(3) and 364(d)(1) of the Bankruptcy Code in favor of the
                        Administrative Agent for the benefit of the DIP Lenders, (iii) the
                        payment of the reasonable fees and expenses incurred by (1) one primary
                        counsel (and any conflicts, special or local counsel retained)for
                        Wilmington Trust FSB as the collateral agent under the Existing Primed
                        Secured Facilities, and the continuation of the payment on a current basis
                        of the agency fee (to the extent owing) provided for under the Indenture
                        (and the other related definitive documentation) and (2) one primary
                        counsel (and any conflicts, special or local counsel retained) and one
                        financial advisor for the ad hoc committee of the Secured Noteholders,
                        and (iv) such other adequate protection as the Bankruptcy Court may
                        order (collectively, the “Noteholder Protections”).

Lender Protections      The lender under the Existing Credit Agreement (the “Primed Lender”)
                        in exchange for consenting to having its liens primed as described in
                        clause (iv) of “Priority and Liens” above, consenting to providing Exit
                        Financing on terms and conditions specified herein, consenting to
                        executing the Restructuring Support Agreement and the Restructuring
                        Transactions (as defined in the Restructuring Support Agreement) and
                        adequate protection of their interest in their prepetition collateral
                        pursuant to Sections 361, 363(c)(2), 363(e) and 364(d)(1) of the
                        Bankruptcy Code, in an amount equal to the aggregate diminution in
                        value of the Primed Lender’s respective prepetition collateral including,
                        without limitation, any such diminution resulting from the imposition of,
                        and payments benefitting from, the Carve-Out, the imposition of the
                        automatic stay, the implementation of the DIP Facility and the priming of
                        its liens on the prepetition collateral, the sale, lease or use by the Debtors
                        (or other decline in value) of the prepetition collateral (including cash
                        collateral), shall receive the following: (a) upon entry of the Interim
                        Order (i) current cash pay of interest fees and commissions (including,
                        for the avoidance of doubt, any accrued pre- and post-petition interest
                        and letter of credit fees and commissions at the non-default rate under the
                        Existing Credit Agreement, (ii) payment of all unreimbursed reasonable
                        and documented advisor fees and expenses of the Primed Lender
                        including that of former counsel (and any conflicts, special or local
                        counsel retained, if any) whether pre- or post-petition, (iii) current pay of
                        all reasonable fees and expenses of the Primed Lender during the Cases
                        (including for one primary counsel (and any conflicts, special or local
                        counsel retained)), (iv) a superpriority claim as contemplated by Section
                        507(b) of the Bankruptcy Code immediately junior only to the claims
                        under Section 364(c)(1) of the Bankruptcy Code held by the
                        Administrative Agent, the DIP Lenders and to the New Money Loan, (v)
                        a replacement lien on the Collateral, which adequate protection lien shall
                        have a priority immediately junior to only the liens granted pursuant to
                        Sections 364(c)(2), 364(c)(3) and 364(d)(1) of the Bankruptcy Code in
                        favor of the Administrative Agent for the benefit of the DIP Lenders, (vi)
                        and the continuation of the payment on a current basis of the agency fee
                        (to the extent owing) to Wells Fargo as the administrative agent under
                        the Existing Credit Agreement to the extent provided for under the

                                             7
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                                                             Main Document   Pg
                                  Pg 117
                                   129    of 161
                                       of 173
                                                                                                Annex 1
                                                    Subject to Rule 408 of the Federal Rules of Evidence
                                                                                        Execution Copy

                                Existing Credit Agreement (and the other related definitive
                                documentation) and (vii) and such other adequate protection as the
                                Bankruptcy Court may order and (b) upon entry of the Final Order (i) the
                                Refinancing Loans and (ii) other Priorities and Liens granted under this
                                Term Sheet (collectively, the "Lender Protections").

Nature of Fees:                 Non-refundable and fully earned when paid under all circumstances.

III.    Prepayment Provisions

Optional Prepayments and
Commitment Reductions:          Loans may be prepaid and commitments may be reduced in minimum
                                amounts to be agreed upon, subject to the Early Termination Fee
                                (referenced below), as applicable. Optional prepayment of the Loans
                                shall be applied ratably to the Loans outstanding. No prepayment of the
                                Loans may be reborrowed.

Mandatory Prepayments:          Subject to the reinvestment exception described below, the following
                                amounts shall be applied to prepay the Loans:

                                        •   100% of the net cash proceeds from the incurrence of
                                            indebtedness (other than certain permitted indebtedness to be
                                            agreed) after the Closing Date by Holding or any of its
                                            subsidiaries; and

                                        •   100% of the net cash proceeds of any sale or other
                                            disposition (including (a) by issuance or sale of stock of
                                            Holding or any of its subsidiaries, (b) as a result of casualty
                                            or condemnation, net of remediation or replacement costs
                                            and (c) any extraordinary receipts) by Holding or any of its
                                            subsidiaries of any assets (except for sales of inventory in
                                            the ordinary course of business and certain other dispositions
                                            and exceptions to be agreed on);

                                provided that in the absence of a default or event of default under the
                                Definitive Documentation, the Loan Parties shall be permitted to reinvest
                                (or commit to reinvest) such proceeds not exceeding $15 million in the
                                aggregate within six (6) months after the receipt of the proceeds in each
                                case subject to the terms and conditions of the Definitive Documentation.

                                The prepayment amounts shall be applied to pay down the New Money
                                Loan and the Refinancing Loan on a pro rata basis.

                                The DIP Lenders may have the option to decline the mandatory
                                prepayments in their sole discretion.

IV.     Interest and Certain Fees

Interest Rate:                  Refinancing Loan:



                                                    8
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                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 118
                                   130    of 161
                                       of 173
                                                                                         Annex 1
                                             Subject to Rule 408 of the Federal Rules of Evidence
                                                                                 Execution Copy

                                 LIBO Rate (with a floor of 3.0%) plus 5.0% per annum

                                 Base Rate (with a floor of 4.0%) plus 4.0% per annum

                         New Money Loan:

                                 LIBO Rate (with a floor of 1.50%) plus 9.50% per annum

                                 Base Rate (with a floor of 2.50%) plus 8.50% per annum

                         As used herein:

                         “LIBO Rate” has the meaning as defined in the Existing Credit
                         Agreement but with a floor of 3.0% for the Refinancing Loan and 1.50%
                         for the New Money Loan. “Base Rate” has the meaning as defined in the
                         Existing Credit Agreement but with a floor of 4.0% for the Refinancing
                         Loan and 2.50% for the New Money Loan.

Default Rate:            Upon the occurrence and during the continuance of an Event of Default
                         under the Credit Agreement, interest shall accrue on the outstanding
                         amount of the obligations under the Credit Agreement and shall be
                         payable on demand at 2.0% per annum above the then applicable rate.

Commitment Fees:         The Borrower shall pay to the Administrative Agent for the account of
                         the NM Lenders providing the New Money Loan, commitment fees in an
                         amount equal to 2.0% of the aggregate amount of the commitments in
                         respect of the New Money Loan (i.e., $45 million) on the Closing Date.

Ticking Fees:            For the period of time from the 30th day after the Petition Date through
                         and including the date when the Borrower shall borrow the full amount
                         of the New Money Loan (the “Full Funding Date”), the Borrower shall
                         pay a fee equal to 4.75% per annum over the daily average of the
                         undrawn amount of the New Money Loan (i.e., the difference between
                         $45 million and the amount of the New Money Loan borrowed on the
                         Closing Date).

Early Termination Fee:   In the event that the Borrower shall prepay the New Money Loan in part
                         or in full, or reduce or terminate any commitment in respect of the NM
                         Loan in part or in full, prior to 60 days after the Petition Date, the
                         Borrower shall pay the NM Lenders an early termination fee in the
                         amount equal to (a) in the case of prepayment in full or reduction of
                         commitment in full, 2% of the aggregate principal amount of the total
                         commitment for the New Money Loan (i.e., $45 million), and (b) in the
                         case of partial prepayment or commitment reduction, 2% of the
                         aggregate principal amount of the New Money Loan commitment so
                         reduced or the New Money Loan so prepaid; in each case due and
                         payable at the time of such prepayment or reduction.

Rate and Fee Basis:      All per annum rates shall be calculated on the basis of a year of 360 days
                         for actual days elapsed, provided that computations of interest for Base


                                             9
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                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 119
                                   131    of 161
                                       of 173
                                                                                            Annex 1
                                                Subject to Rule 408 of the Federal Rules of Evidence
                                                                                    Execution Copy

                            Rate Loans when the Base Rate is determined by the prime rate shall be
                            made on the basis of the number of actual days elapsed in a year of 365
                            or 366 days, as the case may be.

V.     Certain Conditions

Conditions Precedent to
Initial Borrowings:         The obligations of the DIP Lenders to make Loans under the DIP Facility
                            will be subject to the following conditions precedent:

                            (a) The Bankruptcy Court shall have entered, upon motion in form and
                            substance reasonably satisfactory to the DIP Lenders and the
                            Administrative Agent, an interim order no later than five (5) calendar
                            days after the Petition Date (or such later date agreed to by the Required
                            DIP Lenders), approving and authorizing the DIP Facility, all provisions
                            thereof and the priorities and liens granted under Bankruptcy Code
                            Section 364(c) and (d), as applicable, in form and substance satisfactory
                            to the Administrative Agent, Wells Fargo and the Secured Noteholders
                            party to the Commitment Letter, in their sole discretion, and including
                            without limitation, provisions (i) modifying the automatic stay to permit
                            the creation and perfection of the liens in favor of the DIP Lenders on the
                            Collateral; (ii) providing for the automatic vacation of such stay to
                            permit the enforcement of the DIP Lenders’ remedies under the DIP
                            Facility, including without limitation the enforcement, upon five (5)
                            business days’ prior written notice, of such remedies against the
                            Collateral; (iii) prohibiting the incurrence of debt with priority equal to
                            or greater than the DIP Lenders’ under the DIP Facility, except as
                            expressly provided in the Definitive Documentation; (iv) prohibiting any
                            granting or imposition of liens other than liens acceptable to the
                            Required DIP Lenders except as expressly provided in the Definitive
                            Documentation; (v) priming the liens of the lenders and holders under
                            the Existing Primed Secured Facilities and granting the Noteholder
                            Protections, the Lender Protections and other adequate protection for
                            such priming in the form of liens, superpriority administrative expense
                            claims and other payments and obligations as described in the “Priority
                            and Liens” section of this Term Sheet and authorizing the use of cash
                            collateral in accordance with the terms hereof; (vi) authorizing and
                            approving the DIP Facility and the transactions contemplated hereby,
                            including without limitation the granting of the superpriority claims, the
                            first-priority and priming security interests and liens upon the Collateral
                            and the payment of all fees and expenses due to the DIP Lenders and the
                            Administrative Agent; (vii) finding that the DIP Lenders are extending
                            credit to the Borrower in good faith within the meaning of Section 364(e)
                            of the Bankruptcy Code; (viii) authorizing interim extensions of credit in
                            amounts acceptable to the Required NM Lenders and currently expected
                            to be $11 million; and (ix) containing a determination by the Bankruptcy
                            Court that, subject to an investigation period by the official creditors’
                            committee, the liens securing the Existing Primed Secured Facilities are
                            valid and unavoidable (with a finding that the Debtors stipulate and agree
                            that the liens securing the Existing Primed Secured Facilities are valid

                                               10
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                                         02/17/13       21:53:30
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                                                             Main Document   Pg
                                  Pg 120
                                   132    of 161
                                       of 173
                                                                                         Annex 1
                                             Subject to Rule 408 of the Federal Rules of Evidence
                                                                                 Execution Copy

                        and unavoidable and that the obligations under the Existing Primed
                        Secured Facilities are valid, binding and enforceable in accordance with
                        the terms therein) (such interim order being referred to as the “Interim
                        Order”, and the date of entry of the Interim Order being hereinafter
                        referred to as the “Interim Order Entry Date”);

                        (b) The Interim Order shall not have been reversed, modified, amended,
                        stayed or vacated, in the case of any modification or amendment, in a
                        manner, or relating to a matter, without the consent of the DIP Lenders;

                        (c) The Loan Parties shall be in compliance in all respects with the
                        Interim Order;

                        (d) The Cases shall have been commenced in the Bankruptcy Court and
                        all of the “first day orders” and all related pleadings to be entered at the
                        time of commencement of the Cases or shortly thereafter, including in
                        respect of amounts of critical vendor payments, if any, shall be
                        reasonably satisfactory in form and substance to the Administrative
                        Agent and the Required DIP Lenders;

                        (e) No trustee, receiver, interim receiver or receiver and manager shall
                        be appointed in any of the Cases, or a responsible officer or an examiner
                        with enlarged powers shall be appointed in any of the Cases (having
                        powers beyond those set forth in Bankruptcy Code sections 1106(a)(3)
                        and (4));

                        (f) No material adverse change (to be defined) shall have occurred other
                        than the commencement of the Cases.

                        (g) The Administrative Agent and the DIP Lenders shall have received
                        from the Loan Parties forecasts on a consolidated basis of the Borrower
                        and its subsidiaries’ income statement, balance sheet and cash flows for
                        each fiscal month of fiscal year 2013 and including the material
                        assumptions on which such forecasts were based (including, but not
                        limited to, future cost reduction initiatives), and setting forth the
                        anticipated disbursements and uses of the Commitments, which forecasts
                        shall be reasonably satisfactory in form and substance to the
                        Administrative Agent and the Required DIP Lenders and certified by a
                        responsible officer (the “Budget”);

                        (h) The Administrative Agent and the DIP Lenders shall have received
                        from the Loan Parties certified copies of (i) the audited consolidated
                        balance sheets of the Borrower and its subsidiaries as of each of the three
                        (3) fiscal years proceeding the fiscal year ending on December 31, 2012,
                        and the related audited consolidated statements of income, stockholders’
                        equity and cash flows for the Borrower and its consolidated subsidiaries
                        for the corresponding periods, (ii) the unaudited consolidated balance
                        sheets and related statements of income, stockholders’ equity and cash
                        flows of the Borrower and its subsidiaries for each subsequent fiscal
                        quarter ended after the fiscal year ended December 31, 2012 for which


                                            11
13-22233-rdd
13-22233 DocDoc
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                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 121
                                   133    of 161
                                       of 173
                                                                                        Annex 1
                                            Subject to Rule 408 of the Federal Rules of Evidence
                                                                                Execution Copy

                        such financial statements are available prior to the Closing Date and (iii)
                        to the extent made available by the Borrower, monthly financial data
                        generated by the Borrower’s internal accounting systems for use by
                        senior management for each month ended after the latest fiscal quarter
                        for which unaudited financial statements are delivered pursuant to clause
                        (ii) above and at least 30 days before the Closing Date;

                        (i) The Administrative Agent and the DIP Lenders shall have received a
                        13-week cash flow projection of the Borrower and its subsidiaries, which
                        shall be in form and substance reasonably satisfactory to the
                        Administrative Agent and the Required DIP Lenders and certified by a
                        responsible officer (the “Cash Flow Forecast”);

                        (j) All costs, fees, expenses (including, without limitation, reasonable
                        legal fees) and other compensation contemplated by the Definitive
                        Documentation to be payable to the DIP Lenders and/or the agents shall
                        have been paid, in each case, to the extent due;

                        (k) No Default or Event of Default under the Definitive Documentation
                        shall have occurred and be continuing;

                        (l) Representations and warranties shall be true and correct in all
                        material respects;

                        (m) The Administrative Agent and the Required DIP Lenders shall be
                        satisfied that the Loan Parties have complied with all other customary
                        closing conditions, including, without limitation: (i) the delivery of good
                        standing certificates from the states of formation/incorporation and
                        customary closing certificates and officer’s certificates; (ii) evidence of
                        authority; and (iii) obtaining of any material third party and
                        governmental consents necessary in connection with the DIP Facility, the
                        financing thereunder and related transactions;

                        (n) The Administrative Agent and the DIP Lenders shall have received
                        evidence that all insurance required to be maintained pursuant to the
                        Definitive Documentation has been obtained and is in effect and that the
                        Administrative Agent has been named as loss payee or additional
                        insured, as appropriate, under each insurance policy with respect to such
                        liability and property insurance as to which the Administrative Agent
                        shall have requested to be so named (it being understood and agreed that
                        the deliverables under this clause (n) may be delivered following the
                        Closing Date within a time period the Required DIP Lenders shall
                        consent to);

                        (o) The Administrative Agent and the DIP Lenders shall have received
                        prior to the Closing Date all documentation and other information
                        required by bank regulatory authorities under applicable “know-your-
                        customer” and anti-money laundering rules and regulations, including
                        the Patriot Act;



                                           12
13-22233-rdd
13-22233 DocDoc
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                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 122
                                   134    of 161
                                       of 173
                                                                                           Annex 1
                                               Subject to Rule 408 of the Federal Rules of Evidence
                                                                                   Execution Copy

                          (p) The Administrative Agent and the DIP Lenders shall have received
                          executed definitive loan documentation relating to the DIP Facility
                          (including a credit agreement (the “Credit Agreement”) and related
                          security and closing documents (collectively, the “Definitive
                          Documentation”), in each case of the foregoing reasonably satisfactory to
                          the Administrative Agent and the Required DIP Lenders and consistent
                          with the terms of this Term Sheet;

                          (q) The Administrative Agent and the DIP Lenders shall have received
                          UCC searches (or comparable searches, if any, in the case of foreign
                          jurisdictions) conducted in the jurisdictions in which the Loan Parties are
                          organized (dated as of a date reasonably satisfactory to the
                          Administrative Agent and the Required DIP Lenders), reflecting the
                          absence of liens and encumbrances on the assets of the Loan Parties
                          other than such liens as may be permitted under the Definitive
                          Documentation;

                          (r) All corporate and judicial proceedings and all instruments and
                          agreements in connection with the loan transactions among the Loan
                          Parties, the Administrative Agent and the DIP Lenders contemplated by
                          the Credit Agreement shall be reasonably satisfactory in form and
                          substance to the Administrative Agent and the DIP Lenders and the
                          Administrative Agent and the DIP Lenders shall have received all
                          information and copies of all documents or papers reasonably requested
                          by the Administrative Agent or any Lender;

                          (s) The Administrative Agent shall have received a notice of borrowing
                          from the Borrower;

                          (t) The Restructuring Support Agreement shall be in full force and effect
                          and shall not have been terminated and no default or event of default
                          (unless as a result of a breach by the NM Lenders party thereto)
                          thereunder shall have occurred or be continuing; and

                          (u) The Administrative Agent and the DIP Lenders shall have received
                          such information (financial or otherwise) and documents as may be
                          reasonably requested by the Administrative Agent or the Required DIP
                          Lenders and shall be satisfied with the nature and substance thereof.

                          As used in this term sheet, the term “Restructuring Support Agreement”
                          shall mean that certain Restructuring Support Agreement dated February
                          17, 2013 by and among the Borrower, the Borrower’s affiliates party
                          thereto, Wells Fargo Principal Lending, LLC, Goldentree Asset
                          Management LP, Apollo Investment Management, L.P. and Empyrean
                          Capital Partners, LP.

Conditions Precedent to
Full Availability:        The obligations to provide extensions of credit up to the full amount of
                          the Loans shall be subject to the satisfaction of the following conditions
                          precedent:


                                             13
13-22233-rdd
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                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 123
                                   135    of 161
                                       of 173
                                                                                         Annex 1
                                             Subject to Rule 408 of the Federal Rules of Evidence
                                                                                 Execution Copy

                        (a) Not later than the 40th day following the entry of the Interim Order
                        (or such later date agreed to by the Required DIP Lenders), a final order
                        shall have been entered by the Bankruptcy Court in form and substance
                        reasonably satisfactory to the Administrative Agent and the DIP Lenders
                        on a motion by the Loan Parties that is in form and substance reasonably
                        satisfactory to Wells Fargo and the Secured Noteholders party to the
                        Commitment Letter, approving and authorizing on a final basis the
                        matters and containing the provisions described in clause (a) in
                        “Conditions Precedent to Initial Borrowings” above, authorizing the DIP
                        Facility (including both the Refinancing Loan and the New Money Loan)
                        and containing a waiver of the Debtors’ rights under Section 506(c) of
                        the Bankruptcy Code (such final order being referred to as the “Final
                        Order”);

                        (b) The Final Order shall not have been reversed, modified, amended,
                        stayed or vacated;

                        (c) The Loan Parties shall be in compliance with the Final Order;

                        (d) The DIP Lenders shall have received the required periodic updates of
                        the Cash Flow Forecast and variance reports, each in form and substance
                        reasonably satisfactory to the Administrative Agent and the Required
                        NM Lenders; and the Loan Parties shall be in compliance with the
                        updated Cash Flow Forecast;

                        (e) No Default or Event of Default shall have occurred and be
                        continuing under the DIP Facility;

                        (f) Representations and warranties shall be true and correct in all
                        material respects at the date of each extension of credit except to the
                        extent such representations and warranties relate to an earlier date;

                        (g) The Loan Parties shall have paid the balance of all fees then payable
                        to the DIP Lenders and the agents as referenced herein, in each case to
                        the extent due;

                        (h) The Restructuring Support Agreement shall be in full force and
                        effect and shall not have been terminated and no default or event of
                        default (unless as a result of a breach by the NM Lenders party thereto)
                        thereunder shall have occurred or be continuing; and

                        (i) The Administrative Agent shall have received a notice of borrowing
                        from the Borrower.

                        The acceptance by the Borrower of each extension of credit under the
                        Credit Agreement shall be deemed to be a representation and warranty
                        by the Loan Parties that the conditions specified above have been
                        satisfied.




                                           14
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13-22233 DocDoc
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                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 124
                                   136    of 161
                                       of 173
                                                                                                  Annex 1
                                                      Subject to Rule 408 of the Federal Rules of Evidence
                                                                                          Execution Copy

VI.     Certain Documentation Matters

The Definitive Documentation shall contain representations, warranties, covenants and events of default
customary for financings of this type, including, without limitation, those set forth below:

Representations and
Warranties:                     The Loan Parties shall make the representations and warranties set forth
                                in the Existing Credit Agreement, modified as necessary to reflect the
                                commencement of the Cases, changes in the financial and other
                                conditions of the Loan Parties resulting therefrom and from events
                                leading up thereto and such other matters as the DIP Lenders shall
                                reasonably require in the Definitive Documentation.

                                In addition, each of the Loan Parties represents and warrants that they are
                                in material compliance with each material contract entered into by any
                                Loan Party after the Petition Date or entered into prior to the Petition
                                Date and assumed, specific material contracts have been continued, the
                                Interim Order or the Final Order (as applicable) shall continue to be
                                effective, and the Loan Parties have not failed to disclose any material
                                assumptions with respect to the Budget or Cash Flow Forecast and affirm
                                that each of the Budget and Cash Flow Forecast reflects good faith
                                estimates of the matters set forth therein; on the Termination Date the
                                DIP Lenders shall be entitled to immediate payment of the obligations
                                without further application to the Bankruptcy Court.

Affirmative Covenants:          Each of the Loan Parties (with respect to itself and each of its
                                subsidiaries) agrees to the affirmative covenants set forth in the Existing
                                Credit Agreement, modified as necessary to reflect the commencement
                                of the Cases, changes in the financial and other conditions of the Loan
                                Parties resulting therefrom and from events leading up thereto and such
                                other affirmative covenants as the DIP Lenders shall reasonably require
                                in the Definitive Documentation as well as the following affirmative
                                covenants:

                                (a) delivery of monthly (in addition to quarterly and annual) consolidated
                                and consolidating financial statements and reports showing variances from
                                the Budget;

                                (b) delivery of bi-weekly updates of the Cash Flow Forecast and
                                variance reports, each in form and substance reasonably satisfactory to
                                the Administrative Agent and the Required NM Lenders;

                                (c) monthly delivery of a narrative discussion and analysis of the
                                financial condition and results of operations of the Borrower and its
                                subsidiaries (including, without limitation, with respect to asset sales,
                                cost savings, facility closures, litigation, contingent liabilities and other
                                matters as the Administrative Agent or the Required DIP Lenders may
                                reasonably request);




                                                    15
13-22233-rdd
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                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 125
                                   137    of 161
                                       of 173
                                                                                         Annex 1
                                             Subject to Rule 408 of the Federal Rules of Evidence
                                                                                 Execution Copy

                        (d) delivery by dates to be agreed of non-core asset sale plan and
                        progress reports with respect thereto, each in form and substance
                        reasonably satisfactory to the Administrative Agent and the Required
                        NM Lenders;

                        (e) delivery to the Administrative Agent and the DIP Lenders as soon as
                        practical in advance of filing with the Bankruptcy Court, (i) all material
                        proposed orders, pleadings and motions which must be in form and
                        substance reasonably satisfactory to the Administrative Agent and the
                        Required DIP Lenders, and (ii) any plan of reorganization or liquidation,
                        and/or any disclosure statement related to such plan and any of the
                        foregoing distributed by any Debtor to any Committee;

                        (f) access to information (including historical information) and
                        personnel, including, without limitation, regularly scheduled meetings as
                        mutually agreed with senior management and other company advisors
                        and the Administrative Agent, the Required DIP Lenders and Moelis &
                        Company LLC shall be provided with access to all information it shall
                        reasonably request;

                        (g) bi-weekly update calls (with question and answer periods) with
                        senior management of the Borrower and the DIP Lenders and their
                        respective representatives and advisors; and

                        (h) compliance with and absence of default under the Restructuring
                        Support Agreement and absence of a “Termination Event” (as defined
                        under the Restructuring Support Agreement) thereunder.

                        The Definitive Documentation will contain provisions relating to
                        disbursement controls reasonably satisfactory to the Administrative
                        Agent, the Required DIP Lenders and the Loan Parties.

Financial Covenants:    Compliance with the Budget and the Cash Flow Forecast subject to line
                        item variances to be agreed.

Negative Covenants:     Each of the Loan Parties (with respect to itself and each of its
                        subsidiaries) agrees to the negative covenants set forth in the Existing
                        Credit Agreement, modified as necessary to reflect the commencement
                        of the Cases and changes in the financial and other conditions of the
                        Loan Parties resulting therefrom and from events leading up thereto, with
                        such baskets and carve-outs as may be agreed to in the Definitive
                        Documentation by the parties thereto acting in good faith and such other
                        matters as the DIP Lenders shall require in the Definitive
                        Documentation. Each of the Loan Parties (with respect to itself and each
                        of its subsidiaries) agrees that the following are prohibited (except to the
                        extent otherwise permitted in this Term Sheet or the Definitive
                        Documentation):

                        (a) creating or permitting to exist any liens or encumbrances on any
                        assets, other than liens securing the DIP Facility and any permitted liens


                                           16
13-22233-rdd
13-22233 DocDoc
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                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 126
                                   138    of 161
                                       of 173
                                                                                        Annex 1
                                            Subject to Rule 408 of the Federal Rules of Evidence
                                                                                Execution Copy

                        (which permitted liens shall include scheduled liens in existence on the
                        Closing Date which, in the case of Primed Liens, are subordinated
                        pursuant to the orders, junior liens granted in connection with adequate
                        protection granted by the Loan Parties as required hereunder) and other
                        liens described in “Priority and Liens” above;

                        (b) creating or permitting to exist any other superpriority claim which is
                        pari passu with or senior to the claims of the DIP Lenders under the DIP
                        Facility, except for the Carve-Out and liens securing the obligations;

                        (c) disposing of assets (including, without limitation, any sale and
                        leaseback transaction and any disposition under Bankruptcy Code section
                        363) in respect of a transaction for total consideration of more than an
                        aggregate amount to be agreed;

                        (d) (i) engaging in business different from those lines of business
                        conducted by the Borrower and its subsidiaries on the date of the Credit
                        Agreement or modifying the nature or the type of its business or the
                        manner in which such business is conducted or (ii) modifying or altering
                        in any manner which is adverse to the interests of the DIP Lenders, its
                        organizational documents, except as required by the Bankruptcy Code;

                        (e) prepaying pre-petition indebtedness, except as expressly provided for
                        herein, or as permitted under the Interim Order or the Final Order, as
                        applicable, or pursuant to “first day” orders entered upon pleadings in
                        form and substance reasonably satisfactory to the Administrative Agent
                        and the Required DIP Lenders;

                        (f) asserting any right of subrogation or contribution against any other
                        Loan Party until all borrowings under the DIP Facility are paid in full in
                        cash and the Commitments are terminated;

                        (g) declaring or making any dividend or any distribution on account of
                        capital stock (other than dividends and distributions (x) from non-Loan
                        Parties, (y) from Loan Parties to Loan Parties (other than Holdings) and
                        (z) from non-Loan Parties to non-Loan Parties); and

                        (h) paying any fees, including management fees, to its affiliates or
                        shareholders (other than any of Holding’s subsidiaries that are Loan
                        Parties) or make any other payments or dividends in respect of the capital
                        stock of Holding.

Events of Default:      The DIP Facility shall be subject to the events of default (the “Events of
                        Default”) (x) set forth in the Existing Credit Agreement, modified as
                        necessary to refer to the DIP Facility and to reflect the commencement of
                        the Cases and changes in the financial and other conditions of the Loan
                        Parties resulting therefrom and from events leading up thereto and (y) the
                        additional customary events of default the DIP Lenders may require in
                        the Definitive Documentation as well as the following events of default
                        (with thresholds and grace periods to be agreed):


                                           17
13-22233-rdd
13-22233 DocDoc
             3 318    Filed 05/07/13
                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 127
                                   139    of 161
                                       of 173
                                                                                         Annex 1
                                             Subject to Rule 408 of the Federal Rules of Evidence
                                                                                 Execution Copy

                        (a) The occurrence of any insolvency or bankruptcy proceeding with
                        respect to any subsidiary of Holding that is not a debtor in the Cases
                        (other than certain subsidiaries to be agreed);

                        (b) The Final Order Entry Date shall not have occurred by the 40th day
                        after the Interim Order Entry Date (or such later date as the Required
                        DIP Lenders may agree);

                        (c) Any of the Cases shall be dismissed or converted to a Chapter 7
                        Case; a trustee, receiver, interim receiver or receiver and manager shall
                        be appointed in any of the Cases, or a responsible officer or an examiner
                        with enlarged powers shall be appointed in any of the Cases (having
                        powers beyond those set forth in Bankruptcy Code sections 1106(a)(3)
                        and (4)); or any other superpriority administrative expense claim or lien
                        (other than the Carve-Out) which is pari passu with or senior to the
                        claims or liens of the DIP Lenders under the DIP Facility shall be
                        granted in any of the Cases without the consent of the Administrative
                        Agent and the Required DIP Lenders;

                        (d) Other than payments authorized by the Bankruptcy Court in respect
                        of “first day” or other orders entered upon pleadings in form and
                        substance reasonably satisfactory to the Administrative Agent and the
                        Required DIP Lenders, permitted by the Interim Order or the Final Order
                        (as applicable), as required by the Bankruptcy Code, or as may be
                        permitted in the Definitive Documentation, the Loan Parties shall make
                        any payment (whether by way of adequate protection or otherwise) of
                        principal or interest or otherwise on account of any pre-petition
                        indebtedness or payables of the Debtors or any other debt;

                        (e) The Bankruptcy Court shall enter an order granting relief from the
                        automatic stay to any creditor or party in interest (i) to permit foreclosure
                        (or the granting of a deed in lieu of foreclosure or the like) on any assets
                        of the Loan Parties which have an aggregate value in excess of an
                        amount to be agreed or (ii) to permit other actions that would have a
                        material adverse affect on the Loan Parties or their estates;

                        (f) An order shall be entered reversing, amending, supplementing,
                        staying, vacating or otherwise modifying the Interim Order or the Final
                        Order, or any of the Borrower or any of their affiliates shall apply for
                        authority to do so, in each case without the prior written consent of the
                        Required DIP Lenders, or the Interim Order or Final Order with respect
                        to the DIP Facility shall cease to be in full force and effect;

                        (g) Any judgments which are in the aggregate in excess of an amount to
                        be agreed as to any post-petition obligation shall be rendered against the
                        Loan Parties or any of its subsidiaries and the enforcement thereof shall
                        not be stayed (by operation of law, the rules or orders of a court with
                        jurisdiction over the matter or by consent of the party litigants); or there
                        shall be rendered against the Loan Parties or any of its subsidiaries a
                        nonmonetary judgment with respect to a post-petition event which causes

                                            18
13-22233-rdd
13-22233 DocDoc
             3 318    Filed 05/07/13
                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 128
                                   140    of 161
                                       of 173
                                                                                         Annex 1
                                             Subject to Rule 408 of the Federal Rules of Evidence
                                                                                 Execution Copy

                        or would reasonably be expected to cause a material adverse change or a
                        material adverse effect on the ability of the Loan Parties or any of its
                        subsidiaries taken as a whole to perform their obligations under the
                        Definitive Documentation;

                        (h) Except as provided under “Exit Financing” above, the Debtors shall
                        file any plan in any of the Cases that does not provide for termination of
                        the Commitments under the DIP Facility and payment in full in cash of
                        the Loan Parties’ obligations under the Definitive Documentation on the
                        effective date of such plan of reorganization or liquidation or any order
                        shall be entered which dismisses any of the Cases and which order does
                        not provide for termination of the Commitments under the DIP Facility
                        and payment in full in cash of the Loan Parties’ obligations under the
                        Definitive Documentation, or any of the Debtors shall seek, support, or
                        fail to contest in good faith the filing or confirmation of such a plan or
                        the entry of such an order;

                        (i) The Loan Parties or any of their subsidiaries shall take any action in
                        support of any of the foregoing or any person other than the Loan Parties
                        or any of their subsidiaries shall do so and such application is not
                        contested in good faith by the Loan Parties or such subsidiaries and the
                        relief requested is granted in an order that is not stayed pending appeal;

                        (j) Any of the Loan Parties or their affiliates shall fail to comply with the
                        Interim Order or Final Order, as applicable;

                        (k) The filing of a motion, pleading or proceeding by any of the Loan
                        Parties or their affiliates which could reasonably be expected to result in
                        a material impairment of the rights or interests of the DIP Lenders or a
                        determination by a court with respect to a motion, pleading or proceeding
                        brought by another party which results in such a material impairment;
                        and

                        (l) The Borrower shall have failed to comply with any of the following:
                        (i) file with the Bankruptcy Court a plan of reorganization and related
                        disclosure statement in form and substance reasonably satisfactory to the
                        Required DIP Lenders on or before the date that is 25 days after the
                        Petition Date (the “Plan of Reorganization” and the “Disclosure
                        Statement”); (ii) obtain an order of the Bankruptcy Court in form and
                        substance reasonably satisfactory to the Required DIP Lenders approving
                        the Disclosure Statement on or before the date that is 75 days after the
                        Petition Date pursuant to Section 1125 of the Bankruptcy Code on or
                        before such time; (iii) commence the solicitation of acceptances of the
                        Plan of Reorganization on or before the date that is 15 days following
                        entry of the order referenced to in clause (ii) above; (iv) file with the
                        Bankruptcy Court on or before July 5, 2013 a supplement to the Plan of
                        Reorganization in form and substance reasonably satisfactory to the
                        Required DIP Lenders; (v) obtain an order of the Bankruptcy Court in
                        form and substance reasonably satisfactory to the Required DIP Lenders
                        confirming the Plan of Reorganization on or before July 15, 2013; (vi)

                                            19
13-22233-rdd
13-22233 DocDoc
             3 318    Filed 05/07/13
                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 129
                                   141    of 161
                                       of 173
                                                                                        Annex 1
                                            Subject to Rule 408 of the Federal Rules of Evidence
                                                                                Execution Copy

                        consummate the Plan of Reorganization on or before July 31, 2013; and
                        (v) obtain an order of the Bankruptcy Court in form and substance
                        reasonably satisfactory to the Required DIP Lenders establishing bar
                        dates for submitting proofs of claim and requests for payment pursuant to
                        section 503(b)(9) of the Bankruptcy Code.

Required Lenders:       As used herein:

                        The term “Required NM Lenders” shall mean the NM Lenders holding
                        more than 50% of the sum of (i) the aggregate outstanding principal
                        amount of the New Money Loans and (ii) the aggregate unused
                        Commitments in respect of the New Money Loan.

                        The term “Required DIP Lenders” shall mean the DIP Lenders holding
                        more than 50% of the aggregate amount of the Loans and unused
                        Commitments under the DIP Facility, and for the avoidance of doubt,
                        shall in any event, include Wells Fargo at all times until the making of
                        the Refinancing Loans, provided that in any event the Required DIP
                        Lenders shall include the Required NM Lenders.

Voting:                 Amendments and waivers with respect to the Definitive Documentation
                        shall require the approval of the Required NM Lenders, provided that
                        any amendment or waiver with respect to each of the Specified Voting
                        Items referenced below shall also require the consent of the Refinancing
                        Loan Lender. As used herein, the term “Specified Voting Items” refers
                        to each and all of the following:

                                Specified Voting Items:

                                1. Amendments, changes, postponements, extensions,
                                   modifications or waivers relating to any of the following:
                                      a. either Order
                                      b. "Lender Protections" (i.e., adequate protection)
                                      c. maturity of the DIP Loans
                                      d. principal, interest and fees in respect of the
                                          Refinancing Loans, and increase of any principal,
                                          interest and fees in respect of the New Money
                                          Loans
                                      e. amount of availability of the New Money Loans
                                      f. terms on which the Refinancing Loans convert
                                          into an exit financing
                                      g. amendments or changes (including deletions) with
                                          respect to the information covenants (but
                                          excluding waivers in respect of information
                                          covenants which shall only require the consent by
                                          the Required NM Lenders)
                                      h. the amendments section or any other provision
                                          requiring the consent of all lenders (including
                                          definitions of "Required Lenders", "Required NM
                                          Lenders", "Required DIP Lenders", etc.)

                                           20
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                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 130
                                   142    of 161
                                       of 173
                                                                                           Annex 1
                                               Subject to Rule 408 of the Federal Rules of Evidence
                                                                                   Execution Copy

                                          i.   any scheduled prepayment to the extent the
                                               Refinancing Loan Lender is adversely affected
                                          j. any provision relating to the letters of credit issued
                                               under the DIP Facility
                                          k. pro rata sharing provisions
                                          l. assignment provisions or otherwise permit
                                               assignments to the Borrower or its affiliates
                                          m. provisions relating to administration of
                                               Refinancing Loans (e.g., setting the LIBO Rate or
                                               distributing monies)
                                2.    Any waiver of any defaults related to either Order being
                                      stayed, reversed etc. for any reason.
                                3.    Any priming of any of the Refinancing Loans or New
                                      Money Loans
                                4.    Any amendment or waiver of any condition precedent to
                                      effectiveness of the DIP Facility or any extension of credit
                                      thereunder.
                                5.    Release any Loan Party (other than in connection with a
                                      disposition that is expressly permitted under the terms of
                                      the Definitive Documentation (but not a disposition that
                                      would not have been permitted if not for a waiver)).
                                6.    Release any portion of the Collateral (other than in
                                      connection with a disposition that is expressly permitted
                                      under the terms of the Definitive Documentation (but not a
                                      disposition that would not have been permitted if not for a
                                      waiver)).
                                7.    The assignment or transfer by Borrower or any Loan Party
                                      of any of its rights and obligations under any Definitive
                                      Documentation.
                                8.    Any change to the required application of repayments or
                                      prepayments between classes (i.e., NM Loans and
                                      Refinancing Loans).
                                9.    Changes that would add/permit new obligations (in
                                      addition to the Loans and other obligations under the
                                      Credit Agreement) to be secured by the liens in favor of
                                      the DIP Lenders.
                                10.   Changes/amendments/waivers that would permit:
                                          a. an asset sale otherwise prohibited under the DIP
                                               Facility (as in effect on the Closing Date)
                                          b. incurrence of debt that is pari passu with the DIP
                                               Facility
                                          c. a change of control (to be defined in the Definitive
                                               Documentation).
                                11.   Any action that disproportionately adversely affects the
                                      Refinancing Loans vis-à-vis the New Money Loans.
                                12.   Credit bidding of the Refinancing Loans.
                                13.   Any restriction on transferring the Refinancing Loans.
Assignments
and Participations:     The DIP Lenders shall be permitted to assign all or a portion of their


                                               21
13-22233-rdd
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                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 131
                                   143    of 161
                                       of 173
                                                                                               Annex 1
                                                   Subject to Rule 408 of the Federal Rules of Evidence
                                                                                       Execution Copy

                               Loans and Commitments (other than to Holding or any of its subsidiaries
                               or any of their respective Affiliates (to be defined in the Definitive
                               Documentation)) with the consent, not to be unreasonably withheld, of
                               the Administrative Agent, unless the Loan is being assigned to a Lender,
                               an affiliate of a Lender or an approved fund; provided, that the assignee
                               becomes a party to the Restructuring Support Agreement.

Yield Protection:              The Definitive Documentation shall contain customary provisions,
                               subject to customary mitigation requirements, (a) protecting the DIP
                               Lenders against increased costs or loss of yield resulting from reserve,
                               tax, capital adequacy and other requirements of law and from
                               withholding or other taxes and (b) indemnifying the DIP Lenders for
                               “breakage costs” incurred in connection with, among other things, any
                               prepayment of a LIBO Rate Loan on a day other than the last day of an
                               interest period with respect thereto.

Expenses and Indemnification The Borrower shall pay (a) all out-of-pocket expenses of the
                             Administrative Agent and the DIP Lenders associated with the
                             arrangement of the DIP Facility and the preparation, execution, delivery
                             and administration of the Definitive Documentation and any amendment
                             or waiver with respect thereto (including the reasonable and documented
                             fees, disbursements and other charges of counsels, including Kirkland &
                             Ellis LLP and Milbank, Tweed, Hadley & McCloy LLP and financial
                             advisors), (b) all out-of-pocket expenses of the Administrative Agent and
                             the DIP Lenders (including the reasonable and documented fees,
                             disbursements and other charges of counsels and financial advisors) in
                             connection with the enforcement of the Definitive Documentation and
                             (c) all out-of-pocket expenses of the Administrative Agent, the
                             Refinancing Loan Lender and the Specified DIP Lenders incurred in
                             connection with the DIP Facility, the Orders or the Cases (including,
                             without limitation, preparation and filing of all pleadings in the Cases,
                             the on-going monitoring of the Cases, including attendance at hearings or
                             other proceedings and the on-going review of documents filed with the
                             Bankruptcy Court); it being understood in terms of the legal counsels
                             subject to reimbursement, they should be limited to one primary counsel
                             for the Administrative Agent, one primary counsel for the NM Lenders,
                             and one primary counsel for the Refinancing Loan Lender, together with
                             any additional conflicts counsels, special counsels and local counsels in
                             any relevant jurisdiction the Administrative Agent, the NM Lenders and
                             the Refinancing Loan Lender may retain. For purposes hereof,
                             “Specified DIP Lenders” shall mean the DIP Lenders from time to time
                             comprising the steering committee designated by the Required NM
                             Lenders in connection with the DIP Facility and the ongoing
                             administration of the Cases.

                               The Administrative Agent and the DIP Lenders (and their affiliates and
                               their respective officers, directors, employees, advisors and agents)
                               (each, an “indemnified person”) will have no liability for, and will be
                               indemnified and held harmless against, any losses, claims, damages,
                               liabilities or expenses incurred in respect of the financing contemplated

                                                  22
13-22233-rdd
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                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 132
                                   144    of 161
                                       of 173
                                                                                           Annex 1
                                               Subject to Rule 408 of the Federal Rules of Evidence
                                                                                   Execution Copy

                           hereby or the use or the proposed use of proceeds thereof, except to the
                           extent (i) they are found by a final nonappealable judgment of a court of
                           competent jurisdiction to arise from the willful misconduct, bad faith or
                           gross negligence of any indemnified person and (ii) such dispute is solely
                           among indemnified persons other than any claims against an indemnified
                           person arising out of any act or omission of any Debtor.

Governing Law and Forum:   The Definitive Documentation will provide that the Loan Parties will
                           submit to the nonexclusive jurisdiction and venue of the Bankruptcy
                           Court, or in the event that the Bankruptcy Court does not have or does
                           not exercise jurisdiction, then in any state or federal court of competent
                           jurisdiction in the state, county and city of New York, borough of
                           Manhattan; and shall waive any right to trial by jury. New York law and,
                           where applicable, the Bankruptcy Code, shall govern the Definitive
                           Documentation.

Counsel to the
Administrative Agent
and the DIP Lenders:       Kirkland & Ellis LLP and Milbank, Tweed, Hadley & McCloy LLP




                                              23
13-22233-rdd
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                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 133
                                   145    of 161
                                       of 173
                                                                                   Annex 1
                                       Subject to Rule 408 of the Federal Rules of Evidence
                                                                           Execution Copy
13-22233-rdd
13-22233 DocDoc
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                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 134
                                   146    of 161
                                       of 173
                                                                       Annex 2 to the Commitment Letter
                                                     Subject to Rule 408 of the Federal Rules of Evidence




                                     First Out Exit Term Sheet1



Borrower:                                      The Reader’s Digest Association, Inc., a Delaware
                                               corporation (the “Borrower”).

Lender:                                        Wells Fargo Principal Lending, LLC (and/or an affiliate
                                               thereof) and other financial institutions to be agreed (the
                                               “Lenders”).

Administrative Agent and
Issuing Bank:                                  Wells Fargo Bank, N.A. or an affiliate thereof (in such
                                               capacity, the “Administrative Agent” or the “Issuing
                                               Bank”, as the case may be).

First Out Credit Facilities:                   Senior secured “first out” credit facilities (the “First Out
                                               Credit Facilities”) to consist of:

                                               (a)       First Out Term Loan Facility. A first out term
                                               loan facility (the “First Out Term Loan Facility”; the
                                               loans thereunder, “Loans”) in an aggregate amount equal
                                               to (i) the DIP Refinancing Loan Amount (as defined
                                               below) less any prepayments (if any) of “Refinancing
                                               Loans” (as defined below) under the Borrower’s debtor-
                                               in-possession credit facility prior to the Closing Date
                                               minus (ii) the face amount of undrawn letters of credit
                                               under the DIP Facility as of the Closing Date.

                                               (b)       First Out Letter of Credit Facility. A standby
                                               letter of credit facility (the “First Out Letter of Credit
                                               Facility”) in an aggregate amount equal to the (i) DIP
                                               Refinancing Loan Amount less any prepayments (if any)
                                               of “Refinancing Loans” under the Borrower’s debtor-in-
                                               possession credit facility prior to the Closing Date minus
                                               (ii) the aggregate amount of the First Out Term Loan
                                               Facility as of the Closing Date (the “L/C Commitment”).
                                               The letters of credit outstanding under the Existing
                                               Credit Agreement shall be deemed usage of the First Out
                                               Letter of Credit Facility.

                                               As used herein: “DIP Refinancing Loan Amount” means
                                               an aggregate amount equal to the sum of (i) $49,625,000
                                               plus (ii) the aggregate amount of all letters of credit


1
 This term sheet is attached as Annex II to the Commitment Letter (the “Commitment Letter”), dated as
of February 17, 2013, with respect to the Borrower’s debtor-in-possession credit facility.

                                            PAGE 1
#4832-3991-4002v4
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             3 318    Filed 05/07/13
                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 135
                                   147    of 161
                                       of 173
                                                                  Annex 2 to the Commitment Letter
                                                Subject to Rule 408 of the Federal Rules of Evidence

                                         outstanding under the Existing Credit Agreement as of
                                         February 17, 2013 equal to $9,516,267 plus (iii) the
                                         aggregate amount of all outstanding and unpaid fees,
                                         letter of credit standby fees and commissions, premiums,
                                         expenses, indemnification amounts and interest accrued
                                         prior to, on and after the commencement of the Chapter
                                         11 Cases (as defined below) under the Existing Credit
                                         Agreement and immediately prior to the date when the
                                         Refinancing Loans become effective. It being understood
                                         that the indemnification obligations under the
                                         Refinancing Loans will survive as obligations under the
                                         First Out Term Loan Facility.

                                         Notwithstanding that the scheduled final maturity of the
                                         “Refinancing Loans” under the debtor-in-possession
                                         credit facility of the Borrower extends beyond the date
                                         that is 180 days after the date on which the chapter 11
                                         petitions are first filed by the Borrower or its affiliates
                                         (the date of such filing, the “Petition Date”), the
                                         commitment of Wells Fargo Principal Lending, LLC
                                         under the Restructuring Support Agreement (as defined
                                         below in Annex A hereto) and this term sheet to provide
                                         the First Out Credit Facilities shall terminate on the date
                                         that is 180 days after the Petition Date.

Use of Proceeds:                         The First Out Term Loan Facility will be used to
                                         refinance all “Refinancing Loans” under the debtor-in-
                                         possession credit facility of the Borrower.

                                         The First Out Letter of Credit Facility will provide letters
                                         of credit (the “Letter of Credit”) to support the general
                                         corporate purposes of the Borrower and its subsidiaries.

Closing Date and Closing Conditions:     The First Out Credit Facilities shall close and become
                                         effective on the date (the “Closing Date”) of (i) the
                                         execution and delivery of the Financing Documentation
                                         (as defined below) by the Borrower, the Guarantors (as
                                         defined below), the Administrative Agent and the
                                         respective Lenders party thereto, (ii) the satisfaction of
                                         the conditions precedent to effectiveness of the First Out
                                         Credit Facilities specified herein (including, without
                                         limitation, the conditions precedent specified in Annex A
                                         hereto) and (iii) the effectiveness of a plan of
                                         reorganization (pursuant to a confirmation order that is
                                         reasonably satisfactory in form and substance to the
                                         Administrative Agent) for the Borrower and the
                                         Guarantors, that is reasonably satisfactory in form and
                                         substance to the Administrative Agent.

Availability:                            The First Out Term Loan Facility will be available to the
                                         Borrower for borrowing on the Closing Date to refinance

                                       PAGE 2
#4832-3991-4002v4
13-22233-rdd
13-22233 DocDoc
             3 318    Filed 05/07/13
                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 136
                                   148    of 161
                                       of 173
                                                             Annex 2 to the Commitment Letter
                                           Subject to Rule 408 of the Federal Rules of Evidence

                                    the “Refinancing Loans” outstanding under the DIP
                                    Facility immediately prior to the Closing Date.

                                    The First Out Letter of Credit Facility will be available
                                    as set forth under “Letters of Credit” below.

Letters of Credit:                  The First Out Letter of Credit Facility will be available
                                    for letters of credit subject to (x) on the Closing Date, the
                                    satisfaction of the conditions under “Conditions
                                    Precedent” below, and (y) after the Closing Date, no
                                    bankruptcy or payment defaults and receipt of customary
                                    letter of credit request. Each letter of credit shall expire
                                    not later than the earlier of 12 months after its date of
                                    issuance and the fifteenth day prior to the Maturity Date
                                    (the “Letter of Credit Expiration Date”); provided that,
                                    subject to the certain customary terms of the Financing
                                    Documentation, a letter of credit may provide that it shall
                                    automatically renew for additional one year periods but
                                    in any event not beyond the Letter of Credit Expiration
                                    Date.

                                    The issuance of all letters of credit shall be subject to the
                                    customary procedures of the Issuing Bank.

Amortization:                       The outstanding principal amount of the First Out Term
                                    Loan Facility will be payable in equal quarterly amounts
                                    of $0.625 million (with the first such payment date being
                                    the end of the first full fiscal quarter of the Borrower
                                    occurring after the Closing Date), with the remaining
                                    balance, together with all other amounts owed with
                                    respect thereto, payable on the Maturity Date. The First
                                    Out Credit Facilities shall be repaid in full on the
                                    Maturity Date.

Documentation:                      The documentation for the First Out Credit Facilities
                                    (which shall be satisfactory in form and substance to the
                                    Administrative Agent), the definitive terms of which
                                    shall be negotiated in good faith, will include, among
                                    other items, a credit agreement and guarantees
                                    (collectively, the “Financing Documentation”), which
                                    shall be based on the Existing Credit Agreement
                                    Documentation (as defined below) to the extent possible
                                    and will be modified fully, as appropriate, to reflect the
                                    terms set forth in this term sheet and agency and other
                                    changes reasonably requested by the Administrative
                                    Agent.

                                    “Existing Credit Agreement Documentation” shall mean
                                    the documentation relating to that certain Credit and
                                    Guarantee Agreement dated as of March 30, 2012 (as
                                    amended, the “Existing Credit Agreement”), among

                                  PAGE 3
#4832-3991-4002v4
13-22233-rdd
13-22233 DocDoc
             3 318    Filed 05/07/13
                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 137
                                   149    of 161
                                       of 173
                                                             Annex 2 to the Commitment Letter
                                           Subject to Rule 408 of the Federal Rules of Evidence

                                    RDA Holding Co. (“Holding”), the Borrower, the
                                    lenders party thereto and Wells Fargo Bank, N.A., as
                                    administrative agent for the lenders.

Guarantors:                         Consistent with the Existing Credit Agreement and the
                                    Borrower’s debtor-in-possession credit facility, the
                                    obligations of the Borrower under the First Out Credit
                                    Facilities will be unconditionally guaranteed, on a joint
                                    and several basis, by Holding and each existing and
                                    subsequently acquired or formed direct and indirect
                                    domestic subsidiaries providing guarantees in connection
                                    with the Existing Credit Agreement and the Borrower’s
                                    debtor-in-possession credit facility (each a “Guarantor”;
                                    and such guarantee being referred to herein as a
                                    “Guarantee”). All Guarantees shall be guarantees of
                                    payment and not of collection. The Borrower and the
                                    Guarantors are herein referred to as the “Loan Parties”
                                    and, individually, as a “Loan Party.”

Security:                           The First Out Credit Facilities shall be secured by a
                                    perfected first priority security interest in all of the
                                    present and future tangible and intangible assets of the
                                    Loan Parties (including, without limitation, accounts
                                    receivable, inventory, intellectual property, real property
                                    (whether owned or leased), 100% of the capital stock of
                                    the Borrower and the Guarantors and 65% (or, in the
                                    absence of material adverse tax consequences to the
                                    Borrower, 100%) of the capital stock of each first tier
                                    foreign subsidiary of the Borrower, except for those
                                    assets excluded from the collateral under the Existing
                                    Credit Agreement Documentation (the “Collateral”).

                                    On the Closing Date, the Borrower shall enter into a
                                    second out term loan facility in an aggregate principal
                                    amount equal to the lower of $45 million and the then-
                                    outstanding aggregate principal amount of the “new
                                    money loans” under the Borrower’s debtor-in-possession
                                    credit facility (the “Second Out Term Loan Facility”), on
                                    terms and conditions reasonably satisfactory to the
                                    Administrative Agent, for the purpose of refinancing the
                                    “new money loans” owed under the Borrower’s debtor-
                                    in-possession credit facility. The Second Out Term Loan
                                    Facility shall be secured by a perfected first priority
                                    security interest in the Collateral. All obligations in
                                    connection with the First Out Credit Facilities (other than
                                    unasserted indemnification and contingent obligations)
                                    shall be paid in full prior to any obligations under the
                                    Second Out Term Loan Facility on a “first out” basis on
                                    terms substantially similar to those set forth in the
                                    Existing Credit Agreement Documentation (for the
                                    avoidance of doubt, cash interest payments under the

                                  PAGE 4
#4832-3991-4002v4
13-22233-rdd
13-22233 DocDoc
             3 318    Filed 05/07/13
                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 138
                                   150    of 161
                                       of 173
                                                              Annex 2 to the Commitment Letter
                                            Subject to Rule 408 of the Federal Rules of Evidence

                                     Second Out Term Loan Facility shall be permitted),
                                     including without limitation the security agreement
                                     securing the obligations under the Existing Credit
                                     Agreement and the Borrower’s Prepetition Notes (as
                                     defined below).

Final Maturity:                      The final maturity of the First Out Credit Facilities will
                                     occur on September 30, 2015 (the “Maturity Date”).

Interest Rates and Fees:             Interest rates and fees in connection with the First Out
                                     Credit Facilities will be as specified on Schedule I
                                     attached hereto.

Termination of Exit Commitments:     It is understood that at any time prior to the Closing Date
                                     and the effectiveness of a plan of reorganization for the
                                     Borrower, the Borrower may obtain alternative exit
                                     financing to the First Out Credit Facilities (an
                                     “Alternative Exit Financing”) and elect in writing to
                                     permanently terminate and cancel the commitments for
                                     the First Out Credit Facilities without premium or
                                     penalty or payment of any fee with respect to the First
                                     Out Credit Facilities; provided that such Alternative Exit
                                     Financing shall repay in full in cash all the “Refinancing
                                     Loans” under the debtor-in-possession financing of the
                                     Borrower upon the effectiveness of a plan of
                                     reorganization for the Borrower.

Mandatory Prepayments and
Commitment Reductions:               Subject to the next paragraph, the First Out Term Loan
                                     Facility will be required to be prepaid, without premium
                                     or penalty (except LIBOR breakage costs), with:

                                     (a)        100% of the net cash proceeds from the
                                                incurrence of indebtedness (other than certain
                                                permitted indebtedness to be agreed) after the
                                                Closing Date by Holding or any of its
                                                subsidiaries; and

                                     (b)        100% of the net cash proceeds of sales or other
                                                dispositions (including (a) by issuance or sale of
                                                stock of Holding or any of its subsidiaries, (b) as
                                                a result of casualty or condemnation, net of
                                                remediation or replacement costs, (c) any
                                                extraordinary receipts (to be mutually defined)
                                                and (d) licensing transactions) by Holding or
                                                any of its subsidiaries of any assets (except for
                                                sales of inventory in the ordinary course of
                                                business and certain other dispositions,
                                                thresholds and exceptions to be agreed on), in
                                                each case only to the extent such net cash
                                                proceeds are received by Holdings or any other

                                   PAGE 5
#4832-3991-4002v4
13-22233-rdd
13-22233 DocDoc
             3 318    Filed 05/07/13
                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 139
                                   151    of 161
                                       of 173
                                                             Annex 2 to the Commitment Letter
                                           Subject to Rule 408 of the Federal Rules of Evidence

                                               Loan Party; provided that the Borrower and
                                               other Loan Parties shall be permitted to reinvest
                                               (or commit to reinvest) an aggregate amount for
                                               all such sales, casualty events, extraordinary
                                               receipts and licensing proceeds not exceeding
                                               $15 million within six months.

Optional Prepayments and
Commitment Reductions:              Loans under the First Out Credit Facilities may be
                                    prepaid and unused commitments under the First Out
                                    Letter of Credit Facility may be reduced at any time, in
                                    whole or in part, at the option of the Borrower, upon
                                    notice and in minimum principal amounts and in
                                    multiples to be agreed upon, without premium or penalty
                                    (except LIBOR breakage costs). Any optional
                                    prepayment of the First Out Term Loan Facility will be
                                    applied to the remaining scheduled amortization
                                    payments as directed by the Borrower.

Initial Conditions:                 The availability of the First Out Credit Facilities shall be
                                    conditioned upon the satisfaction of the conditions
                                    precedent set forth in Annex A hereto.

                                    It is hereby understood and agreed that if each condition
                                    precedent set forth in Annex A hereto is not satisfied or
                                    is determined to be not capable of being satisfied, the
                                    “Refinancing Loans” under the debtor-in-possession
                                    credit facility of Borrower shall be repaid in full in cash
                                    on the effective date of the plan of reorganization for the
                                    Borrower.

Conditions to All Extensions
of Credit:                          Each extension of credit under the First Out Credit
                                    Facilities will be subject to satisfaction of the following
                                    conditions precedent: (a) all of the representations and
                                    warranties in the Financing Documentation shall be true
                                    and correct in all material respects (except to the extent
                                    that such representation and warranty is qualified by
                                    materiality) as of the date of such extension of credit and
                                    (b) no event of default under the First Out Credit
                                    Facilities or unmatured default thereunder shall have
                                    occurred and be continuing or would result from such
                                    extension of credit.

Representations and Warranties:     The Financing Documentation will contain
                                    representations and warranties substantially similar to the
                                    Existing Credit Agreement and such others as may be
                                    reasonably requested by the Administrative Agent.




                                  PAGE 6
#4832-3991-4002v4
13-22233-rdd
13-22233 DocDoc
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                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 140
                                   152    of 161
                                       of 173
                                                             Annex 2 to the Commitment Letter
                                           Subject to Rule 408 of the Federal Rules of Evidence

Affirmative Covenants:              The Financing Documentation will contain affirmative
                                    covenants substantially similar to the Existing Credit
                                    Agreement and such others as may be reasonably
                                    requested by the Administrative Agent.

Negative Covenants:                 The Financing Documentation will contain negative
                                    covenants substantially similar to the Existing Credit
                                    Agreement and such others as may be reasonably
                                    requested by the Administrative Agent (in each case
                                    subject to exceptions, carveouts and thresholds to be
                                    mutually agreed) including, but not limited to, the
                                    following:

                                      •        restriction on dividends, distributions, issuances
                                               of equity interests, redemptions and repurchases
                                               of equity interests;

                                      •        restriction on incurring additional first out or
                                               first lien secured indebtedness and limitation on
                                               incurring other indebtedness (with customary
                                               exceptions to be agreed; any additional second
                                               lien or unsecured indebtedness shall be on terms
                                               satisfactory to the Administrative Agent); it
                                               being agreed that there will be a debt carveout
                                               for letters of credit up to $5 million and a
                                               corresponding lien carveout for the cash
                                               collateral for such letters of credit;

                                      •        limitation on capital expenditures of $10 million
                                               for the first year of the First Out Credit Facilities
                                               and $10 million for the second year of the First
                                               Out Credit Facilities;

                                      •        restriction on (i) amending, supplementing or
                                               otherwise modifying the definitive
                                               documentation governing the Second Out Term
                                               Loan Facility in any manner materially adverse
                                               to the Administrative Agent or the Lenders
                                               without the consent of the Administrative Agent
                                               (it being agreed that any amendments,
                                               supplements or other modifications resulting in
                                               a shortening of maturity or an increase in
                                               interest rates, fees or principal shall be deemed
                                               to be materially adverse to the Administrative
                                               Agent and the Lenders) and (ii) any optional and
                                               mandatory prepayments under the Second Out
                                               Term Loan Facility.

Financial Covenants:                The Financing Documentation will contain a “First Out
                                    Leverage Ratio”, pursuant to which the Borrower shall
                                    not permit the ratio of total first out funded indebtedness

                                  PAGE 7
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                                                             Main Document   Pg
                                  Pg 141
                                   153    of 161
                                       of 173
                                                             Annex 2 to the Commitment Letter
                                           Subject to Rule 408 of the Federal Rules of Evidence

                                    plus the total face amount of issued and undrawn first-
                                    out letters of credit to last twelve months EBITDA to
                                    exceed, as of the last day of any fiscal quarter of the
                                    Borrower, a ratio of 2.50 to 1 (which financial covenant
                                    shall be first tested as of December 31, 2013). The
                                    definition of “EBITDA”, and the related financial
                                    definitions, shall be substantially similar to the Existing
                                    Credit Agreement, with such changes as may be
                                    requested by the Administrative Agent.

Events of Default:                  The Financing Documentation will contain events of
                                    default substantially similar to the Existing Credit
                                    Agreement and such others as may be requested by the
                                    Administrative Agent.

Defaulting Lender Provisions,
Yield Protection and Increased
Costs:                              Customary for facilities of this type, including, without
                                    limitation, in respect of breakage or redeployment costs
                                    incurred in connection with prepayments, cash
                                    collateralization for Letters of Credit in the event any
                                    lender under the First Out Letter of Credit Facility
                                    becomes a Defaulting Lender (as such term shall be
                                    defined in the Financing Documentation), changes in
                                    capital adequacy and capital requirements or their
                                    interpretation, illegality, unavailability, reserves without
                                    proration or offset and payments free and clear of
                                    withholding or other taxes.

Assignments and Participations:     Lenders will be permitted to make assignments in
                                    minimum amounts to be agreed. Participation will be
                                    permitted without the consent of the Borrower or the
                                    Administrative Agent.

                                    No assignment or participation may be made to natural
                                    persons, Holding or any of its subsidiaries or their
                                    respective affiliates.

Required Lenders:                   Customary for facilities of this type.

Amendments and Waivers:             The Financing Documentation will contain provisions
                                    regarding amendments and waivers substantially similar
                                    to the Existing Credit Agreement with such changes as
                                    the Required Lenders may reasonably request.

Indemnification:                    The Financing Documentation will contain provisions
                                    regarding indemnification substantially similar to the
                                    Existing Credit Agreement with such changes as the
                                    required Lenders may reasonably request.



                                  PAGE 8
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                                  Pg 142
                                   154    of 161
                                       of 173
                                                             Annex 2 to the Commitment Letter
                                           Subject to Rule 408 of the Federal Rules of Evidence

Expenses:                           The Loan Parties will reimburse the Lenders and
                                    Administrative Agent (and the Lenders in the case of
                                    enforcement costs and documentary taxes) for all
                                    reasonable and documented out-of-pocket costs and
                                    expenses in connection with the syndication, negotiation,
                                    execution, delivery and administration of the Financing
                                    Documentation and any amendment or waiver with
                                    respect thereto (including, without limitation, reasonable
                                    and documented fees and expenses of counsel thereto,
                                    including any conflicts counsel, special counsel and local
                                    counsel retained)) and any enforcement of remedies with
                                    respect thereto.

Governing Law and Forum:            New York.

Waiver of Jury Trial and
Punitive and Consequential
Damages:                            All parties to the Financing Documentation waive the
                                    right to trial by jury and the right to claim punitive or
                                    consequential damages.

Counsel for the Administrative
Agent:                              Milbank, Tweed, Hadley & McCloy LLP.




                                  PAGE 9
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                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 143
                                   155    of 161
                                       of 173


                                       SCHEDULE I
                                    INTEREST AND FEES



Interest:                                 Loans under the First Out Term Loan Facility shall
                                          accrue interest at the LIBO Rate plus 6.0% per annum, or
                                          Base Rate plus 5.0% per annum.

                                          As used herein:

                                          “LIBO Rate” has the meaning as defined in the Existing
                                          Credit Agreement but with a floor of 3.0%.

                                          “Base Rate” has the meaning as defined in the Existing
                                          Credit Agreement but with a floor of 4.00%.

Letter of Credit Fees:                    The Borrower will pay to the Issuing Bank, for its
                                          account, letter of credit fees equal to the applicable
                                          interest margin for the First Out Term Loan Facility
                                          (with respect to LIBO Rate loans) plus a fronting fee of
                                          1.00% on daily amount available to be drawn under each
                                          Letters of Credit.

Letter of Credit Utilization Fee:         A utilization fee of 1.0% per annum on the total undrawn
                                          amount of Letter of Credit Facility.

Upfront Fees:                             None

Default Interest:                         Upon the occurrence and during the continuance of an
                                          Event of Default under the Financing Documentation,
                                          interest shall accrue on the outstanding amount of the
                                          obligations under the Financing Documentation and shall
                                          be payable on demand at 2.0% per annum above the then
                                          applicable rate.

Rate and Fee Basis:                       All per annum rates shall be calculated on the basis of a
                                          year of 360 days for actual days elapsed; provided that
                                          computations of interest for Base Rate Loans when the
                                          Base Rate is determined by the prime rate shall be made
                                          on the basis of the number of actual days elapsed in a
                                          year of 365 or 366 days, as the case may be.




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                                                             Main Document   Pg
                                  Pg 144
                                   156    of 161
                                       of 173


                                                                                                  ANNEX A


               SUMMARY OF CONDITIONS PRECEDENT TO EFFECTIVENESS OF
                         THE FIRST OUT CREDIT FACILITIES


                 Closing and the availability of the First Out Credit Facilities will be subject to the
satisfaction of conditions precedent usual and customary for facilities of this type including the following:

                   (a)     Financing Documentation and Customary Closing Documentation. (i) Financing
Documentation reflecting and consistent with the terms and conditions set forth herein and otherwise
reasonably satisfactory to the Borrower and the Lenders, will have been executed and delivered, (ii) the
Administrative Agent will have received such customary legal opinions (including, without limitation,
opinions of special counsel and local counsel as may be reasonably requested by the Administrative
Agent) which such opinions shall permit reliance by permitted assigns of each of the Administrative
Agent and the Lenders, documents and other instruments as are customary for transactions of this type
including, without limitation, a certificate of the chief financial officer of Holding as to the solvency of
each Loan Party after giving effect to each element of the restructuring transactions, (iii) all documents,
instruments, reports and policies required to perfect or evidence the Administrative Agent’s first priority
security interest in and liens on the Collateral (including, without limitation, all certificates evidencing
pledged capital stock or membership or partnership interests, as applicable, with accompanying executed
stock powers, all UCC financing statements to be filed in the applicable government UCC filing offices,
all intellectual property security agreements to be filed with the United States Copyright Office or the
United States Patent and Trademark Office, as applicable, and all deposit account and securities account
control agreements) will have been executed and/or delivered and, to the extent applicable, be in proper
form for filing (including UCC and other lien searches, intellectual property searches, insurance policies,
surveys, title reports and policies, landlord waivers and access letters, appraisals and environmental
reports), (iv) all governmental and third party consents and all equityholder and board of directors (or
comparable entity management body) authorizations shall have been obtained and shall be in full force
and effect, (v) there shall not be any material pending or threatened litigation, bankruptcy or other
proceeding, (vi) satisfactory review of all organizational documentation of the Loan Parties and (vii) all
fees and expenses due to the Lenders, Administrative Agent and counsel to the Administrative Agent will
have been paid.

                  (b)      Confirmation of Plan of Reorganization. The restructuring transactions shall be
consummated in accordance with the terms of a Chapter 11 plan of reorganization (the “Plan of
Reorganization”) prepared in accordance with the Restructuring Support Agreement (as defined below)
and the exhibits attached thereto and such Plan of Reorganization shall be in all respects reasonably
satisfactory to the Administrative Agent and all conditions precedent to the effectiveness of the Plan of
Reorganization (other than the funding of the Loans under the First Out Credit Facilities) shall have been
satisfied in the judgment of the Administrative Agent (or waived with the prior written consent of the
Administrative Agent), and the Plan of Reorganization shall be substantially consummated (as defined in
Section 1101 of the Bankruptcy Code), and the effective date thereunder shall occur, concurrently with
the effectiveness of the First Out Credit Facilities. No changes, modifications, amendments or waivers
(other than those reasonably satisfactory to the Administrative Agent) shall have been made to such Plan
of Reorganization since the initial filing thereof with the Bankruptcy Court. The Plan of Reorganization
shall provide that with respect to any and all equity interests or other recoveries that the Existing
Noteholders receive thereunder on account of the Prepetition Notes, the Existing Noteholders shall not be
entitled to, or shall receive, any distributions, dividends, redemptions or any other payments on account of
such equity interests or other recoveries until such time that the First Out Credit Facilities shall have been


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                                                             Main Document   Pg
                                  Pg 145
                                   157    of 161
                                       of 173


paid in full in cash and the L/C Commitment shall have been terminated. As used herein, “Existing
Noteholders” means each holder of the senior secured notes (the “Prepetition Notes”) issued pursuant to
that certain indenture, dated February 11, 2010 by and among the Borrower, certain of its affiliates and
the purchasers party thereto from time to time.

                  (c)     Confirmation Order. The confirmation order (the “Confirmation Order”) in
respect of the Plan of Reorganization shall (i) have been entered by the United States Bankruptcy Court
for the Southern District of New York, White Plains Division (the “Bankruptcy Court”) and shall not
have been reversed, modified, amended, vacated or subject to any stay pending appeal, (ii) provide for
terms and conditions substantially similar to those provided in the Plan of Reorganization and otherwise
be reasonably satisfactory to the Administrative Agent and (iii) be in full force and effect. All appeals of
the Confirmation Order, and the Plan of Reorganization, shall have been dismissed or resolved in a
manner reasonably satisfactory to the Administrative Agent. No changes, modifications, amendments or
waivers shall have been made to the Confirmation Order since the entry thereof by the Bankruptcy Court
(other than those reasonably satisfactory to the Administrative Agent). Notwithstanding anything to the
contrary in the Plan of Reorganization or Confirmation Order, the Bankruptcy Court’s retention of
jurisdiction under the Plan of Reorganization and the Confirmation Order shall not govern the
enforcement of the First Out Credit Facilities or the related loan documents or any rights or remedies of
the parties related thereto or arising thereunder.

                (d)      Effective Date of Plan of Reorganization. The effective date of the Plan of
Reorganization shall occur no later than 180 days after the Petition Date. The Closing Date shall have
occurred on or prior to the date that is 180 days after the Petition Date.

                 (e)      Financial Statements. The Administrative Agent will have received, in form and
substance reasonably satisfactory to the Administrative Agent, (i) copies of audited consolidated financial
statements for the Borrower and its subsidiaries for the three fiscal years most recently ended before the
Closing Date (including, for the avoidance of doubt, the fiscal year ended December 31, 2012) and (ii)
projections prepared by management of balance sheets, income statements and cashflow statements of the
Borrower and its subsidiaries, which will be quarterly for the first year after the Closing Date and
annually thereafter for the term of the First Out Credit Facilities.

                 (f)     No Material Adverse Effect. (i) Since December 31, 2012, there shall not have
occurred any event or condition that has had or could be reasonably expected, either individually or in the
aggregate, to have a Material Adverse Effect. “Material Adverse Effect” means (A) a material adverse
change in, or a material adverse effect on, the operations, business, assets, properties, liabilities (actual or
contingent) or condition (financial or otherwise) of the Borrower and its subsidiaries, taken as a whole,
(B) a material adverse effect on the rights and remedies of the Administrative Agent or any Lender under
any Financing Documentation, or of the ability of any Loan Party to perform its obligations under any
Financing Documentation to which it is a party or (C) a material adverse effect upon the legality, validity,
binding effect or enforceability against any Loan Party of any Financing Documentation to which it is a
party, but in each case of the foregoing other than as a result of the commencement of the Borrower’s
chapter 11 proceeding, any events directly causing the filing of the Cases or any events which customarily
occur following the commencement of a reorganization proceeding under Chapter 11 of the Bankruptcy
Code.

                 (g)     Capital Structure. The Administrative Agent will be reasonably satisfied with the
terms and amounts of any intercompany loans among the Loan Parties. The Administrative Agent will be
satisfied with the flow of funds in connection with the closing. The Administrative Agent will be
reasonably satisfied with senior management of the Loan Parties.



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                                  Pg 146
                                   158    of 161
                                       of 173


                 (h)     Information Required by Regulatory Authorities. The Loan Parties will have
provided the documentation and other information to the Lender that is required by regulatory authorities
under applicable “know your customer” and anti-money-laundering rules and regulations, including,
without limitation, the Patriot Act.

                 (i)      Representations and Warranties. All representations and warranties made by the
Loan Parties in the First Out Credit Facilities shall be true and correct in all material respects (unless
already qualified by materiality or material adverse effect in which case they shall be true and correct in
all respects) and the Administrative Agent shall not have become aware that any information previously
delivered is inaccurate or incomplete in any material respect.

                   (j)      No Default. No default or event of default under the First Out Credit Facilities
shall have occurred or be continuing after giving effect to the closing and funding of the First Out Credit
Facilities. Without giving effect to the applicability, if any, of Section 362 of the Bankruptcy Code,
immediately prior to closing of the First Out Credit Facilities, the Restructuring Support Agreement shall
be in full force and effect and shall not have been terminated and no default or event of default thereunder
(other than a default or event of default by Wells Fargo) shall have occurred or be continuing, in each
case in accordance with its terms. Furthermore, none of the Termination Events (as defined in the
Restructuring Support Agreement) set forth in Sections 4.1(a), 4.1(b), 4.1(c), 4.1(e), 4.1(f), 4.1(g), 4.1(h),
4.1(i), 4.1(j), 4.1(l), 4.1(m), 4.1(n), 4.1(o), 4.1(u) or 4.1(v) shall have occurred (and irrespective of
whether or not the occurrence of any of the foregoing has led to a termination of the Restructuring
Support Agreement). Immediately prior to closing the First Out Credit Facilities, no default or event of
default shall have occurred and be continuing under the Borrower’s debtor-in-possession credit facility.

                (k)     Business Plan. The Administrative Agent shall have received a post-
reorganization business plan of Holding and its subsidiaries satisfactory to the Administrative Agent.

                  (l)      Outstanding Indebtedness. Immediately following the restructuring transactions,
neither Holding, the Borrower nor any of their respective subsidiaries will have any Indebtedness (as
defined in the Financing Documentation) outstanding except for the loans under (i) the First Out Credit
Facilities and (ii) the Second Out Term Loan Facility and ordinary course Indebtedness to the extent
permitted under the Financing Documentation.

                 (m)     Second Out Term Loan Facility. The definitive documentation for the Second
Out term Loan Facility shall be in form and substance reasonably satisfactory to the Administrative Agent
(it being acknowledged and agreed that the terms set forth in the term sheet for the Second Out Term
Loan Facility attached as Annex 3 to the commitment letter dated as of February 17, 2013 (the
“Commitment Letter”), with respect to the Borrower’s debtor-in-possession credit facility (the “Second
Out Exit Term Sheet”), are satisfactory). The Second Out Term Loan Facility shall provide that, prior to
the payment in full in cash (other than unasserted indemnification and contingent obligations) of the First
Out Credit Facilities and the termination of the L/C Commitment, no payments of principal (whether
mandatory, optional, amortizing or others) shall be made under the Second Out Term Loan Facility. The
closing and funding of the Second Out Term Loan Facility shall have occurred or shall occur concurrently
with the closing of the First Out Term Loan Facility.

                  (n)     DIP Facility. The Borrower’s debtor-in-possession credit facility (the “DIP
Facility”) shall be in form and substance reasonably satisfactory to Wells Fargo Bank, N.A. (“Wells
Fargo”) and shall provide for the refinancing in full (in the form of roll-up term loans and letter of credit
facility under the DIP Facility) of all commitments and amounts outstanding (including any and all
principal, reimbursement obligations in respect of outstanding letters of credit (assuming drawn), fees,
commissions, premiums, expenses, indemnification amounts and interest accrued prior to, on and after the


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                                                             Main Document   Pg
                                  Pg 147
                                   159    of 161
                                       of 173


commencement of the Chapter 11 Cases (as defined below), including to the issuing lender) under the
Existing Credit Agreement (the loans and letter of credit facility under the DIP Facility used to refinance
in full all amounts outstanding under the Existing Credit Agreement in connection with the entry of the
Final Order (as defined below), the “Refinancing Loans”). It is understood that (A) the Refinancing Loans
shall be in an aggregate amount equal to the sum of (i) $49,625,000 plus (ii) the aggregate amount of all
letters of credit outstanding under the Existing Credit Agreement as of February 17, 2013 equal to
$9,516,267 plus (iii) the aggregate amount of all outstanding fees, letter of credit standby fees and
commissions, premiums, expenses, indemnification amounts and interest accrued prior to, on and after the
commencement of the Chapter 11 Cases under the Existing Credit Agreement and immediately prior to
the date when the Refinancing Loans become effective and (B) the indemnification obligations under the
Existing Credit Agreement will survive as obligations under the DIP Facility notwithstanding the
refinancing or termination of the facilities under the Existing Credit Agreement. The DIP Facility shall
provide that the Refinancing Loans shall be paid in full in cash if the conditions precedent set forth in this
Annex A are not satisfied or waived with the consent of the Administrative Agent.

                 (o)      Final Order. Not later than 40 days after the Interim Order Entry Date (as
defined below), the Bankruptcy Court shall have entered, upon motion in form and substance reasonably
satisfactory to Wells Fargo, a final order (the “Final Order”, and the date of entry of the Final Order being
hereinafter referred to as the “Final Order Entry Date”), in form and substance reasonably satisfactory to
Wells Fargo, which Final Order shall, among other things, authorize (i) the making of the Refinancing
Loans in full on the Final Order Entry Date and (ii) the Borrower using the Refinancing Loans on the
Final Order Entry Date to refinance in full all amounts outstanding under the Existing Credit Agreement,
which authorization shall be final and irrevocable in all respects and binding on all parties in interest in
the Chapter 11 Cases. Each of the foregoing shall have been consummated in a manner reasonably
satisfactory to Wells Fargo. The Final Order shall be in full force and effect and shall not have been
reversed, vacated, appealed, or made subject to a stay. No changes, modifications, amendments or
waivers shall have been made to the Final Order since the Final Order Entry Date (other than those
reasonably satisfactory to the Administrative Agent). The Refinancing Loans, the authorization under the
Final Order specified in clauses (i) and (ii) above and the consummation thereof shall not have been
reversed, vacated, appealed, or made subject to a stay, or otherwise objected to or challenged.

                  (p)     Interim Order. The Bankruptcy Court shall have entered, upon motion in form
and substance reasonably satisfactory to Wells Fargo, an interim order (the “Interim Order”, and the date
of entry of the Interim Order being hereinafter referred to as the “Interim Order Entry Date”), in form and
substance reasonably satisfactory to Wells Fargo, no later than five (5) calendar days after the Petition
Date (or such later date agreed to by Wells Fargo), which Interim Order shall authorize (i) the “new
money loans” under the Borrower’s debtor-in-possession credit facility and (ii) in consideration for the
consensual priming of the liens securing the Existing Credit Agreement by the liens securing the DIP
Facility, that Wells Fargo shall receive prior to the Final Order Entry Date current cash pay interest, fees
and commissions in respect of the Existing Credit Agreement at the non-default rate, a superpriority claim,
and superpriority replacement liens (in each case ranking junior only to the liens and claims in respect of
the DIP Facility) on the collateral securing the DIP Facility and the current payment of the fees and
expenses of counsel to Wells Fargo. The Interim Order shall not have been reversed, vacated, appealed,
or made subject to a stay. No changes, modifications, amendments or waivers shall have been made to
the Interim Order since the Interim Order Entry Date (other than those reasonably satisfactory to the
Administrative Agent). The authorization under the Interim Order specified in clauses (i) and (ii) above
and the granting and receipt by Wells Fargo of current cash pay interest, fees and commissions in respect
of the Existing Credit Agreement at the non-default rate, a superpriority claim, and superpriority
replacement liens (in each case ranking junior only to the liens and claims in respect of the DIP Facility)
on the collateral securing the DIP Facility and the current payment of the fees and expenses of counsel to



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                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 148
                                   160    of 161
                                       of 173


Wells Fargo shall not have been reversed, vacated, appealed, or made subject to a stay, or otherwise
objected to or challenged.

                   (q)     Refinancing Loans. The Refinancing Loans shall (i) accrue interest at libor plus
5.0% per annum, and the libor rate shall have a floor of 3.0%; (ii) constitute a superpriority claim ranking
pari passu with the superpriority claim of all other loans under the DIP Facility and (iii) be secured by
first priority liens ranking pari passu with the liens securing all other loans under the DIP Facility.

                 (r)      Existing Credit Agreement Fees and Expenses. On or prior to the closing date of
the DIP Facility, all fees and expenses of Wells Fargo, and of Milbank, Tweed, Hadley & McCloy LLP
shall have been paid in full.

                 (s)      Certain Documentation. The following documentation shall be in form and
substance reasonably satisfactory to Wells Fargo: (i) the restructuring support agreement (the
“Restructuring Supporting Agreement”) entered into among the lenders under the DIP Facility in
connection with the reorganization of the Borrower and its affiliates pursuant to the chapter 11 cases of
the Borrower and its subsidiaries (the “Chapter 11 Cases”); (ii) the definitive loan documentation relating
to the DIP Facility (including a credit agreement and related security and closing documents, the term
sheet for the DIP Facility attached as Annex 1 to the Commitment Letter (the “DIP Term Sheet”) and the
Second Out Exit Term Sheet), it being acknowledged and agreed that the DIP Term Sheet and the Second
Out Exit Term Sheet are satisfactory; (iii) all of the “first day orders” and all related pleadings to be
entered at the time of commencement of the Chapter 11 Cases or shortly thereafter, including in respect of
amounts of critical vendor payments; and (iv) the Plan of Reorganization, the related disclosure statement
and the Confirmation Order, including any amendments, modifications or supplements made from time to
time thereto.

              (t)     Transaction Fees and Expenses. All fees and expenses of Wells Fargo, and of
Milbank, Tweed, Hadley & McCloy LLP, in connection with the transactions hereunder have been paid in
full.


All conditions precedent to the effectiveness of the Second Out Term Loan Facility are hereby
incorporated herein, mutatis mutandis, as additional conditions precedent to the effectiveness of the First
Out Credit Facilities and as so incorporated shall have been satisfied and have not been waived without
the consent of Wells Fargo.




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                                                             Main Document   Pg
                                  Pg 149
                                   161    of 161
                                       of 173
                                                                                                 Annex 3
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                                    Second Out Exit Term Sheet1
                                         February 17, 2013


Borrower:                                      The Reader’s Digest Association, Inc., a Delaware
                                               corporation (the “Borrower”).

Lenders:                                       The lenders in respect of the New Money Loans under
                                               the Borrower’s DIP Facility (the “Lenders”).

Administrative Agent:                          An entity designated by the Lenders in consultation with
                                               the Borrower (in such capacity, the “Administrative
                                               Agent”).

Facility:                                      Senior secured term loan credit facility (the “Second Out
                                               Term Loan Facility”) converted from the New Money
                                               Loans under the Borrower’s DIP Facility in an amount
                                               equal to the aggregate amount of the New Money Loans
                                               outstanding under the DIP Facility on the date of
                                               conversion.

Use of Proceeds:                               The Second Out Term Loan Facility will be used to
                                               refinance the New Money Loans outstanding under the
                                               DIP Facility.

Closing Date and Closing Conditions:           The Second Out Term Loan Facility shall close and
                                               become effective on the date (the “Closing Date”) of (i)
                                               the execution and delivery of the Financing
                                               Documentation (as defined below) by the Borrower, the
                                               Guarantors (as defined below), the Administrative Agent
                                               and the respective Lenders party thereto, (ii) the
                                               satisfaction of the conditions precedent to effectiveness
                                               of the Second Out Term Loan Facility specified herein
                                               (including, without limitation, the ones specified on
                                               Annex A) and in the Commitment Letter and (iii) the
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        Capitalized terms used and not otherwise defined herein shall have the meanings ascribed to such
        terms in the term sheet dated as of the date hereof for the senior secured priming debtor-in-
        possession credit facility for the Borrower attached to the Commitment Letter as Annex 1 (the
        “DIP Term Sheet”). As used herein, the term “Commitment Letter” shall mean the commitment
        letter dated February 17, 2013 by and among the Borrower, the Borrower’s affiliates party
        thereto, Wells Fargo Principal Lending, LLC, Goldentree Asset Management LP, Apollo
        Investment Management, L.P. and Empyrean Capital Partners, LP; and the term “Restructuring
        Support Agreement” shall mean that certain Restructuring Support Agreement dated February 17,
        2013 by and among the Borrower, the Borrower’s affiliates party thereto, Wells Fargo Principal
        Lending, LLC, Goldentree Asset Management LP, Apollo Investment Management, L.P. and
        Empyrean Capital Partners, LP.



                                            PAGE 1
13-22233-rdd
13-22233 DocDoc
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                                 Entered       05/07/13
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                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 150
                                   162    of 161
                                       of 173
                                                                                       Annex 3
                                           Subject to Rule 408 of the Federal Rules of Evidence
                                                                               Execution Copy

                                    effectiveness of a plan of reorganization (pursuant to a
                                    confirmation order that is reasonably satisfactory in form
                                    and substance to the Required Lenders) for the Borrower
                                    and the Guarantors, that is reasonably satisfactory in
                                    form and substance to the Required Lenders.

Availability:                       The Second Out Term Loan Facility will be available to
                                    the Borrower upon the Closing Date to refinance
                                    (without cash payment) the New Money Loans
                                    outstanding under the DIP Facility immediately prior to
                                    the Closing Date.

Amortization:                       None.

Documentation:                      The documentation for the Second Out Term Loan
                                    Facility (which shall be satisfactory in form and
                                    substance to the Required Lenders), the definitive terms
                                    of which shall be negotiated in good faith, will include,
                                    among other items, a credit agreement and guarantees
                                    (collectively, the “Financing Documentation”), which
                                    shall be based on the Existing Credit Agreement
                                    Documentation (as defined below) to the extent possible
                                    and will be modified fully, as appropriate, to reflect the
                                    terms set forth in this term sheet, the Commitment Letter,
                                    the First Out Credit Facilities and agency and other
                                    changes reasonably requested by the Required Lenders.

                                    “Existing Credit Agreement Documentation” shall mean
                                    the documentation relating to that certain Credit and
                                    Guarantee Agreement dated as of March 30, 2012 (as
                                    amended, the “Existing Credit Agreement”), among
                                    RDA Holding Co. (“Holding”), the Borrower, the
                                    lenders party thereto and Wells Fargo Bank, N.A., as
                                    administrative agent for the lenders.

Guarantors:                         Consistent with the Existing Credit Agreement and the
                                    DIP Facility, the obligations of the Borrower under the
                                    Second Out Term Loan Facility will be unconditionally
                                    guaranteed, on a joint and several basis, by Holding and
                                    each existing and subsequently acquired or formed direct
                                    and indirect domestic subsidiaries providing guarantees
                                    in connection with the Existing Credit Agreement and
                                    the Borrower’s DIP Facility (each a “Guarantor”; and
                                    such guarantee being referred to herein as a “Guarantee”).
                                    All Guarantees shall be guarantees of payment and not of
                                    collection. The Borrower and the Guarantors are herein
                                    referred to as the “Loan Parties” and, individually, as a
                                    “Loan Party.”



                                  PAGE 2
13-22233-rdd
13-22233 DocDoc
             3 318    Filed 05/07/13
                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 151
                                   163    of 161
                                       of 173
                                                                                       Annex 3
                                           Subject to Rule 408 of the Federal Rules of Evidence
                                                                               Execution Copy

Security:                           The Second Out Term Loan Facility shall be secured by
                                    a perfected first priority security interest in all of the
                                    present and future tangible and intangible assets of the
                                    Loan Parties (including, without limitation, accounts
                                    receivable, inventory, intellectual property, real property
                                    (whether owned or leased), 100% of the capital stock of
                                    the Borrower and the Guarantors and 65% (or, in the
                                    absence of material adverse tax consequences to the
                                    Borrower, 100%) of the capital stock of each first tier
                                    foreign subsidiary of the Borrower, except for those
                                    assets excluded from the collateral under the Existing
                                    Credit Agreement Documentation (the “Collateral”).

                                    On the Closing Date, the Borrower shall concurrently
                                    enter into senior secured “first out” credit facilities (the
                                    “First Out Credit Facilities”) converted from the
                                    Refinancing Loans under the DIP Facility subject to the
                                    terms set forth in the “First Out Exit Term Sheet”
                                    attached as Annex 2 to the Commitment Letter (the
                                    “First Out Exit Term Sheet”) and otherwise on terms and
                                    conditions reasonably satisfactory to the Required
                                    Lenders. The First Out Credit Facilities shall be secured
                                    by first priority security interest in the Collateral, pari
                                    passu with the liens securing the Second Out Term Loan
                                    Facility. All obligations in connection with the First Out
                                    Credit Facilities (other than unasserted indemnification
                                    and contingent obligations) shall be paid in full prior to
                                    any obligations under the Second Out Term Loan
                                    Facility on a “first out” basis on terms substantially
                                    similar to those set forth in the Existing Credit
                                    Agreement Documentation (for the avoidance of doubt,
                                    cash interest payments under the Second Out Term Loan
                                    Facility shall be permitted).

Final Maturity:                     September 30, 2015 (the “Maturity Date”).

Interest Rates and Fees:            As specified on Schedule I attached hereto.

Mandatory Prepayments:              The Second Out Term Loan Facility will be required to
                                    be prepaid, without premium or penalty (except LIBOR
                                    breakage costs), with:

                                    (a)        100% of the net cash proceeds from the
                                               incurrence of indebtedness (other than certain
                                               permitted indebtedness to be agreed) after the
                                               Closing Date by Holding or any of its
                                               subsidiaries; and




                                  PAGE 3
13-22233-rdd
13-22233 DocDoc
             3 318    Filed 05/07/13
                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 152
                                   164    of 161
                                       of 173
                                                                                       Annex 3
                                           Subject to Rule 408 of the Federal Rules of Evidence
                                                                               Execution Copy

                                    (b)        100% of the net cash proceeds of sales or other
                                               dispositions (including (a) by issuance or sale of
                                               stock of Holding or any of its subsidiaries, (b) as
                                               a result of casualty or condemnation, net of
                                               remediation or replacement costs, (c) any
                                               extraordinary receipts (to be mutually defined)
                                               and (d) licensing transactions) by Holding or
                                               any of its subsidiaries of any assets (except for
                                               sales of inventory in the ordinary course of
                                               business and certain other dispositions,
                                               thresholds and exceptions to be agreed on), in
                                               each case only to the extent such net cash
                                               proceeds are received by Holdings or any other
                                               Loan Party; provided that the Borrower and
                                               other Loan Parties shall be permitted to reinvest
                                               (or commit to reinvest) an aggregate amount for
                                               all such sales, casualty events, extraordinary
                                               receipts and licensing proceeds not exceeding
                                               $15 million within six months;

                                    provided that no such mandatory prepayments shall be
                                    made prior to the payment in full of the obligations
                                    (other than unasserted indemnification and contingent
                                    obligations) and the termination of the letter of credit
                                    commitment under the First Out Credit Facilities (but not
                                    including any refinancing thereof).

Optional Prepayments:               Loans under the Second Out Term Loan Facility may be
                                    prepaid from time to time, in whole or in part, at the
                                    option of the Borrower, upon notice and in minimum
                                    principal amounts and in multiples to be agreed upon,
                                    without premium or penalty (except LIBOR breakage
                                    costs and the applicable Early Termination Fee
                                    (referenced below)), provided that no such optional
                                    prepayments shall be made prior to the payment in full of
                                    the obligations (other than unasserted indemnification
                                    and contingent obligations) and the termination of the
                                    letter of credit commitment under the First Out Credit
                                    Facilities (but not including any refinancing thereof).
                                    Any optional prepayment of the Second Out Term Loan
                                    Facility will be applied to the remaining scheduled
                                    amortization payments as directed by the Borrower.

Representations and Warranties:     The Financing Documentation will contain
                                    representations and warranties substantially similar to the
                                    Existing Credit Agreement and such others as may be
                                    reasonably requested by the Required Lenders, but in no
                                    event more favorable to the Loan Parties than the
                                    equivalent terms under the First Out Credit Facilities.


                                  PAGE 4
13-22233-rdd
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                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 153
                                   165    of 161
                                       of 173
                                                                                       Annex 3
                                           Subject to Rule 408 of the Federal Rules of Evidence
                                                                               Execution Copy


Affirmative Covenants:              The Financing Documentation will contain affirmative
                                    covenants substantially similar to the Existing Credit
                                    Agreement and such others as may be reasonably
                                    requested by the Required Lenders, but in no event more
                                    favorable to the Loan Parties than the equivalent terms
                                    under the First Out Credit Facilities.

Negative Covenants:                 The Financing Documentation will contain negative
                                    covenants substantially similar to the Existing Credit
                                    Agreement and such others as may be reasonably
                                    requested by the Required Lenders (in each case subject
                                    to exceptions, carveouts and thresholds to be mutually
                                    agreed), but in no event more favorable to the Loan
                                    Parties than the equivalent terms under the First Out
                                    Credit Facilities, including, but not limited to, the
                                    following:

                                      •        restriction on dividends, distributions, issuances
                                               of equity interests, redemptions and repurchases
                                               of equity interests;

                                      •        restriction on incurring addition first out or first
                                               lien secured indebtedness and limitation on
                                               incurring other indebtedness (with customary
                                               exceptions to be agreed; any additional second
                                               lien or unsecured indebtedness shall be on terms
                                               satisfactory to the Required Lenders; it being
                                               agreed that there will be a debt carveout for
                                               letters of credit up to $5 million and a
                                               corresponding lien carveout for the cash
                                               collateral for such letters of credit);

                                      •        limitation on capital expenditures of $10 million
                                               per 12-month period;

                                      •        restriction on (i) amending, supplementing or
                                               otherwise modifying the definitive
                                               documentation governing the First Out Credit
                                               Facilities in any manner materially adverse to
                                               the Lenders without the consent of the Required
                                               Lenders (it being agreed that any amendments,
                                               supplements or other modifications resulting in
                                               a change to maturity, an increase in interest rates,
                                               fees, principal or scheduled amortization
                                               payments, or any amendments, supplements or
                                               other modifications changing any payment
                                               priority or lien priority of the Second Out Term
                                               Loan Facility vis-à-vis the First Out Credit


                                  PAGE 5
13-22233-rdd
13-22233 DocDoc
             3 318    Filed 05/07/13
                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 154
                                   166    of 161
                                       of 173
                                                                                       Annex 3
                                           Subject to Rule 408 of the Federal Rules of Evidence
                                                                               Execution Copy

                                               Facilities shall be deemed to be materially
                                               adverse to the Lenders) and (ii) any
                                               prepayments of junior financing.

Financial Covenants:                The Financing Documentation will contain a “Second
                                    Out Leverage Ratio”, pursuant to which the Borrower
                                    shall not permit the ratio of total “second out” funded
                                    indebtedness to last twelve months EBITDA to exceed,
                                    as of the last day of any fiscal quarter of the Borrower, a
                                    ratio to be mutually agreed (which financial covenant
                                    shall be first tested as of December 31, 2013). The
                                    definition of “EBITDA”, and the related financial
                                    definitions, shall be substantially similar to the Existing
                                    Credit Agreement, with such changes as may be
                                    requested by the Required Lenders.

Events of Default:                  The Financing Documentation will contain events of
                                    default substantially similar to the Existing Credit
                                    Agreement and such others as may be requested by the
                                    Required Lenders.

Defaulting Lender Provisions,
Yield Protection and Increased
Costs:                              Customary for facilities of this type, including, without
                                    limitation, in respect of breakage or redeployment costs
                                    incurred in connection with prepayments, changes in
                                    capital adequacy and capital requirements or their
                                    interpretation, illegality, unavailability, reserves without
                                    proration or offset and payments free and clear of
                                    withholding or other taxes.

Assignments and Participations:     The Lenders will be permitted to make assignments in
                                    minimum amounts to be agreed. Participations will be
                                    permitted without the consent of the Borrower or the
                                    Administrative Agent.

                                    No assignment or participation may be made to natural
                                    persons, Holding or any of its subsidiaries.

Required Lenders:                   Lenders holding more than 50% of the outstanding
                                    principal amount of the loans under the Second Out
                                    Term Loan Facility (the “Required Lenders”).

Amendments and Waivers:             The Financing Documentation will contain provisions
                                    regarding amendments and waivers substantially similar
                                    to the Existing Credit Agreement with such changes as
                                    the Required Lenders may reasonably request.




                                  PAGE 6
13-22233-rdd
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                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 155
                                   167    of 161
                                       of 173
                                                                                       Annex 3
                                           Subject to Rule 408 of the Federal Rules of Evidence
                                                                               Execution Copy

Indemnification:                    The Financing Documentation will contain provisions
                                    regarding indemnification substantially similar to the
                                    Existing Credit Agreement with such changes as the
                                    Required Lenders may reasonably request.

Expenses:                           The Loan Parties will reimburse the Lenders and
                                    Administrative Agent for all reasonable and documented
                                    out-of-pocket costs and expenses in connection with the
                                    syndication, negotiation, execution, delivery and
                                    administration of the Financing Documentation and any
                                    amendment or waiver with respect thereto (including,
                                    without limitation, reasonable and documented fees and
                                    expenses of counsel thereto, including any conflicts
                                    counsel, special counsel and local counsel retained) and
                                    any enforcement of remedies with respect thereto.

Governing Law and Forum:            New York.

Waiver of Jury Trial and
Punitive and Consequential
Damages:                            All parties to the Financing Documentation waive the
                                    right to trial by jury and the right to claim punitive or
                                    consequential damages.

Counsel for the Lenders:            Kirkland & Ellis LLP




                                  PAGE 7
13-22233-rdd
13-22233 DocDoc
             3 318    Filed 05/07/13
                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 156
                                   168    of 161
                                       of 173


                                 SCHEDULE I
                              INTEREST AND FEES



Interest:                            Loans under the Second Out Term Loan Facility shall
                                     accrue interest at LIBO Rate plus 11.0% per annum, or
                                     Base Rate plus 10.0% per annum.

                                     As used herein:

                                     “LIBO Rate” has the meaning as defined in the Existing
                                     Credit Agreement but with a floor of 1.50%. “Base
                                     Rate” has the meaning as defined in the Existing Credit
                                     Agreement but with a floor of 2.50%.

Default Interest:                    Upon the occurrence and during the continuance of an
                                     Event of Default under the Financing Documentation,
                                     interest shall accrue on the outstanding amount of the
                                     obligations under the Financing Documentation and shall
                                     be payable on demand at 2.0% per annum above the then
                                     applicable rate.

Upfront Fee:                         2.0% of the aggregate principal amount of the New
                                     Money Loans converted into the Second Out Term Loan
                                     Facility.

Early Termination Fee:               In the event of any prepayment of the New Money Loan,
                                     such prepayment shall be subject to an early termination
                                     fee equal to (a) 2.0% of the aggregate principal amount
                                     of the New Money Loan prepaid, if such prepayment in
                                     made prior to the first anniversary of the Closing Date,
                                     (b) 1.0% of the aggregate principal amount of the New
                                     Money Loan prepaid, if such prepayment in made prior
                                     to the second anniversary of the Closing Date but on or
                                     after the first anniversary of the Closing Date, and (c)
                                     0.0%, if such prepayment in made on or after the third
                                     anniversary.

Rate and Fee Basis:                  All per annum rates shall be calculated on the basis of a
                                     year of 360 days for actual days elapsed, provided that
                                     computations of interest for Base Rate Loans when the
                                     Base Rate is determined by the prime rate shall be made
                                     on the basis of the number of actual days elapsed in a
                                     year of 365 or 366 days, as the case may be.




                                 Schedule 1
                                  PAGE 1
13-22233-rdd
13-22233 DocDoc
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                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 157
                                   169    of 161
                                       of 173


                                                                                                  ANNEX A


             SUMMARY OF CONDITIONS PRECEDENT TO EFFECTIVENESS OF
                     THE SECOND OUT TERM LOAN FACILITY


                 Closing and the availability of the Second Out Term Loan Facility will be subject to the
satisfaction of conditions precedent usual and customary for facilities of this type including the following:

                  (a)     Financing Documentation and Customary Closing Documentation. (i) Financing
Documentation reflecting and consistent with the terms and conditions set forth herein and otherwise
reasonably satisfactory to the Borrower and the Lenders, will have been executed and delivered, (ii) the
Administrative Agent and the Required Lenders will have received such customary legal opinions
(including, without limitation, opinions of special counsel and local counsel as may be reasonably
requested by the Administrative Agent and the Required Lenders) which such opinions shall permit
reliance by permitted assigns of each of the Administrative Agent and the Lenders, documents and other
instruments as are customary for transactions of this type including, without limitation, a certificate of the
chief financial officer of Holding as to the solvency of each Loan Party after giving effect to each element
of the restructuring transactions, (iii) all documents, instruments, reports and policies required to perfect
or evidence the Administrative Agent’s and the Lenders’ first priority security interest in and liens on the
Collateral (including, without limitation, all certificates evidencing pledged capital stock or membership
or partnership interests, as applicable, with accompanying executed stock powers, all UCC financing
statements to be filed in the applicable government UCC filing offices, all intellectual property security
agreements to be filed with the United States Copyright Office or the United States Patent and Trademark
Office, as applicable, and all deposit account and securities account control agreements) will have been
executed and/or delivered and, to the extent applicable, be in proper form for filing (including UCC and
other lien searches, intellectual property searches, insurance policies, surveys, title reports and policies,
landlord waivers and access letters, appraisals and environmental reports), (iv) all governmental and third
party consents and all equityholder and board of directors (or comparable entity management body)
authorizations shall have been obtained and shall be in full force and effect, (v) there shall not be any
material pending or threatened litigation, bankruptcy or other proceeding, (vi) satisfactory review of all
organizational documentation of the Loan Parties and (vii) all fees and expenses due to the Lenders,
Administrative Agent and counsels to the Administrative Agent and the Lenders will have been paid.

                 (b)     Confirmation of Plan of Reorganization. The restructuring transactions shall be
consummated in accordance with the terms of a Chapter 11 plan of reorganization (the “Plan of
Reorganization”) prepared in accordance with the Restructuring Support Agreement and the exhibits
attached thereto and such Plan of Reorganization shall be in all respects reasonably satisfactory to the
Administrative Agent and the Required Lenders and all conditions precedent to the effectiveness of the
Plan of Reorganization (other than the funding of the Loans under the First Out Credit Facilities) shall
have been satisfied in the judgment of the Administrative Agent and the Required Lenders (or waived
with the prior written consent of the Administrative Agent and the Required Lenders), and the Plan of
Reorganization shall be substantially consummated (as defined in Section 1101 of the Bankruptcy Code),
and the effective date thereunder shall occur, concurrently with the effectiveness of the First Out Credit
Facilities and the Second Out Term Loan Facility. No changes, modifications, amendments or waivers
(other than those reasonably satisfactory to the Administrative Agent and the Required Lenders) shall
have been made to such Plan of Reorganization since the initial filing thereof with the Bankruptcy Court.

                 (c)     Confirmation Order. The confirmation order (the “Confirmation Order”) in
respect of the Plan of Reorganization shall (i) have been entered by the United States Bankruptcy Court


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             3 318    Filed 05/07/13
                Filed 02/17/13        Entered
                                 Entered       05/07/13
                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 158
                                   170    of 161
                                       of 173


for the Southern District of New York, White Plains Division (the “Bankruptcy Court”) and shall not
have been reversed, modified, amended, vacated or subject to any stay pending appeal, (ii) provide for
terms and conditions substantially similar to those provided in the Plan of Reorganization and otherwise
be reasonably satisfactory to the Administrative Agent and the Required Lenders and (iii) be in full force
and effect. All appeals of the Confirmation Order, and the Plan of Reorganization, shall have been
dismissed or resolved in a manner reasonably satisfactory to the Administrative Agent and the Required
Lenders. No changes, modifications, amendments or waivers shall have been made to the Confirmation
Order since the entry thereof by the Bankruptcy Court (other than those reasonably satisfactory to the
Administrative Agent and the Required Lenders). Notwithstanding anything to the contrary in the Plan of
Reorganization or Confirmation Order, the Bankruptcy Court’s retention of jurisdiction under the Plan of
Reorganization and the Confirmation Order shall not govern the enforcement of the Second Out Term
Loan Facility or the related loan documents or any rights or remedies of the parties related thereto or
arising thereunder.

                 (d)    Effective Date of Plan of Reorganization. The effective date of the Plan of
Reorganization shall occur no later than 180 days after the date on which the chapter 11 petitions are first
filed by the Borrower or its affiliates.

                  (e)       Financial Statements. The Administrative Agent and the Lenders will have
received, in form and substance reasonably satisfactory to the Administrative Agent and the Required
Lenders, (i) copies of audited consolidated financial statements for the Borrower and its subsidiaries for
the three fiscal years most recently ended before the Closing Date (including, for the avoidance of doubt,
the fiscal year ended December 31, 2012) and (ii) projections prepared by management of balance sheets,
income statements and cashflow statements of the Borrower and its subsidiaries, which will be quarterly
for the first year after the Closing Date and annually thereafter for the term of the Second Out Term Loan
Facility.

                 (f)     No Material Adverse Effect. (i) Since December 31, 2012, there shall not have
occurred any event or condition that has had or could be reasonably expected, either individually or in the
aggregate, to have a Material Adverse Effect. “Material Adverse Effect” means (A) a material adverse
change in, or a material adverse effect on, the operations, business, assets, properties, liabilities (actual or
contingent) or condition (financial or otherwise) of the Borrower and its subsidiaries, taken as a whole,
(B) a material adverse effect on the rights and remedies of the Administrative Agent or any Lender under
any Financing Documentation, or of the ability of any Loan Party to perform its obligations under any
Financing Documentation to which it is a party or (C) a material adverse effect upon the legality, validity,
binding effect or enforceability against any Loan Party of any Financing Documentation to which it is a
party, but in each case of the foregoing other than as a result of the commencement of the Borrower’s
chapter 11 proceeding, any events directly causing the filing of the Cases or any events which customarily
occur following the commencement of a reorganization proceeding under Chapter 11 of the Bankruptcy
Code.

                 (g)     Capital Structure. The Administrative Agent and the Required Lenders will be
reasonably satisfied with the terms and amounts of any intercompany loans among the Loan Parties and
the flow of funds in connection with the closing. The Administrative Agent and the Required Lenders will
be reasonably satisfied with senior management of the Loan Parties.

                 (h)     Information Required by Regulatory Authorities. The Loan Parties will have
provided the documentation and other information to the Lenders that is required by regulatory authorities
under applicable “know your customer” and anti-money-laundering rules and regulations, including,
without limitation, the Patriot Act.



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                                         02/17/13       21:53:30
                                                  23:50:04        Main Document
                                                             Main Document   Pg
                                  Pg 159
                                   171    of 161
                                       of 173


                  (i)      Representations and Warranties. All representations and warranties made by the
Loan Parties under the Second Out Term Loan Facility shall be true and correct in all material respects
(unless already qualified by materiality or material adverse effect in which case they shall be true and
correct in all respects) and the Administrative Agent and the Lenders shall not have become aware that
any information previously delivered is inaccurate or incomplete in any material respect.

                  (j)      No Default. No default or event of default under the Second Out Term Loan
Facility shall have occurred or be continuing after giving effect to the closing and funding of the Second
Out Term Loan Facility. Without giving effect to the applicablitliy, if any, of Section 362 of the
Bankruptcy Code, immediately prior to closing of the Second Out Term Loan Facility, the Restructuring
Support Agreement shall be in full force and effect and shall not have been terminated and no default or
event of default (unless as a result of a breach by the Lenders party thereto) thereunder shall have
occurred or be continuing. Furthermore, none of the Termination Events (as defined in the Restructuring
Support Agreement) set forth in Sections 4.1(a), 4.1(b), 4.1(c), 4.1(e), 4.1(f), 4.1(g), 4.1(h), 4.1(i), 4.1(j),
4.1(l), 4.1(m), 4.1(n), 4.1(o), 4.1(u) or 4.1(v) shall have occurred (and irrespective of whether or not the
occurrence of any of the foregoing has led to a termination of the Restructuring Support Agreement).
Immediately prior to closing the Second Out Term Loan Facility, no default or event of default shall have
occurred and be continuing under the Borrower’s DIP Facility.

                (k)     Business Plan. The Administrative Agent and the Lenders shall have received a
post-reorganization business plan of Holding and its subsidiaries satisfactory to the Administrative Agent
and the Required Lenders.

                  (l)      Outstanding Indebtedness. Immediately following the restructuring transactions,
neither Holding, the Borrower nor any of their respective subsidiaries will have any Indebtedness (as
defined in the Financing Documentation) outstanding except for the loans under (i) the First Out Credit
Facilities and (ii) the Second Out Term Loan Facility and ordinary course Indebtedness to the extent
permitted under the Financing Documentation.

                  (m)     First Out Credit Facilities. The definitive documentation for the First Out Credit
Facilities shall be in form and substance reasonably satisfactory to the Administrative Agent and the
Required Lenders (it being acknowledged and agreed that the terms set forth in the First Out Exit Term
Sheet are satisfactory). The closing and funding of the First Out Credit Facilities shall have occurred or
shall concurrently occur.

                 (n)    Fees and Expenses. All fees and expenses of the Lenders, the Administrative
Agent and of their respective advisors in connection with the transactions hereunder shall have been paid,
to the extent due.

                 (o)     Other Closing Conditions under the First Out Credit Facilities. Satisfaction of
the conditions precedent to the closing of First Out Credit Facilities (but excluding clause (d) on Annex A
to the First Out Exit Term Sheet) which conditions (to the extent the equivalents thereof are not included
on this Annex A) are hereby incorporated, mutatis mutandis, as additional conditions precedent to the
Second Out Term Loan Facility (as so incorporated shall have been satisfied and have not been waived
without the consent of the Required Lenders).




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                                                             Main Document   Pg
                                  Pg 160
                                   172    of 161
                                       of 173


                         Exhibit B to Restructuring Support Agreement

                                            Lender Joinder

                                          LENDER JOINDER

                        This Lender Joinder to the Restructuring Support Agreement, dated as of
February [ ], 2013, by and among RDA Holding Co., The Reader’s Digest Association, Inc. (the
“Company”), and certain of the Company’s subsidiaries and affiliates set forth on Schedule 1 of the
Support Agreement (as defined herein and annexed hereto on Annex I), the Consenting Lender signatory
thereto and the Consenting Secured Noteholders signatory thereto (the “Support Agreement), is executed
and delivered by [           ] (the “Joining Lender Party”) as of [__________], 2013. Each capitalized
term used herein but not otherwise defined shall have the meaning set forth in the Support Agreement.

                        1.       Agreement to be Bound. The Joining Lender Party hereby agrees to be
bound by all of the terms of the Support Agreement, attached to this Lender Joinder as Annex I (as the
same may be hereafter amended, restated or otherwise modified from time to time). The Joining Party
shall hereafter be deemed to be a “Consenting Secured Party” and a party for all purposes under the
Support Agreement.

                         2.       Representations and Warranties. With respect to the aggregate principal
amount of prepetition Secured Notes, Credit Agreement obligations and/or DIP Loans held by the Joining
Lender Party upon consummation of the sale, assignment, transfer, hypothecation or other disposition of
such prepetition claims, the Joining Lender Party hereby makes the representations and warranties of the
Consenting Secured Parties set forth in Section 6 of the Support Agreement to each of the other Parties in
the Support Agreement.

                        3.      Governing Law. This Lender Joinder shall be governed by and
construed in accordance with the internal laws of the State of New York, without regard to any conflicts
of law provisions which would require the application of the law of any other jurisdiction.

                                                *****

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                                                             Main Document   Pg
                                  Pg 161
                                   173    of 161
                                       of 173


          IN WITNESS WHEREOF, the Joining Lender Party has caused this Lender Joinder to be
   executed as of the date first written above.




                                       ______________________________________
                                       Entity Name of Joining Lender Party


                                       Authorized Signatory:

                                       By:     ____________________
                                               Name:
                                               Title:

                                               Principal Amount of
                                               Secured Notes $_______________

                                               Principal Amount of
                                               Credit Agreement obligations $_____________

                                               Principal Amount of
                                               DIP Loans $_____________

                                               Address: _____________________




                                             B-1
